                                                                                                               06/18/2024 04:49:24pm
                    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 1 of 257
                                        UNITED
                                        UNITED STATES
                                               STATES BANKRUPTCY
                                                      BANKRUPTCY COURTCOURT
                                           SOUTHERN
                                           SOUTHERN DISTRICT
                                                     DISTRICT OF
                                                               OF TEXAS
                                                                   TEXAS
                                                HOUSTON
                                                HOUSTON DIVISION
                                                          DIVISION
  IN
  IN RE:
     RE:       US Logistics
           Techdash Telecom,Solutions
                                 LLC Inc.                                          CASE NO 24-32884
                                                                                   CASE NO

                                                                                   CHAPTER
                                                                                   CHAPTER        7
                                                                                                  7


                                       VERIFICATION OF
                                       VERIFICATION OF CREDITOR
                                                       CREDITOR MATRIX
                                                                MATRIX

      The
      The above
           above named
                 named Debtor
                       Debtor hereby
                              hereby verifies
                                     verifies that
                                              that the
                                                   the attached
                                                       attached list
                                                                list of
                                                                     of creditors
                                                                        creditors is
                                                                                  is true
                                                                                     true and
                                                                                          and correct
                                                                                              correct to
                                                                                                      to the
                                                                                                         the best
                                                                                                             best of
                                                                                                                  of his/her
                                                                                                                     his/her
knowledge.
knowledge.




       06/26/2024                                                    /s/ Andrew Lovrovich
Date
Date                                                    Signature
                                                        Signature
                                                                    Andrew  Lovrovich
                                                                    Wes Hesker
                                                                    Executive  Chairman
                                                                    Chief Liquidating Officer/VP Finance




Date
Date                                                    Signature
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 2 of 257



United States Bankruptcy Court
PO Box 61010
Houston, Tx 77208-1010



Texas Comptroller of Public Accounts
Kimberly Walsh
PO Box 12548
Austin, Tx 78711-2548



Harris County Tax Assessor
Po Box 922007
Houston, Tx 77292-2007



Comptroller of Public Accounts
111 E. 17th Street
Austin, Tx 78774-0100



US Attorney’s Office
1000 Louisiana
Suite 2300
Houston, Tx 77002-5010


United States Attorney General
United States Dept of Justice
Room D327, 10 & Constitution Ave, N
Washington, Dc 20530-0001


Internal Revenue Service
Centralized Insolvency Division
Po Box 7346
Philadelphia, Pa 19101-7346


US Trustee
Office of the US Trustee
515 Rusk Ave
Ste 3516
Houston, Tx 77002-2604

Harris County Property Tax Division
Harris County Attorney’s Office
PO Box 2828
Houston, Tx 77252-2848


Edge Capital
One Belmont Ave
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 3 of 257



Suite 630
Bala Cynwyd, PA 19004


NORTH MILL CREDIT TRUST,
9 EXECUTIVE CIRCLE SUITE 230
IRVINE, CA 92614



24/7 Express Logistics
Po Box 4040
Kansas City, Pl Ne 68104-0040



4 Season Express LLC
230 Dairyland Dr
Covington Ga 30016
United States"


4imprint, Inc
25303 Network Place
Chicago, Il 60673



A & J Printing
1111 Kenneth Po Box 518
Nixa Mo 65714



A Lot A Clean, Inc
Po Box 284
Lee's Summit Mo 64063



ATOB
2 Harrison Street, Suite 700
San Francisco, Ca 94105



A W Coles Trailer Services & Repair
9299 Talleysville
New Kent Va 23124



Abasto Corporation
2501 W Military Hwy Ste F-1
Mcallen, Tx 78503
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 4 of 257



ABM General Service
14141 South Freeway Suite 400
Sugar Land Tx 77478



ACA Team LLC
3005 E Abram St Ste. A
Arlington Tx 76010



Access Control Systems, LLC
Dba Guardian Access Solutions
7336 Cockrill Bend Blvd
Nashville Tn 37209


Admin America
1720 Windward Concourse Suite 290
Alpharetta Ga 30005



ADP Screening & Selection Services
301 Remington Street
Fort Collins Co 80524



ADP, Inc.
Po Box 842875
Boston Ma 02284-2875



Advance Services, Inc
12702 Westport Parkway, Suite 201
Lavista, Ne 68138



Aetna Life Insurance Company
Po Box 536919
Atlanta Ga 30353-6919



Affordable Dock & Door
Po Box 1095
Stockbridge Ga 30281



Affordable Gate Systems, LLC
29005 East 113th Street
Lee's Summit Mo 64086-9015
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 5 of 257




Air Assurance Acquisition Comp
1301 S.W. Expressway Dr
Broken Arrow Ok 74012



Air Specialist
P.O. Box 1938
Pearland Tx 77588



Airport Distribution Center
2001 Ross Ave, Ste 3400
Dallas Tx 75201



Airtight Facilitech, LLC
P.O. Box 948592
Atlanta, Ga 30394-8592



Elahi Enterprises Inc. Dba Akorbi
6010 W. Spring Creek Parkway,
Ste 328
Plano Tx 75024


All Clear Screening, LLC
2720 Council Tree Ave Ste 200
Fort Collins, Co 80525



Allegan County Treasurer
Sally L. Brooks
P.O. Box 259
Allegan Mi 49010


Allied Equipment Service Corp
P.O. Box 2489
Indianapolis In 46206



Allied Handling & Equipment
P.O. Box 129
Franklin, In 46131
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 6 of 257



Alta Industrial Equipment Co.
25538 Network Place
Chicago Il 606731255



Amanda's Cleaning
340 Fishback Road
Leesburg Oh 45135



Amaya Trucking
739 East Haggard Av Apt 3e
Elon Nc 27244



Ambest Care Of Corporate Billing
Dept. 100, Po Box 830604
Birmingham Al 35283



American Lumper Services LLC
Po Box 1149
Frederick Md 21702-0149



Anchor Sales & Service Co Inc
106 West 31st St
Independence Mo 64055



Andy Frain Services, Inc
761 Shoreline Dr
Aurora Il 60504



Angel Fire & Safety
5319 Jackwood
San Antonio Tx 78238



Tax Assessor-Collector
Ann Harris Bennett
Po Box 4622
Houston Tx 77210-4622


Scott Commercial Tire LLC
Antonio S. Scott
P.O. Box 1525
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 7 of 257



Conley Ga 30288


Applied Handling, Inc
15200 Century Dr.
Dearborn Mi 48120



Engaged Financial,
10812 Nw Highway 45,
Parkville, Mo 64152



Arbon Equipment Corporation
25464 Network Place
Chicago Il 60673-1254



Arrow Truck Repair, Inc
10019 Express Drive Suite B
Highland, In 46322



Ascend Staffing
450 E 1000 N
North Salt Lake Ut 84054



One Source Technology LLC
File 2418
1801 W Olympic Blvd
Pasadena, Ca 91199-2418


AT&T
P.O. Box 5076
Carol Stream Il 60197-5076



Atlanta Commercial Tire
5067 Kennedy Road
Forest Park Ga 30297



Yacelys Diaz
276 W 24th Street
Hialeah Fl 33010
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 8 of 257



Atmos Energy
P.O. Box 790311
St. Louis Mo 63179-0311



Avila & Son's Transport
6703 Wicklow St
Arlington Tx 76002



Nu-Ko Capital, LLC
C/O Nu-Ko Capital LLC
Po Box 150884
Ogden Ut 84415


Glendi Jordans
6947 Hull Street Rd
North Chesterfield Va 23224



B & O Electric Company Inc
325 Etowah Trace
Fayetteville Ga 30214



Barnes And Noble
1 Barnes And Noble Way
Monroe NJ 8831



Bastian Solutions
10585 N. Meridian St. 3rd Floor
Carmel In 46290



Bath And Body Works
C/O Gallagher Basset/Valerie Carey
Two Limited Parkway
Columbus Oh 43230


Baucom Services, Inc
9611 Morgan Mill Road
Monroe Nc 28110



BBS Trailer Services, LLC
1612 Moreland Avenue S.E.
Atlanta, Ga 30316
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 9 of 257




BCI IV Southpark Cc I LLC
1200 17th Street Suite 2900
Denver Co 80202



BDS Supply Chain Solutions LLC
Brian Stekloff
412 Westside Drive
Rochester Ny 14624


Benchmark Industrial Inc
950 Claycraft Rd
Gahanna Oh 43230



Best Choice Auto Glass LLC
23 Dogwood
Kiefer Ok 74041-3004



Bexar County Tax Assessor
Po Box 2903
San Antonio Tx 78299-2903



BGE
Po Box 13070
Philadelphia Pa 19101-3070



BGM Solution
7875 Quiet Meadow
Frisco Tx 75071



Biesenbach Inc.
P.O. Box 629
Adkins Tx 78101



Blackberry
12432 Collections Center Dr
Chicago Il 60693
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 10 of 257



Blue Sky Supply
18 N Maybelle Ave
Tulsa, Ok 74127



BNSF Logistics, LLC
75 Remittance Drive Suite 1767
Chicago Il 60675-1767



Ernest Leandrew Mayes
222 East End Ave.
Durham Nc 27703



Boulevard Tire Center
816 South Woodland Blvd
Deland Fl 32720



Bowman Sales Equipment
Dba Bowman Trailer Leasing
Po Box 433
Williamsport Md 21795


Bprep Ta Holding
Po Box 734224
Chicago Il 60673-4224



Bridgestone Americas
62861 Collections Center Drive
Chicago Il 60693



Briggs Equipment
Lockbox 841272
Dallas Tx 75284-1272



Brown Trucking & Transportation
3529 Lynhaven Dr. Apt A
Greensboro Nc 27406



Buchanan & Buchanan, P.A
1900 Southeast 18th Ave
Suite 300
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 11 of 257



Ocala Fl 34471


Bugs Or Us Pest Control Inc.
542747 Hwy 1
Callahan Fl 32011



Burlington Coat Factory
4287 Route 130 South
Edgewater Park Nj 8010



Bush Leasing Inc
P.O. Box 254
Greensburg In 47240



Caliber Packaging & Equipment
Po Box 224
Channahon Il 60410-0224



Campbell's Services
2212 Primrose Bldg. G
Mcallen Tx 78504



Canteen Refreshment Services
P.O. Box 417632
Boston Ma 02241-7632



Caravan Trailer LLC
Po Box 12595
Kansas City Mo 64116



Carol Creech Promotions
Po Box 3501
Wilson Nc 27895



Carolina Handling LLC
Po Box 890352
Charlotte Nc 28289-0352
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 12 of 257



Carolina Industrial Systems
1901 E. 119th Street
Olathe, Ks 66061



Carolina Overhead Door & Dock
4137 Stell's Rd
Wake Forest Nc 27587



Carolina Trailer Repair & Fabrications LLC
203 Auten Circle
Mount Holly Nc 28120



Carrier411 Services, Inc.
1540 International Parkway
Suite 2000
Lake Mary Fl 32746-4713


Cato Corp
Attn: Brenda Carroll
8100 Denmark Rd
Charlotte Nc 28273


Cavalry Transportation
3925 Inwood Rd #2018
Dallas Tx 75209



Cc's Housecleaning
1112 N 31st
Broken Arrow Ok 74014



Centerpoint It, LLC
11285 Elkins Road Suite E
Roswell Ga 30076



Central Florida Forklift
Po Box 677
Mulberry Fl 33860



Certedrive Corp
1140 Monroe Ave Nw Suite 5000
Grand Rapids Mi 49503
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 13 of 257




Charles P. Lauman Company Inc
9 Walkup Drive
Westborough Ma 1581



Cintas
Po Box 630803
Cincinnati Oh 45263-0803



Cintas Fire Protection
Po Box 636525
Cincinnati Oh 45263



Cisco-Eagle Inc
Dept 1225
Tulsa Ok 74182



City Of Greensboro
P.O. Box 3136
Greensboro Nc 27402



Dept. Of Public Works
City Of Houston
P.O. Box 1560
Houston Tx 77251-1560


Business Tax Office
City Of Lakeland
228 S Massachusetts Ave
Lakeland Fl 33801


City Of Mcallen Tax Office
Po Box 220
Mcallen Tx 78505-0220



Village Of Obetz
4175 Alum Creed Dr
Obetz Oh 43207
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 14 of 257



Dept. Of Public Utilities
City Of Richmond
P.O. Box 26060
Richmond Va 232740001


Classic Protection Systems Inc
1648 West Sam Houston Pkwy, N
Houston Tx 77043



Clay County Collector
1 Courthouse Square
Liberty Mo 64068



Clearcompany
Po Box 936918
Atlanta Ga 31193-6918



Co Enterprises LLC
6607 Winter Mountain Lane
Spring Tx 77379



Coach
1 Coach Way
Jacksonville Fl 32218



Coastal Ice & Water
6004 N Shepherd Dr
Houston Tx 77091



Coffey Trucking & Demolition
Po Box 667
Harrisonville Mo 64701



Cogency Global Inc
Po Box 3168
Hicksville Ny 11802



Columbia Fleet Service, Inc.
7661 Assateague Drive
Jessup, Md 20794
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 15 of 257




Commonwealth Garage Door
2577 A. Bellwood Road
N. Chesterfield Va 23237



Complete Supply, Inc
1624 W. Crosby Street #144
Carrollton Tx 75006



Concorp Inc
8100 N.W. 97th St. Terrace
Kansas City Mo 64153



Conlan Tire Co Llc
12225 Stephens Road
Warren Mi 48089



Conroeglassworks
10894 Kaleo Way
Conroe Tx 77304



Continental General Tire
P.O. Box 745388
Atlanta Ga 30374-5388



Cook's Pest Control
Po Box 229
Rex Ga 30273



Core Personnel Staffing Services, LLC
2331 W. Northwest Hwy Suite 200
Dallas Tx 75220



Corvus Of Jacksonville LLC
23550 Center Ridge Rd
Suite 102
Westlake Oh 44145
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 16 of 257



County Of Henrico- Tax Processing Ctr
Po Box 105155
Atlanta Ga 30348-5155



Coverall North America, Inc
2955 Momentum Place
Chicago Il 60689



CPM Conveyor LLC
2260 Distributors Drive
Indianapolis In 46241



CPS Energy
Po Box 2678
San Antonio Tx 78289-0001



Crown Lift Trucks
P.O. Box 641173
Cincinnati Oh 45264-1173



Crystal Springs
Po Box 660579
Dallas Tx 75266-0579



Cs Truck & Trailer Repair Services
6575 Marshall Blvd. Suite B
Lithonia Ga 30058



Culligan Water Of Nashville
2004 Pittway Dr.
Nashville Tn 37207-4726



Culligan Water Of Rio Gr Vly
Po Box 1029
San Benito Tx 78586



Custom Air
935 Claycraft Rd
Gahanna Oh 43230
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 17 of 257




Cut A Smile Lawn Care
5501 South Benton
Kansas City Mo 64130



Cygnux Service Inc
6105 Sw 107 Av
Miami Fl 33173



Cypress Creek Pest Control Inc
Po Box 690548
Houston Tx 77269



Dallas/Fort Worth Intl Airport
P.O. Box 974551
Dallas Tx 75397-4551



Damari Logistics
702 N Emma Drive
Arlington Tx 76002



Transcore Cnus, Inc.
Dba Dat Solutions, LLC
Box 3801
Po Box 783801
Philadelphia Pa 19178-3801


Data Capture Solutions, Inc.
160 West Road
Ellington Ct 06029



Derek Demers
132 Country Way Dr
Linolnton Nc 28092



Deo & Sons Mechanic & Trucking
800 Kimili Ct
Irving Tx 75060
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 18 of 257




Des Moines Water Works
2201 George Flagg Parkway
Des Moines Ia 50321-1190



Descartes System USA LLC
Po Box 404037
Atlanta Ga 30384-4037



Dh Pace Company
1901 E. 119th St
Olathe Ks 66061



Distribution Management Company
Po Box 93416
Southlake Tx 76092



Doggett Equipment Services
Po Box 733593
Dallas Tx 75373



Douglas Orr Plumbing Inc
301 Flagler Drive
Miami Springs Fl 33166



Drive My Way Inc
P.O Box 44258
Cleveland Oh 44144-9998



DSW Inc
4150 East 5th Ave
Columbus Oh 43219



DTE Energy
P.O. Box 740786
Cincinnati Oh 45274-0786



Duke Power Company
P.O. Box 1003
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 19 of 257



Charlotte Nc 28201-1003



Dunawaste LLC
Po Box 26188
Macon Ga 31210



DTS/Duval Semi Trailers
827 Fairwars Ct Suite 110
Stockbridge Ga 30281



Dynamic Systems, Inc.
3901 S. Lamar Blvd., Suite 300
Austin Tx 78704



Eastern Truck & Trailer LLC
P.O. Box 2208
Decatur, Al 35609-2208



Ecom Specialist LLC
7608 New Heart Dr
Plano Tx 75024



Edgar Electric Systems, Inc
3236 W 70 Terrace
Hialeah Fl 33018



Electronic Funds Source LLC
Po Box 630038
Cincinnati, Oh 45263-0038



Eip-Rc Strategic Supply Chain
20 Pickering Street, 2nd Fl
Needham Ma 2492



Elite Material Handling, LLC
Po Box 967
Grapevine Tx 76051
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 20 of 257




Employee Leasing of Greater Ny, LLC
Dba Distinctive Personnel
301 E. Yamato Rd
Boca Raton Fl 33431


Enterprise Rent A Car-Auto
Po Box
Kansas City Mo 64184



Enterprise Damage Recovery
Po Box 843369
Kansas City Mo 64184



Enterprise Holdings, Inc
209 Seaboard Lane
Franklin, Tn 37067



Enterprise Rent A Car
Po Box 840173
Kansas City Mo 64184



Eqfinance/De Lage Landen
Financial Services, Inc
P.O. Box 825736
Philadelphia Pa 19182-5736


Equifax Verification Services
Talx Corpotarion
4076 Paysphere Circle
Chicago Il 60674-4076


Equipment Depot Texas, Inc
Po Box 209004
Dallas Tx 75320-9004



Equitable Financial Life Insurance Company Of America
P.O. Box 733463
Dallas Tx 75373-3463



Esquared Communications Consulting
6850 S. Priest Drive
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 21 of 257



Tempe Az 85283



ETI
4875 Olde Towne Pkwy Suite 250
Marietta Ga 30068



C/O Finance Department
Euler Hermes
800 Red Brook Blvd
Owings Mills Md 21117-1008


Evergy
Po Box 419353
Kansas City Mo 64141-6353



Evolution Logistics
9800 Nw 100th Road, Ste 1
Medley Fl 33178



Express Courier International
Po Box 206863
Dallas Tx 75320-6863



Express Maintenance & Repair
Po Box 93332
Lakeland Fl 33804



Express Services, Inc
Po Box 535434
Atlanta Ga 30353-5434



Fairfield By Marriott
8101 North Church Rd
Kansas City Mo 64158



Fairfield By Marriott Nashville
810 Expo Drive
Smyrna Tn 37167
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 22 of 257




FDG Flagler Station Phase I
Po Box 744203
Atlanta Ga 30384-4203



Federal Express Corp.
Po Box 660481
Dallas Tx 75266-0481



Ferrellgas
Po Box 173940
Denver Co 80217-3940



Finesse & Eb Transport LLC
3768 Anvil Block Rd
Ellenwood Ga 30294



Can See Fire Service Co Inc
Po Box 147
Ashland Va 23005



First Insurance Funding
Po Box 7000
Carol Stream Il 60197-7000



FJL Freightway
156 Storts Rd
Frankfort Oh 45628



Fleetnet America Inc
P.O. Box 604165
Charlotte, Nc 28260-4165



Fleetpride
P.O Box 281811
Atlanta Ga 30384-181



Flex Personnel
300 S. Park Blvd Ste 100
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 23 of 257



Ellenwood, Ga 30294



Florida Power & Light Company
General Mail Facility
Miami Fl 33188-0001



Florida Utility Trailers, Inc
1101 S Orange Blossom Tra
Apopka Fl 32703-6564



Flowtrac
1320 N White Chapel
Southlake Tx 76092



FMH Conveyors LLC
9701 East Highland Drive
Jonesboro Ar 72401



Fmlasource, Inc
455 N Cityfront Plaza Dr
NBC Tower-13th Floor
Chicago Il 60611-5322


Foot Locker
Attn: Martine Padilla
3210 S. Us Hwy 77
Junction City Ks 66441


Fordharrison
Po Box 890836
Charlotte Nc 28289-0836



Forge Industrial Staffing
Po Box 71172
Chicago Il 60694-1172



Forklift Etc., Inc
1206 Hutton Drive
Glen Burnie Md 21061
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 24 of 257




Forklift Systems, Inc.
Po Box 305172
Dept 138
Nashville Tn 37230-5172



Forward Air Inc.
Dept 888155
Knoxville Tn 37995-0001



Francisco N. Savinon Jr.
3505 Dolle Ct.
Raleigh Nc 27610



G.W. Van Keppel Co.
1801 N 9th Street
Kansas City, Ks 66101



Gallagher Bassett Services Inc
15763 Collections Center Dr
Chicago Il 60693



Gallagher Bassett Services, Inc.
2850 Golf Road
Rolling Meadows, Il 60008



Gas South
Po Box 530552
Atlanta Ga 30353-0552



Gatekeeper Services
5518 S. County Road
Plainfield, In 46168



Gem City Tires LLC
Po Box 13027
Dayton Oh 45413



Genex Services, LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 25 of 257



P. O. Box 88026
Chicago Il 60680



Georgia Forklift Inc
Po Box 549
Ball Ground Ga 30107



Georgia Power Co.
96 Annex
Atlanta Ga 30396-0001



Getco Inc.
530 Ellis Road South
Suite 204
Jacksonville Fl 32254


Ghost Sherpa Llc
5470 E. Busch Blvd. #430
Temple Terrace Fl 33617



GJL Logistics
8658 Easton Dr
Pickerington Oh 43147



Glass America
977 N Oaklawn Ave Ste 300
Elmhust Il 60126



Global Electronic Services Inc.
5325 Palmero Court
Buford Ga 30518



Global Protective LLC
Po Box 118723
Carrollton Tx 75011



The Goodyear Tire & Rubber Co
P.O. Box 277808
Atlanta Ga 30384-7808
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 26 of 257




Gordon Rees Scully Mansukhani, LLP
1111 Broadway Suite 1700
Oakland Ca 94607



Goto Communications Inc.
2570 W 600 North
Lindon Ut 84042



Grainger
Dept. 887895823
Po Box 419267
Kansas City Mo 64141-6267


Grapevine – Colleyville ISD
3072 Mustang Drive
Grapevine Tx 76051



Guitar Center
Attn: David Byrd
950 Northfiled Dr
Brownsburg In 46112


Gwendolyn Parker Inc
P O Box 700517
Dallas Tx 75370-0517



Hamilton Stephens Steele Martin PLLC
525 North Tyron Street,
Suite 1400
Charlotte Nc 28202


Harris Mechanical Services Inc
Po Box 28271
Richmond Va 23228



Hawk Industrial Services, LLC
4593 Coontown Rd
Chambersburg Pa 17202



Hawx Pest Control
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 27 of 257



5602 Elmwood Ave Suite 217
Indianapolis In 46203



Heyboer Landscape Maintenance
4735 8th Street
Caledonia Mi 49316



Highpointe 24 Phase I, LLC
8775 Folsom Blvd
Suite 200
Sacramento Ca 95826


Hill Top Property Services Inc
4007 Carpenter Rd Ste 160
Ypsilanti Mi 48197



Hireright Llc
P.O. Box 847891
Dallas Tx 75284-7891



Hogan Motor Leasing Inc
2150 Schuetz Rd. Suite 210
St Louis Mo 63146



Holiday Inn Express & Suits
911 Porter St.
Hutchinson Ks 67501



Holiday Inn Express Hotel
3304 1st Street
Woodward Ok 73801



Hubspot, Inv
2 Canal Park
Cambridge, Ma 02141



Huizinga Lawn Sprinkling
42 Manila Street Se
Grand Rapids, Mi 49548
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 28 of 257




Hurricane Fence Company
P.O. Box 27527
Richmond Va 23261



Hughes Watters & Askanase Llp
1201 Louisiana Street 28th Floor
Houston, Tx 77002



Hyg Financial Services, Inc
P.O. Box 77102
Minneapolis, Mn 55480-7102



Idelic
2 Allegheny Ctr Ste 400
Pittsburgh Pa 15212



Igabt Llc
5026 Bonniecrest
San Antonio Tx 78263-2011



Immaculate Marble Polishing
11767 S. Dixie Hwy #334
Pinecrest Fl 33156



Impendi Analytics, LLC
77 Water Street, Suite 2402
New York Ny 10005



Indiana Dept Of Revenue
P.O Box 7087
Indianapolis In 46207-7087



Oklahoma 6, LLC
C/O Optima Real Estate Svc
111 S Elgin Ave
Tulsa Ok 74120-1816


Industrial Fund Obetz LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 29 of 257



C/O The Rmr Group LLC
255 Washington Street, Suite 300
Newton Ma 02458


Insight Direct USA Inc
6820 S Harl Ave
Tempe Az 85283



Garuda Labs, Inc.
548 Market St. Pmb 63152
San Francisco, Ca 94104



Integrity Construction Services
8272 Quetico Drive
Indianapolis In 46268



Intelligent Audit
365 West Passaic Street
Suite 455
Rochelle Park Nj 07662


Internal Revenue Service
Po Box 4001
Woburn Ma 1888



Iron Maintenance LLC
Po Box 841328
Los Angeles Ca 90084.1325



A Marsh & Mclennan Agency LLC
Ironwood
Po Box 745647
Atlanta Ga 30374-5647


Ital Logistics LLC
1704 Sunnybrook Dr
Irving Tx 75061



J&L Family Trucking
407 Honey Creek Ct.
Conyers Ga 30094
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 30 of 257




J Bruce Truck Lines Inc.
118 International Drive
Suite 108
Morrisville Nc 27560


J.J. Keller & Assoc. Inc.
Po Box 6609
Carol Stream Il 60197



Jackson Lewis Llp
P.O. Box 416019
Boston Ma 02241-6019



Jacksonville Aviation Auth.
14201 Pecan Park Road
Jacksonville Fl 32218-9411



James Milstead
432 Mayaguez Rd
Polk City Fl 33868



Jan Pro Cleaning Systems
200 Commercial Square
Slidell La 70461



Jan Pro Of Atlanta
881 Franklin Gtwy Se Suite 405
Marietta Ga 30067



Jan-Pro Development Of Raleigh
8321 Bandford Way #003
Raleigh Nc 27615



Jani- King -Nashville Region
5560 Franklin Pike Cir Ste 100
Brentwood Tn 37027



Jani-King Of Charlotte
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 31 of 257



7132 Weddington Road
Concord Nc 28027



JC Deliveries
2403 Sutton Drive
Arlington, Tx 76018



Jea
Po Box 45047
Jacksonville Fl 32232-5047



Jiminez Custom Landscaping LLC
Po Box 9391
Spring Tx 77387



Jimenez Fence Inc
8000 Sw 14 Terr
Miami Fl 33144



Johnnie Junior Hunt
31 Hunt Lane
Roanoke Rapids Nc 27870



Jobsinlogistics.Com
17501 Biscayne Blvd Suite 530
North Miami Beach Fl 33160



Joco Office And Floor Cleaning LLC
35 Sugarberry Ln
Clayton, Nc 27527


Joe G. Tedder, Tax Collector
Po Box 1189
430 East Main St
Bartow Fl 33831-1189


Johnson Controls Fire Protection Lp
C/O Johnson Controls Us Holdings Inc
5757 N Green Bay Ave
Milwaukee Wi 53209
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 32 of 257




Johnston County Tax Collection
Po Box 451
Smithfield Nc 27577



Jones, Skelton & Hochuli
40 North Central Avenue
Phoenix Az 85004



Jude Njoku Logistics LLC
5158 Post Road Pass
Stone Mountain Ga 30088



Aldine I.S.D
P.O. Box 203989
Houston Tx 77216



K2 Data Technologies
10800 Alpharetta Hwy, Ste 208, #513
Alpharetta Ga 30076



Kcmo City Treasurer
P.O. Box 801751
Kansas City, Mo 64180



Karbank Holdings LLC
2000 Shawnee Mission Parkway
Ste. 400
Mission Woods Ks 66205


Kate Spade & Company
5901 West Side Ave
North Bergen Nj 7047



Kcmo City Treasurer - Kansas City
Po Box 801751
Kansas City Mo 64180-1751



Kcmo Water Services Dept
Po Box 807045
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 33 of 257



Kansas City Mo 64180-7045



Kingdom Truck & Trailer Repair
16210 N W 37th Ave
Opa-Locka Fl 33054



L&M Freight LLC
8745 Aspinwall Dr.
Charlotte Nc 28216



Lakeland Electric
Po Box 32006
Lakeland Fl 33802-2006



Lanyap Pest Control, Inc
Po Box 84314
Pearland Tx 77584



Legacy Paper & Packaging
Po Box 62407
Houston Tx 77205



Liftone, LLC
440 E. Westinghouse Blvd
Charlotte Nc 28273



Lighthouse Plumbing Services, Inc
34021 Schoolcraft Rd.
Livonia, Mi 48150



Limon's Road Service
Po Box 831214
San Antonio Tx 78283-1214



Liner Express Deliveries
2613 Fairfax St
Grand Prairie Tx 75050
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 34 of 257




Lippert Mechanical Service Cor
P.O. Box 8277
Carol Stream Il 60197-8277



DFW Trade Ctr, Bldg 6
C/O Cbre Real Estate Services
P.O. Box 6078
Hicksville Ny 11802-6078


LLM Logistics
848 Shady Lake Dr.
Bedford Tx 76021



Louisiana Dept Of Revenue
Po Box 91011
Baton Rouge La 70821-9011



Lt Delivery, Inc.
7163 Sw Karen Rd
Trimble Mo 64492



Luma Brighter Learning
Po Box 2588
Mount Pleasant Sc 29465



Luxor Contracting, Inc
Po Box #75410
Chicago Il 60675-5410



Magline Inc
P. O. Box 7563
Carol Stream, Il 60197-7563



Markel Service Inc.
Po Box 660862
Dallas Tx 75266



Maryland Industrial
1330 West Nursery Rd
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 35 of 257



Linthicum Heights Md 21090



Material Handling Technologies
113 International Drive
Morrisville Nc 27560



Mccarthy Piedmont Tire Service
Po Box 1125
Wilkes-Barre Pa 18703-1125



Mcgriff Tire Co., Inc
Po Box 931825
Atlanta Ga 31193.-1825



Mckinney Trailer Rentals
P.O. Box 515574
Los Angeles Ca 90051-5874



Melton & Melton Llp
6002 Rogerdale Road
Suite 200
Houston Tx 77072-1660


Mel-Vin Trucking LLC
7474 Creedmoor Rd #309
Raleigh Nc 27613



Mercurygate International, Inc.
200 Regency Forest Drive
Cary, Nc 27518



Metro Airport Truck
13385 Inkster Road
Taylor, Mi 48180



Metro Trailer Leasing, Inc.
100 Metro Parkway
Pelham Al 35124
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 36 of 257




Metro Trailer Repair
5817 Crestwood Circle West
North Richland Hill Tx 76180



Metropolitan Trustee
P.O. Box 305012
Nashville Tn 37230-5012



Meyers Installation
5840 Beatty Rd
Grove City Oh 43123



MHC Air Services
1960 E. Interstate 30
Rockwall, Tx 75087



MHC Software Holdings, Inc
12000 Portland Ave S, Suite 230
Burnsville Mn 55337



Mhc Kenworth
Po Box 879269
Kansas City Mo 64187-9269



Miami-Dade County Tax Collectr
Local Business Tax Section
Po Box 13701
Miami Fl 33101-3701



Michael Kors Inc.
1 Meadowlands Plaza
East Rutherford Nj 7073



Michelin Tire Corporation
P.O. Box 100860
Atlanta Ga 30384



Mid America Logistics
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 37 of 257



11229 Aurora Ave
Urbandale Ia 50322



Milemaker Holdco, Inc
8725 West Higgins Road,
Suite 900
Chicago Il 60631


Mingo Valley Electric LLC
1357 N 108th E Ave
Tulsa Ok 74116-5666



MLD Inc.
4018 Coyte Ct.
Marietta Ga 30062



Mm Trucking Llc
6114 Walbridge Street
Capitol Heights Md 20743



Molto Properties Fund Iii LLC
Po Box 7410064
Chicago Il 60674-0064



Moore&Vanallen
Po Box 198743
Atlanta Ga 30384



Moro Ahmed Trucking
271 Pickerington Dr
Columbus Oh 43147



Motion Industries, Inc
P.O. Box 849737
Dallas Tx 75284-9737



Mountain Glacier, LLC
8745 Rawles Ave
Indianapolis, In 46219
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 38 of 257




Mullin Plumbing, Inc
118 S Elm Place
Broken Arrow Ok 74012



MW Transport Services Inc
Po Box 388077
Chicago Il 60638



Nashville Trailer Service Inc.
P.O Box 291325
Nashville Tn 37229



Ean Services, LLC
Po Box 840173
Kansas City Mo 64184



National Construction Rental
P.O. Box 841461
Los Angeles Ca 90084-1461



National Fire Suppression
P.O. Box 412007
Boston Ma 02241-2007



Nationwide Haul Truck
& Trailer Repair, Llc
2221 Nw 22nd Street
Pompano Beach, Fl 33069


Nashville Electric Service
Po Box 305099
Nashville Tn 37230-5099



New Horizons Communications Corp
P. O. Box 981073
Boston, Ma 02298-1073



New York State Dept. Of Taxation & Finance
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 39 of 257



Opts-Sales Tax Liability Resolution
W. A. Harriman Campus
Albany Ny 12227-0001


Next Generation Investments LLC
Po Box 75201
Wichita Ks 67275



Nextran Corporation
8100 Chancellor Drive
Suite 130
Orlando, Fl 32809


NFP Property & Casualty Services Inc.
707 Westchester Avenue
Suite 201
White Plains Ny 10604


North Carolina Dept. Of Rev
P.O. Box 25000
Raleigh Nc 27640-0050



North Kansas City Electric Co Inc
200 East 15th Ave.
Kansas City Mo 64116



NTC Inc
9761 Crosspoint Blvd, Ste 100
Indianapolis In 46256



Nuts & Bolts Fleet Service Llc
300 Forest Center Dr. #2103
Kingwood, Tx 77339



Office Depot
Po Box 633301
Cincinnati Oh 45263-3301



Office Pride / Ckm Enterprises
3450 East Lake Rd
Suite 202
Palm Harbor Fl 34685
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 40 of 257




Ohio Bureau Of Workers Compensation
Po Box 89492
Cleveland Oh 44101



Oklahoma Tax Commission
Business Tax Division
P.O. Box 26930
Oklahoma Ok 73126-0930


On Target Staffing LLC
P.O. Box 60839
Charlotte Nc 28260



On-Site Welding & Fabrication LLC
Po Box 88294
Houston Tx 77284



On Time Staffing LLC
7421 Jefferson Davis Hwy
Richmond Va 23237



Opkalla, Inc
8000 Corporate Center Dr. Suite 212
Charlotte Nc 28226



Oracle America Inc
Bank Of America Lockbox Services.
15612 Collections Center Drive
Chicago Il 60693


Orkin Pest Control
Po Box 740473
Cincinnati Oh 45274-0473



Orkin, LLC Tul
6550 E. 40th St.
Tulsa, Ok 74145



Orkin Inc.
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 41 of 257



3601 Ne Loop 820 Ste 100
Fort Worth Tx 76137



Overhead Door Co Of Whitmore Lake
11228 Lemen Industrial
Whitmore Lake Mi 48189



Overhead Door Svc Inc
18637 Northline Dr Ste H
Cornelius Nc 28031



P&G Road Services LLC
P.O. Box 1163
Mission Tx 78573



Hidalgo County Texas
Pablo (Paul) Villarreal Jr
Po Box 178
Edinburg Tx 78540


Paducah & Louisville Railway, Inc.
200 Clark Street
Paducah Ky 42003



Pallet Logistics Of America, LLC
4100 Platinum Way
Dallas Tx 75237



Pango Sales
8137 Eagle Palm Drive
Riverview Fl 33578



Parker Trucking LLC
1507 Greene St
Adel Ia 50003



Penske Truck Leasing Co L.P.
P. O . Box 532658
Atlanta Ga 30353-2658
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 42 of 257




Performance Electric & Design, Inc
3930 Holden Rd.
Lakeland Fl 33811



Petersen Conveyor Inc
11240 Garnet Ct
St Michael Mn 55376



Piedmont Forklift Handling Inc
120 S Oakland Ave
Statesville Nc 28677



Piedmont Natural Gas Company
Po Box 1246
Charlotte Nc 28201-1246



Piedmont Service Group
29691 Network Place
Chicago Il 60673-1296



Attn: Stephanie Roberts
Pilot Travel Centers, LLC
5500 Lonas Road, Ste 260
Knoxville Tn 37909


Pinnacle Fire & Automation, LLC
329n Waco Ave
Wichita Ks 67202



Pinpoint Personnel
Po Box 471795
Tulsa Ok 74147



Power Services Of Texas, LLC
36310 Hempstead Rd.
Hockley Tx 77447



Pitney Bowes Global Fin Svs LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 43 of 257



27 Waterview Drive
Shelton Ct 06484



Pitney Bowes
Po Box 371874
Pittsburgh Pa 15250-7874



Port Authority Of San Antonio
907 Billy Mitchell Blvd.
San Antonio Tx 78226-1802



Precise Security Services/ David Reese
2727 Paces Ferry Road Suite 750
Atlanta Ga 30339



Precision Pneu-Draulics
Po Box 597
Toast Nc 27049



Premier Fence LLC
1354 W College Street
Murfreesboro Tn 37129



Premier Power Washing
3322 Jenkins Dr
San Antonio, Tx 78247



Premier Trailer Leasing, Inc
5201 Tennyson Pkwy Ste 250
Plano Tx 75024



Pro-Data Computer Services Incorporated
18881 West Dodge Rd Suite 220w
Omaha Ne 68022



Prodrivers
Po Box 102409
Atlanta Ga 30368-2409
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 44 of 257




Professional Fire Extinguisher
& Safety Services, Inc
Po Box 1115
Clayton Nc 27528


Prolift Toyota Material Handling
12001 Plantside Drive
Louisville, Ky 40299



Prolift,Inc
1835 Dale Road
Buffalo Ny 14225



Prologis L.P.
1800 Wazee St, Ste 500
Denver Co 80202



Promiles Software Dev Corp
Po Box 398
Bridge City Tx 77611



Public Service Co. Of Oklahoma
Po Box 24421
Canton Oh 44701-4421



Pure Water Partners LLC
Po Box 24445
Seattle Wa 98124-0444



Pye-Barker Fire & Safety Inc
Po Box 714812
Cincinnati Oh 45271



Quench Usa,Inc.
Po Box 735777
Dallas Tx 75373



R L Solutions Trucking LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 45 of 257



1800 Saint Julian Place Suite 103
Columbia Sc 29204



Ramiro Christian Rodriguez
10101 Jensen Dr.
Houston Tx 77093



Ranger Construction Co Inc
4240 Morris Filed Dr
Charlotte Nc 28208



Ranger Ga LLC
Po Box 841551
Dallas Tx 75284-1551



Rapid Fire Protection Inc
1000 Muskegon Ave Nw
Grand Rapids Mi 49504



Real Term Logistics Income Rei
201 West St
Annapolis Md 21401



Red Classic Transit
1800 Continental Boulevard Suite 103
Charlotte, Nc 28273



Remedy Intelligent Staffing
1040 Crown Pointe Parkway Ste 1040
Atlanta Ga 30338



Rhino's Fleet Service & Logistics
4903 La Barranca
San Antonio, Tx 78233



Riekes Equipment Co
Po Box 3392
Omaha Ne 68103
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 46 of 257




Rincon Enterprises LLC
8204 Milburn
Westland Mi 48185



Rio Grande Fence Company
1410 Lebanon Pike
Nashville Tn 37210



Ritchey's Truck Repair Inc
2040 Industrial Park Road
Mulberry Fl 33860



Roderick Kent Wallace
21320 Nautique Blvd
Apt 203
Cornelius, Nc 28031


Rooster's Roadside Repair
7970 Fredericksburg Rd. #101-160
San Antonio, Tx 78229



Rottler Pest & Lawn Solutions
2690 Masterson Ave, Suite 400
Saint Louis Mo 63114



Royal Flush Plumbing, Inc
2330 Hewatt Rd
Snellville Ga 30039



RSS Trailer Repair LLC
900 East Front Street
Suite 201
Traverse City Mi 49686


Ruthven Parkway Center LLC
P.O. Box 2420
Lakeland Fl 33806



Ryder Transportation Services
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 47 of 257



Po Box 96723
Chicago Il 60693



S & W Contracting Co.,Inc
952 New Salem Rd
Murfreesboro Tn 37129



Saddle Creek Transportation Inc
103 Eagle Vista Parkway
Atlanta Ga 30336



Safe Track LLC
4201 West Military Hwy
Mcallen Tx 78503



Safeway Supply, Inc.
P.O. Box 33037
San Antonio Tx 78265



Samba Safety
Dept La 24539
Pasadena Ca 91185-4536



Samsara
Po Box 735462
Dallas Tx 75373-5462



San Antonio Water System
P.O. Box 2990
San Antonio Tx 78299-2990



Scopelitis,Garvin,Light,Hanson
10 West Market Street
Suite 1500
Indianapolis In 462042969


Se Logo Wear
303 S Broad Street
Winston-Salem Nc 27101
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 48 of 257




Parker Services, LLC
Po Box 8045
Stevens Point Wi 54481-8045



Shamsiddin Mayes
143 Lakeside Dr.
Griffin Ga 30223



Shoppa's Mid America LLC
1301 N Corrington Ave
Kansas City Mo 64120



Shrader Tire & Oil
2045 Sylvania Ave
Toledo Oh 43613



Shumate Mechanical
2805 Premiere Parkway
Duluth Ga 30097



Sigma Supply Inc
Po Box 20980
Hot Springs Ar 719030980



Silco Fire & Security
10200 Reading Road
Cincinnati, Oh 45241



Silverman Consulting
1 N Wacker Dr #3925
Chicago, Il 60606



Smash My Trash
P.O. Box 42138
Austin Tx 78704



Smithwick Holdings LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 49 of 257



419 Rittimann Rd
Spring Branch Tx 78070



Smt Houston LLC
Smash My Trash
5535 Memorial Drive, Ste 101
Houston Tx 77007


Snider Tire Inc
Po Box 16046
Greensboro Nc 27416



Sorto Pallet Corp
627 N Main St
Irving Tx 75061



SOS Truck & Trailer Repair
1701 Lacy Dr.
Ft. Worth Tx 76177



Southern States Toyota Lift &
Raymond Handling Consultants
115 S 78th Street
Tampa Fl 33619


Charter Communications
Po Box 223085
Pittsburgh Pa 15251-2085



Spire Energy - Gas
Drawer 2
St Louis Mo 63171



Staffing Solutions, Inc. Of Columbus
3136 Broadway Ste 100
Grove City Oh 43123



Stag Tx Holdings Lp
One Federal St, 23rd Fl
Boston Ma 2110
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 50 of 257




Staples Inc
Po Box 17299
Clearwater Fl 33762-0299



Star Leasing Company
P.O. Box 76100
Cleveland Oh 44101



James Cullen
Steeplechase Advisors LLC
601 Carlson Parkways, Suite 1050
Minnetonka Mn 55305


Steno Agency, Inc
Po Box 879
Redondo Beach Ca 90277



STL Truckers LLC
3088 Elm Point Industrial
Saint Charles Mo 63301



Stoops Freightliner
27825 Network Place
Chicago Il 60673-1278



Store Capital Corp
Po Box 145404
Cincinnati Oh 45250



Stroupe Electric, Inc
Po Box 9
Mount Holly Nc 28120



Sunbelt Rentals
Po Box 409211
Atlanta Ga 30384-9211



Sunstates Security
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 51 of 257



Po Box 896583
Charlotte Nc 28289-6547



Superior Pressure Washing LLC
1050 Grandview Blvd
Kansas City Ks 66102



Superior Wash Mobile
1020 Ne 44th Street
Oakland Park Fl 33334



Supplyone Cleveland Inc.
P.O. Box 643784
Pittsburgh Pa 15264-3784



Surry Chemicals Inc
Po Box 1447
Mount Airy Nc 27030



System One
Po Box 644722
Pittsburgh Pa 15264



T-Mobile
Po Box 742596
Cincinnati Oh 45274-2596



T.J Landscape Management LLC
4113 Joan Drive
Dorr Mi 49323



Tandem Finance
3801 Automation Way Suite 207
Fort Collins Co 80525



Taylors Truck & Repair
1700 East 14th Street
Little Rock Ar 72202
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 52 of 257




Telplex Communications
16830 Ventura Blvd
Ste 350
Encino Ca 91436


Ten Oaks Management LLC
9716 Mountain Ash Court
Brentwood Tn 37027



Tenstreet,Llc
5121 S. Wheeling, Ste.200
Tulsa Ok 74105



Terminix Processing Center
Po Box 802155
Chicago Il 60680



Texas Department Of Public Safety
Po Box 4087
Austin, Tx 78773-0001



Texas Security Shredding
5215 1st Street
Crosby Tx 77532



Texas Strong Mechanical, LLC
5750 N. Sam Houston Pkwy
Suite 205
Houston Tx 77032


The Fuentes Firm P.C
5507 Louetta Rd, Suite A
Spring Tx 77379



The Jitu Holdings, LLC
10800 Alpharetta Hwy,
Ste 208, #513
Alpharetta Ga 30076


The Pallet Truck Company
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 53 of 257



Po Box 152452
Arlington Tx 76015



The Pest Control Authority
Po Box 220704
Charlotte Nc 28222



The Vitamin Shoppe
Attn: Heather Fike
300 Harmon Meadow Blvd
Secaucus Nj 07094


Titan Truck Centers LLC
8140 N.W. 93 St.
Miami Fl 33166



Tivitri
Po Box 71265
Cottonwood Heights,
Utah, 84171, United States


Tjx--Marmaxx Group
Attn Freight Payment
300 Value Way
Marlborough Ma 1752


Tom Mcleod Software Corp
100 Corporate Parkway
Suite 100
Birmingham Al 35242


Towneplace Suites - Broken Arrow
2251 N Stone Wood Circle
Broken Arrow, Ok 74012



Towneplace Suites Nashville/Smyrna
990 Colonnade Drive
Smyrna Tn 37167



Towneplace Suites
3510 East Kansas Ave
Garden City Ks 67846
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 54 of 257




Toyota Industries Commercial Fin Inc
8951 Cypress Waters Blvd,
Suite 300
Coppell Tx 75019


Toyota Material Handling
6000 Plummer Rd
Atlanta Ga 30336



Traba Inc
Po Box 207720
Dallas Tx 75320



Trailer Services of West Texas
West Texas Thermo King
P.O. Box 32018
Amarillo, Tx 79120


Trane U.S. Inc
P.O. Box 98167
Chicago, Il 60693



Transport Security, Inc.
820 South Pine St.
Waconia Mn 55387-9538



Trca
Po Box 222053
Dallas Tx 75222



Trimble Transportation Enterpr
P.O. Box 203455
Dallas Tx 75320



Truckpro, LLC
29787 Network Place
Chicago Il 60673-1787



Ttn Fleet Solution
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 55 of 257



202 Cook St
Argyle Tx 76226



Tulsa County Treasurer
John M. Fothergill
218 W 6th Street 8th Flr
Tulsa Ok 74119-1004


Tulsa Overhead Door LLC
Po Box 580997
Tulsa Ok 74158



TWC Unemployment Tax Services
101 E 15th Street
Austin, Tx 78778



U.S. Legal Support, Inc
P.O Box 4772
Houston Tx 77210



Uline
Po Box 88741
Chicago Il 60680-1741



Unifirst First Aid Corp
3499 Rider Trail S
St Louis Mo 63045



United Glass Service, Inc
900 Pressley Rd
Charlotte Nc 28217



United Site Services
Po Box 660475
Dallas Tx 75266-0475



UPS
P O Box 650116
Dallas Tx 75265-0116
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 56 of 257




US Logistics Solutions, Inc.
18727 Kenswick Drive
Humble Tx 77338



Utility Tri-State Inc
Po Box 206992
Dallas Tx 75320



Vanguard Truck Leasing, LLC
34 Old Ivy Rd. Suite 200
Atlanta, Ga 30342



Veritext LLC
290 West Mt Pleasant Ave, Ste 3200 Po Box 71303
Chicago Il 60694



Verizon Wireless
P.O. Box 660108
Dallas Tx 75266-0108



VSS LLC
Po Box 791552
Baltimore Md 21279-1552



Ward's Heating & Air Cond Inc
865 Creative Drive
Lakeland Fl 33813



Washtenaw County Treasurer
P.O. Box 8645
Ann Arbor Mi 48107-8645



Waste Harmonics LLC
Po Box 933459
Cleveland Oh 44193



Wells Fargo Equipment Fin. Inc.
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 57 of 257



Po Box 858178
Minneapolis Mn 55485-8178



Wheeler Material Handling
9839 S Tryon Street
Charlotte Nc 28273



Williams-Sonoma, Inc
4637 Sonoma Cove
Memphis Tn 38118



Wiremaster Electric, LLC
74 Robinson Landing Road
Severna Park Md 21146



Witten Pest Control
Po Box 687
Adkins Tx 78101



Shawns Auto Xpress LLC
4404 Castlewood Road
Richmond Va 23234



Xtra Lease
C/O Kathaleen Specht
7911 Forsyth Blvd, Suite 600
Saint Louis Mo 63105



Yard Mule Specialists, Inc
8325 Broadway St. Suite 202
Pearland Tx 77581



Youngco Enterprises LLC
10148 Chemstrand Rd
Pensacola Fl 32514



Ypsilanti Community Utilities
2777 State Road
Ypsilanti Mi 48198
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 58 of 257




Charter Township of Ypsilanti
Larry J Doe, Treasurer
7200 S Huron River Drive
Ypsilanti Mi 48197


Zoominfo Technologies LLC
805 Broadway Street
Suite 900
Vancouver Wa 98660


A & K Delivery & Assembly Inc.
2002 Ave A.
Lubbock Tx 79404



Ab Trucking Of Miami Inc
8840 NW 102 St.
Miami Fl 33178



Abacus Corporation
Po Box 6312
Hermitage Pa 16148-0923



Paramount Freight Systems LLC
16520 S Tamiami Trail
Ste. 180
Fort Myers Fl 33908


Indianapolis Power & Light Co.
P.O. Box 110
Indianapolis In 46206-0110



Ajc Logistics LLC
P.O Box 117647
Atlanta Ga 30368-7647



Akman Trucking Llc
C/O Rts Financial Service, Inc
934 Westbrooke Way Apt 4
Hopkins Mn 55343
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 59 of 257



Al's Forklift Service Inc.
6105 W 14 Lane
Hialeah Fl 33012



Andrea Heim
1820 N Keenan St
Independence Mo 64058



Allsecure Systems, Ltd
5650 Blazer Parkway Suite 166
Dublin Oh 43017



Allstar Collision Inc.
11380 East Mcnichols Road
Detroit, Mi 48234



American Electrical Contracting, Inc
9016 Phillps Highway
Jacksonville Fl 32256



Arch City Trailer Leasing &
5195 Hampsted Village
Center Way
New Albany Oh 43054


Ascentium Capital
23970 Hwy 59n
Kingwood Tx 77339



B&M Electric
10106 Tioga
San Antonio Tx 78230



Best Forklift Parts Inc.
3990 Nw 132 St Bay M&N
Opalocka Fl 33054



Bestpass Inc
500 New Karner Road
Albany Ny 12205
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 60 of 257




Beyer Plumbing Co, Ltd
17197 Beyer John Drive
Selma Tx 78154



Big Country Trucking Inc
7075 W Gowan Rd Apt 2012g
Las Vegas Nv 89129



Black Red White Inc
4189 Santa Ana Unit B
Ontario Ca 91761



BMJC Trucking LLC
8022 Sunset Cir
Grandview Mo 64030



Boss Hogg Trucking LLC
721 Promenade Pl, Unit 102
Virginia Beach Va 23462



BTR Trucks & Services
7920 Tarbay Drive
Jessup Md 20794



Buckeye Business Products, Inc.
Po Box 392340
Cleveland Oh 44193



Office Of Finance
Anne Arundel County, Md
P.O. Box 427
Annapolis Md 21404


Capital City Staffing Solutions
3136 Broadway Suite 100
Grove City Oh 43123
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 61 of 257



Cargo Pushers, LLC
14813 Anne Ave
P.O. Box 930232
Allen Park Mi 48101


CD Consortium Corporation
Carpathian Way Inc
8930 Waukegan Rd Suite 230
Morton Grove Il 60053


Castor Transport LLC
6794 Calle De Linea Suite 106
San Diego Ca 92154



RTS Financial Service Inc
24 Greenway Plaza
Houston, Tx 77046



Citizens Energy Group
P.O. Box 7056
Indianapolis In 46207



Almur Construction
Po Box 310
Dublin Oh 43017



Coley's Way Trucking LLC
4187 Kensington Cove
Atlanta Ga 30349



Consumer Energy
Po Box 740309
Cincinnati Oh 45274



Cotton Logistics LLC
1640 Kestrel Dr
Clarksville Tn 37040-1554



CPR Logistics LLC
3608 Glorieta St Ne
Albuquerque Nm 87111
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 62 of 257




Crown Freight Services LLC
230 E Long St. Ste#423
Columbus Oh 43215



Dal Express
1953 Promenade Way
Clearwater Fl 33760



De La Garza Fence Co. Inc
6475 Enrique M. Barrera Pkwy
San Antonio Tx 78227



Dekalb County Government
Dekalb County Finance
3720 Leroy Scott Drive
Decatur Ga 30032



Delta Truck Lines LLC
887 Ostego Road
West Hempstead Ny 11552



DMP Transportation
1320 S Keeler Ave
Chicago Il 60623



Dominion Virginia Power
Po Box 26543
Richmond Va 23290-0001



Dorr Leighton Water Works LLC
Po Box 381
Wayland Mi 49348



Driverreach, Inc
880 Monon Green Blvd,
Suite 101
Carmel, In 46032
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 63 of 257




Dropping Jewells LLC
511 Smith St
Springfield Tn 37172



Duong Dang Huynh
8001 Woods Lane
Jonesboro Ga 30236



E.J Espinoza Deliveries
9215 Airline Dr. Trl #69
Houston Tx 77037



Easy Ice LLC
Po Box 879
Marquette Mi 49855



E C Crew Shipping LLC
21107 Acardia Park
Humble Tx 77338



Edwin Burgos
2844 Ne 3rd Drive
Homestead Fl 33033



EML Delivery
408 Arthur Drive
Hurst Tx 76053



Maples Freelance LLC
2424 Creekview Drive
Plano Tx 75093



Excel Trucking LLC
C/O Triumph Business Capital
2135 Hardy Parkway Street
Grove City Oh 43123


Expedited Freight Liners Sc
7940 Clearfield Ave
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 64 of 257



Panorama City Ca 91402



Faithful Freight Transportation
2465 Vollintine Cove
Memphis Tn 38108



Fire Systems Of Michigan Inc
25550 Seeley Rd Suite 200
Novi, Mi 48375



Fire System, Inc
4700 Highlands Parkway
Smyrna Ga 30082



Florida Dept. Of Revenue
Carlton Bldg.
Tallahassee Fl 323990100



Freight Systems Inc
Po Box 59503
Renton Wa 98058



General Transportation Inc
2505 Industrial Park Rd
Van Buren Ar 72956



Genesis Enterprize LLC
2803 Foster Ave Ste 105
Nashville Tn 37210-5340



Registration Unit
Georgia Dept Of Revenue
P.O. Box 740001
Atlanta Ga 30374


Gesquivels LLC
500 Mule Deer Dr
Mckinney Tx 75071
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 65 of 257




Gg Cargo And Logistics LLC
3714 W Pioneer Dr #67
Irving Tx 75061



Gmel LLC
Po Box 127
Hammond La 70404



Juan Carlos Gomez
12922 Knotty Glen Lane
Houston Tx 77072



Grumpys One Way Express LLC
120 Mimosa Street
Bogalusa La 70427



Haberer Transport, LLC
567 Marshall Fuller Rd
Dallas, Ga 30157



Hernandex Express
12601 Sw 223rd St
Miami, Fl   33170-4492



HMD Trucking, Inc.
10031 Virginia Ave
Chicago Ridge Il 60415



Houston Syrian Logistics LLC
21023 Cordell Landing Dr
Richmond Tx 77407-4115



Howley Law LLC
700 Louisiana Street
Suite 4545
Houston Tx 77002


Iag Trucking LLC
C/O Iag Auto Group LLC
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 66 of 257



5219 Fm 521 Ste. B
Rosharon Tx 77583


Illinois Logistics Group
Dba Ilg Logistics
9200 W 191st Street
Suite 4
Mokena Il 60448

Iowa Dept Of Revenue
P.O. Box 10466
Des Moines, Ia 50306-0466



Engaged Financial
10812 Nw Highway 45
Parkville, Mo 64152



JD Delivery LLC
102 Brierfield Way
Hendersonville Tn 37075



Jen Trucking
27415 Gatlin Ln
Spring Tx 77386-3749



JLB Transportation Corp
1985 Ga Highway 329 E
Montezuma Ga 31063



Jlb Transportation Service LLC
1985 Ga Hwy 329 E
Montezuma Ga 31063



JMT Express Inc
135 National Ave
Spartanburg Sc 29303



Just Energy
Po Box 650518
Dallas Tx 75265-0518
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 67 of 257




Kairos Pest Control LLC
770 Ponce De Leon Blvd Suite 102
Miami Fl 33134



Kansas Employment Security Fund
Po Box 400
Topeka, Ks 66601



Kansas Gas Service
Po Box 219046
Kansas City Mo 64121-9046



Kcwater
4800 E.63rd St
Kansas City Mo 64130



Kelly Services Inc
Po Box 530437
Atlanta Ga 30353-0437



Kentech Electric Inc.
7026 Grindstone Way
Murfreesboro, Tn 37129



Kentucky Department Of Revenue
501 High Street
Frankfort, Ky 40601



Kinetic Trucking Company LLC
1230 E Renton St
Carson Ca 90745



Kleinschmidt Inc
450 Lake Cook Rd Suite 1
Deerfield Il 60015



Landstar Ranger, Inc.
Po Box 784293
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 68 of 257



Philadelphia Pa 19178-4293



Last Minute Express LLC
800 E 101st Terr Ste 350
Kansas City Mo 64131



Leaf Software Solutions, Inc
14300 Clay Terrace Blvd
Ste 200
Carmel, In 46032


Truckstop Factoring
1444 S. Entertainment Ave.
Ste. 110
Boise, Id 83709


Legerity Trucking LLC
C/O Ecapital Freight Factoring
5233 Millridge St
Shawnee Ks 66226


APF FBO Lingo Staffing
Po Box 823461
Philadelphia Pa 19182-3461



Long Fence
1910 Betson Court
Odenton Md 21113



M I Howard Trucking, LLC
103 Breckenridge Oval
Elyria, Oh 44035



M Parker Trucking LLC
1507 Greene St,
Adel, Ia, 50003



Margaritaville Lake Resort
Lake Conroe/Houston
600 Margaritaville Parkway
Montgomery Tx 77356
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 69 of 257




Maryland Department Of Revenue
P.O. Box 2601
Annapolis, Md 21404-2601



Mcallen Foreign Trade Zone
6401 S. 33rd Street
Mcallen Tx 78503



Silvia M. Martir Orellana
13100 W. Bellfort Ave. #214
Houston Tx 77099



Merl Express Expediting LLC
1935 N Cypress Ct
Arkdale Wi 54613



Metcalf Trucking LLC
2314 Peach Blossom Court
Murfreesboro Tn 37127



Michigan Gas Utilities
Po Box 3140
Milwaukee Wi 53201



Mid State Trucking LLC
5842 Summerland Dr
Waterloo Ia 50701-8501



Middle Tennessee Electric
Po Box 330008
Murfreesboro Tn 37133



Miner,Ltd
Po Box 953381
St. Louis Mo 63195-3381



Missouri Department Of Revenue
P.O. Box 3020
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 70 of 257



Jefferson City, Mo 65105-3020



MJB Electric Service Corp
975 Eastwind Drive Suite 175
Westerville, Oh 43081



MYG Express LLC
Po Box 140983
Irving Tx 75014



Nation Wide Transportation
C/O Yankton Factoring, Inc.
Po Box 217
Yankton Sd 57078


Neighbors Logistics LLC
2901 Carlson Drive Suite 375
Hammond In 46323



New York Department Of Revenue
575 Boices Lane.
Kingston Ny 12401



Noble Delivery LLC
4212 Morren Lane
Wayland Mi 49348



Noble Transportation, LLC
3701 Rome Ter
Indianapolis, In 46228



Nova Carriers Inc
19464 Airport Rd
Romeoville Il 60446



NPK Freight LLC
3815 Gunnison Dr
Irving Tx 75063-3548
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 71 of 257




Ohio Department Of Taxation
P.O. Box 530
Columbus Oh 43216-0530



Otano Delivery Corp.
12273 Sw 18 Terrace
Miami Fl 33175



Outsend Staffing Solutions LLC
623 Park Meadow Rd. Suite C
Westerville, Oh 43081



Pace Trailer Sales & Service
8788 Byron Commerce Drive Sw
Byron Center Mi 49315



Partners Personnel-Management
Po Box 80450
City Of Industry Ca 91716-8450



Advance Business Capital LLC
P.O. Box 610028
Dallas Tx 75261-0028



PLP Trucking LLC
4460 Beaver Ln
Irving Tx 75061



Ports Petroleum Company Inc.
Po Box 1046
Wooster Oh 44691



Professional Transportation Consult
8 Flint Ct
Bloomington Il 61705



Prosport Express Inc
1901 Pratt Boulevard
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 72 of 257



Elk Grove Village Il 60007



Public Works & Utilities
Po Box 2922
Wichita Ks 67201-2922



Reformed Logistics LLC
825 S Church St #2374
Murfreesboro Tn 37130



Rimkus
12140 Wickchester Lane,
Suite 300
Houston Tx 77079



Rison Transport LLC
5565 Duncan Lake Rd
Middleville Mi 49333



RJR Transportation Company
Po Box 85
El Paso Il 61738



Romero's Transporting Freight
7511 River Pines Dr.
Cypress Tx 77433



Ross Stores, Inc.
Attn: Freight Claims/Payments
1000 Retail Drive
Ft Mill Sc 29715


Roto-Rooter Services Company
5672 Collections Center Dr
Chicago Il 60693



SC&H Group, Inc.
910 Ridgebrook Road
Sparks Md 21152
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 73 of 257




James Gonzalez
14915 Gyrfalcon Fork
Cypress Tx 77429



Seko Worldwide
1501 East Woodfield Rd, Suite 210e
Schaumburg Il 60173



Sif Cdc LLC
Po Box 2087
Bala Cynwyd Pa 19004



Smart Trans Logistics Inc
1s 376 Summit Ave
Unit 2d Court A
Villa Park Il 60181


Song Whiddon PLLC
8111 LBJ Fwy
Suite 480
Dallas Tx 75251


South Carolina Dept Of Revenue
Po Box 2535
Columbia Sc 29202-2535



Southern Tire Mart, LLC
17051 Interstate Hwy 35 North
Schertz Tx 78154



Stampede Delivery LLC
51723 E Gatehouse Dr
South Bend In 46637



STL Transportation Inc
5312 W 124th St
Alsip Il 60803



Carriernet Group Financial Inc.
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 74 of 257



C/O Carriernet Group
Po Box 1130
Sioux Falls Sd 57101


Integrity Factoring Strobros Dist
C/O Integrity Factoring
Dept. 355
Po Box 30015
Salt Lake City Ut 84130

Sweet Willie Trucking LLC
244 Windy Circle
Mcdonough Ga 30253



T&T Delivery Services, LLC
11655 Explorer Dr.
Midlothian Va 23114



Tapejungle.Com, Tape Depot.Com
8331 Nw 66th Street
Miami Fl 33166



Tennessee Department of Revenue
Andrew Jackson State Office
500 Deaderick St.
Nashville Tn 37242


St John Capital Corp Tesla Trucking Inc.
C/O Saint John Capital Corp
Po Box 74007671
Chicago Il 60674-7671


Texas Coast Port Enterprises LLC
10131 Berrypatch Ln
Tomball Tx 77375



Texas Fire Extinguisher, Inc
4825 East Grand Ave
Dallas Tx 75223



Texas Comptroller Of Public Accounts
P.O. Box 13528,
Capitol Station
Austin, Texas 78711
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 75 of 257




The Hartford Billing Co./Fire Ins Co
Po Box 660916
Dallas Tx 75266-0916



The Internet Truckstop
Dba Truckstop.Com
222 N. Plymouth Avenue
New Plymouth Id 83687


The Martin Project, LLC
5880 Winshire Dr.
Canal Winchester, Oh 43110



Thompson Safety LLC
Po Box 842365
Dallas Tx 75284-2365



RTS Financial Service, Inc
c/o Thunder Trucking Inc
Po Box 840267
Dallas Tx 75284-0267


Tironc Service Inc
1336 West Byron Ave
Addison Il 60101



Toby's Plumbing, Inc.
605 E. Beech Ave
Mcallen Tx 78501



Triple J Transportation
Toni Rena Icenhour
330 Roxbury Dr
Riverdale Ga 30274



Triple J Transportation
Attn Jose R Gonzalez
1020 Lion King
San Antonio Tx 78251
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 76 of 257



Two Logistics LLC
10049 Lickinghole Road Ste D
Ashland Va 23005-3464



TXU Energy
Po Box 650638
Dallas Tx 75265



UA Trucking Inc
C/O Triumph Business Capital
3720 E Dresden Dr
Charlotte Nc 28205


United Way Express LLC
6318 Taz Court Suite 106
Bowling Green Ky 42104



Us Logistics Solutions Inc
18727 Kenswick Drive
Humble Tx 77338



USA Logistics Inc
3550 Hobson Rd Suite 104
Woodridge Il 60517



Utah State Tax Commission
210 North 1950 West
Salt Lake City, Ut 84134-0180



Utility Trailer Sales Of Tn
6280 Leeville Pike
Po Box 400
Lebanon Tn 37088-0400


Utility Trailer Sales SE Tx Inc.
11411 Wallisville Rd.
Houston, Tx 77013



Virginia Tax Office
P.O. Box 1115
Richmond, Va 23218
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 77 of 257




Waiters Services LLC
Attn Kendra Spencer-Waiters
Po Box 501
Chesterfield Sc 29709


Waiters Services Logistics LLC
114 Rayfield Rd
Chesterfield Sc 29709



Wayland Township Treasurer
Po Box 1
Bradley Mi 49311



Wendy Burgess Tarrant County-Collector
100 E Weatherford
Fort Worth Tx 76196



Western Flyer Express Inc
Po Box 248963
Oklahoma City Ok 73124-8963



William M. James
Dba JFT Consulting
14722 Fir Knoll Way
Cypress Tx 77429


Yoyi Express C/O RTS Financial
2464 Hawkwood Dr
Chino Hills Ca 91709



Luckston Cantave
7141 Pebble Pass Loop
Lakeland, FL 33810



Tom Jones
21646 E Via de Arboles
Queen Creek, AZ 85142
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 78 of 257



Eric John Culberson
15319 Majestic Knight Drive
Houston TX, 77044



William M James
14722 Fir Knoll Way
Cypress TX, 77433



Roger Barnes
9601 Mickelson Dr
Rowlett TX, 75089



Giovanni Michela Dattoli
5300 Shady Rest Road
Havana FL, 32333



Maria V Charping
12014 Fall River Pass Lane
Humble TX, 77346



Prince H Panchal
6024 Sterling Ln
Colleyville TX, 76034



Beverly Folsom
P O Box 226
Lavonia GA, 30553



Korbin Beauregard
1413 Park Palisades Drive
Corinth TX, 76210



Michael Millhausen
2412 Ravenview Rd
Lutherville Timonium MD, 21093



Joseph Deaton
4243 Hertford Lane
Dublin OH, 43017
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 79 of 257




Steven D Meisinger
3916 Justin Drive
Fort Worth TX, 76244



Charles J Miller
20557 Bentwood Oaks Drive
Porter TX, 77365



Jose R Garcia
11531 Nw 57Th Ct
Hialeah FL, 33012



David S Scott
7110 Shavelson St
Houston TX, 77055



Todd Monroe Boldin
17742 Misty Brook Lane
Conroe TX, 77302



Daniel Baron
5059 W. Little Water Peak Dr.
Riverton UT, 84096



William Dutton
105 Mill Crossing Lane
Springtown TX, 76082



Bruce Wayne Harris
2202 Bedell Drive
Conyers GA, 30094



Steven Grooms
7679 Blacklick Ridge Blvd
Blacklick OH, 43004
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 80 of 257



David A Naghshineh
10823 Caverly Ct
Huntersville NC, 28078



Edward L Everhart
340 Fishback Rd
Leesburg OH, 45135



Douglas Bacallao
4252 Grapevine Loop
Smyrna TN, 37167



Leonardi Hernandez
36 DOLPHIN CIR W
Bayville NJ, 08721



Justin Brooks
455 W Nacogdoches St
New Braunfels TX, 78130



Charles Reid Gary
2852 country club circle
Colorado Springs CO, 80909



Brandon Michael Clark
866 Homestead Ave
Springfield OH, 45503



Jeffrey Charbon
8697 Donna St
Westland MI, 48185



Craig E Bell
5421 Comiskey Alley
Kannapolis NC, 28081



Shelby Carroll
112 E. 8th Ave
Kearney MO, 64060
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 81 of 257




Pedro Fernandez
3504 W 71St Ter
Hialeah FL, 33018



Paul Wesley Cheeks
76199 Tideview Ln
Yulee FL, 32097-1678



Usaid Shaikh
19615 Mier Expedition Dr
Cypress TX, 77433



James Matthew Patterson
2545 Kingswood Dr.
Marietta GA, 30066



Klint Graff
11612 Grand Pine Dr
Montgomery TX, 77356



Robert Tate Munro
130 Oak Ridge Cir
Richmond Hill GA, 31324



Carys White
2582 Magnolia Fair Way
Spring TX, 77386



Stewart Robbins
9401 W Cool Hill Rd
Providence Forge VA, 23140



Kevin Mitchell
16 Blue Sky Drive
Owings Mills MD, 21117
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 82 of 257



Gregory Willis
3004 Beaver Creek Drive
Fort Worth TX, 76177



Brenda L Purtiman
420 Purvis Ave
Bremen OH, 43107



Samantha L Sherer
26899 Regency Pines Drive
Kingwood TX, 77339



Paul Kamrad
2065 Granite Street
Hudsonville MI, 49426



Amy Manning
10892 Old Bluff Dr Apt 204
Indianapolis IN, 46234



Brandy Nichole Denys
13937 Perry
Riverview MI, 48193



Ryan Decker
33 patrons
Middlesex NC, 27557



Steven L Beckwith
20459 Coon Branch Rd.
Lawson MO, 64062



Cristina M Ferbeyre
4249 Sw 62 Court
Miami FL, 33155



Juan P Rivera Gomez
15101 Nw 91St Court
Miami Lakes FL, 33018
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 83 of 257




Kevin Antwoni Douglas
6412 Snowden Drive
College Park GA, 30349



Brian Luedke
224 Trail Dust Drive
Godley TX, 76044



Jason Allen
9325 N 165Th E Ave
Owasso OK, 74055



Robert M O'Day
20118 Pinehaven Ln
Spring TX, 77379



Michael A Parham
927 Willowick Bay Drive
Houston TX, 77090



George Patterson
6418 Kensinger Pass
Converse TX, 78109



Monique Daniels
900 Londonderry Lane
Denton TX, 76205



Daniel Wheaton
12700 N Miller Hwy
Brooklyn MI, 49230



Matthew T Scheib
13522 Field Springs Ln
Houston TX, 77059
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 84 of 257



Shawn Shaw
1140 Rock Springs Rd
Watertown TN, 37184



Ronald Deputy
9615 Mill Grove Rd
Indian Trail NC, 28079



Grant Welling
800 Eagle Nest
Irving TX, 75063



Joseph E Dion
123 Hirth Road
Fernandina Beach FL, 32034



William Rothschild
14 Grace Ridge Ct
Monkton MD, 21111



Fernando Torres
7218 Champion Creek
San Antonio TX, 78226



Ashleye E Fortanelli
2004 Chapel Heights Dr
Wharton TX, 77488



Durice Adamson
8594 Thomas Rd
Riverdale GA, 30274



Rebecca M Runyon
10 Oak St
Coldspring TX, 77331



David K Landis
7412 Dover Dr
Ypsilanti MI, 48197
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 85 of 257




Rashaud Mathis
6171 Radford Dr
Riverdale GA, 30296



Josephine L Sloan
5015 Forest Hurst Drive
Spring TX, 77373



Cameron Smith
190 Harvard Street
Houston TX, 77007



Brian D Brager
2343 Fawnwood Lane
Spring TX, 77386



Andre London
422 Royal Ave
Grand Prairie TX, 75051



Anthony Bostic
902 South Palm Drive Apartment
Pharr TX, 78577



Michael T Spencer
9524 Chiefton Way
Fort Worth TX, 76244



Garrett Speakman
2632 Old Springfield Rd
New Holland OH, 43145



Jeffrey A Rion
1904 Safflower Circle
Charlotte NC, 28262
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 86 of 257



Lisa M Blue
1020 Brookwood Drive
Stanley NC, 28164



Jashua L Colon
4306 Wilmer Street apt 2
Houston TX, 77003



Alan Cook
1212 S 28th
Broken Arrow OK, 74014



David Simmons
6320 Beaver Lake Drive
Grove City OH, 43123



Ryan Hallik
15718 Dehavilland Dr
Charlotte NC, 28278



Linda Reeves
29717 Meridian Hill Drive
Spring TX, 77386



Kenyetta S Hill
624 Cameron Landing Drive
Stockbridge GA, 30281



Kenneth William Sadenwater
227 Sabal Circle
Haines City FL, 33844



Dustin Howell
6535 Red Fox Rd
Reynoldsburg OH, 43068



Erica L Zahopoulos
323 Dyers Pointe Drive
Crosby TX, 77532
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 87 of 257




Bridggette Rollins
14420 Walters Rd #35
Houston TX, 77014



Bilal Houston
10118 Williams Field Dr
Houston TX, 77064



Yolanda Chamagua
7952 Hidden Brook Dr
Fort Worth TX, 76120



Tanya Danielle Marek
20903 Divellec Lane
Spring TX, 77388



Brian C Armenoff
1822 Lexington Avenue
Indianapolis IN, 46203



Yeni Martinez
12700 SW 20Th Street
Miami FL, 33175



David J Schneider
2700 Greenhill Dr
Mesquite TX, 75150



Joshua H Pumphrey
825 Meridian Ave
Combee Settlement FL, 33801



Jalin Malise Moore
155 Northcreek Boulevard
Goodlettsville TN, 37072
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 88 of 257



Marisha Kensi Parks
510 Nelson Drive
Brownsburg IN, 46112



Lawrence Devon James
2364 Bear Mountain Street
Lithonia GA, 30058



Charles Jamieson
4334 Cypress Trails Dr
Polk City FL, 33868



John Giacobini
2163 Culp Farms Dr
Fort Mill SC, 29715



Marcelina Beltran Leyva
2022 Glenhave St
Arlington TX, 76010



Jovanny Pamela McClarence
2059 Resting Creek Drive
Decatur GA, 30035



David Abdalah
4541 SW 97Th Ct
Miami FL, 33165



Walter Mendez
805 Fouts Dr
Irving TX, 75061



Charles Walker
5524 Nw Raintree Dr
Parkville MO, 64152



Michael J Pacheco
40449 Red Poppy Ln
Magnolia TX, 77354
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 89 of 257




Jack Zabriskie
6104 Miley Rd
Plant City FL, 33565



Rebecca Guffey
511 Sellerstown Rd
Cherryville NC, 28021



Nelson Lewis
1616 Burning Willow CT
Gastonia NC, 28054



Megan Newsome Newell
3780 Bringle Ferry Road
Salisbury NC, 28146



Israel Martinez Ramirez
5111 Raywood Ln
Nashville-Davidson TN, 37211



Jessie Young
5481 Raven Pkwy
Monroe MI, 48161



Fred Matthews
912 Park Place Northeast
Conyers GA, 30012



Jhonatan Yanez Peraza
3274 Saint Croix Dr
Dallas TX, 75229



Nicholas Chance
5538 Castle Knight
San Antonio TX, 78218
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 90 of 257



Broderick A Moore
158 Brookwood Estates Trail
Stockbridge GA, 30281



Brittany Richelle Byrd
320 W 104th Terr Apt 3305
Kansas City MO, 64114



Andrew Valadez
7051 Plateau Dr
San Antonio TX, 78227



Amber Hauck
505 Campbell Street
Washington Court House OH, 43160



Sidney A Rolls
4112 Mylan Rd
Richmond VA, 23223



Frineth M Rodriguez
805 Fouts Dr
Irving TX, 75061



Felisha Marie Boyzer
10018 Park Meadow Dr.
Houston TX, 77089



Joshua Robinson
754 Indian Springs Road
Mount Olive NC, 28365



Sandy Bustillo Matute
8130 Liberty Point Lane
Humble TX, 77338



Calvin L Powell
9307 Windwood Ct
North Chesterfield VA, 23237
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 91 of 257




Kendra Fay
1033 Aster St
Wayland MI, 49348



Brandon Keone Lawson
701 Foxborough Road
Charlotte NC, 28213



Jose Gonzalez Lopez
7785 Braun Rd
Groveport OH, 43125



Katarina L Espinoza
6210 Deer Valley Drive
San Antonio TX, 78242



Darrius D Hill
13511 Brant Grove Ln
Houston TX, 77044



Deana Renee London
985 Mount Zion Road
Morrow GA, 30260



Jenna E Kuntz
4811 Diehlwood Place
Spring TX, 77388



Joshua Pressley
6528 lynndale ln
Morrow GA, 30260



Roger Dale Hancock
3600 Sunshine Dr Lot 8
Kingman AZ, 86409
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 92 of 257



Karry Denise Martinez
546 Holder Avenue
San Antonio TX, 78211



Celina Marie Norton
5618 Larkmeadow Dr
San Antonio TX, 78233-5019



Antonio Booker
3942 Bayhan St
Inkster MI, 48141



Mia Carmen Birmingham
1383 Dolphin Head Street
Davenport FL, 33896



Anthony Vizcaino Torres
5505 Nw 7Th St Apt W202
Miami FL, 33126



Micheal W Smaistrla
5130 Georgi Ln
Houston TX, 77092



Carey N Fields
7523 Nw 77Th St
Kansas City MO, 64152



Ro E Ramirez
2025 Courtside Ln
Charlotte NC, 28270



Tony Rodriguez
9803 Southwest 133rd Place
Miami FL, 33186



Shawn R Grooms
8100 Church St
Milledgeville OH, 43142
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 93 of 257




Roderick McGauley
9264 Sibbald Rd
Jacksonville FL, 32208



Anthony Ray Todd
1911 Grove Drive
Independence MO, 64058



Xavier Emanuel Cordero Torres
6713 Great Bear Drive
Lakeland FL, 33805



Appollos Barge
5214 Alexander Street
Union City GA, 30291



Winston Penny
547 Black Pine Lane
Angier NC, 27501



Brandon MacKey
1125 N. Mill Ave
Bartow FL, 33830



Allyssa Taylor
9168 E 37th Ct
Tulsa OK, 74145



Kameron Manuel Guzman
816 west 2nd St
Coffeyville KS, 67337



Mark Reed
1200 Easy St
Lakeland FL, 33811
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 94 of 257



Amanda L Ridgeway
256 Glengary Garth
Glen Burnie MD, 21061



Wayne Hudson
317 W Downing Ct
Jonesboro GA, 30238



Nancy Peery
319 Johnson Farm Ln
Glen Burnie MD, 21061



Laura McGraw Studt
7564 Cliff Cottage Drive
Jacksonville FL, 32244



John Taylor
11325 S 250Th East Ave
Broken Arrow OK, 74014



Sherry A Brager
2343 Fawnwood Ln
Spring TX, 77386



Mikayla Robinson
547 Black Pine Lane
Angier NC, 27501



Kenna L Meeks
308 West Detroit Street
Broken Arrow OK, 74012



Harry J Dorris
Po Box 135
Guthrie KY, 42234



Roy Orrison
1345 Old Fort Parkway
Murfreesboro TN, 37129
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 95 of 257




Donald Payton
9275 Madison Rd Ne
Washington Court House OH, 43160



Jeffrey Gethers
3617 Anthony Ave
Murfreesboro TN, 37129-2818



Chad Carr
2227 Old Springfield Rd
New Holland OH, 43145



Everett Ellis
6905 Oak Leaf Dr
Fairburn GA, 30213



Anthony Adkins
704 Brannon Street
Lancaster OH, 43130



Donald L Yors
26168 Armstrong Rd
Laurelville OH, 43135



Kevin D Crist
5600 Harvard Ave
Raytown MO, 64133



Gil Rivera
21722 Beaver Bend Ct
San Antonio TX, 78258



Jason James
555 Heathmoor Drive
McDonough GA, 30252
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 96 of 257



Jose Diaz Santiago
4121 Sundance Place Loop
Mulberry FL, 33860



Anthony Munoz
4826 Castle Inn
San Antonio TX, 78218



Harold Cobb
11360 Buttercup
Adkins TX, 78101



Robert C Simmons
7582 Park City Dr
Jacksonville FL, 32244



Felix Brian Castillo
1000 Binney Drive
Haslet TX, 76052



Hamilton Jackson
5035 Milton Dr
Beaumont TX, 77706



Guy Tchuente kayo
6101 Creek Way Lane #701
Arlington TX, 76017



Ysidro G Velasquez
80 Kimber Ln
Poteet TX, 78065-4155



Kit Sisson
626 Brave Dr
Galloway OH, 43119



Robert Dale
11750 Flint Street
Platte City MO, 64079
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 97 of 257




Brian Klepi
209 South Maumee Street
Tecumseh MI, 49286



Paul May
122 Springmill Dr
Jerome MI, 49249



Michael Carter
4809 Nw Downing St
Blue Springs MO, 64015



James A Ballard
2563 Mcintosh Dr
Lakeland FL, 33815



Wayne McDonal
8002 Fair Breeze Dr
Severn MD, 21144-3220



Charles E Wrye
597 Benjamin Harrison St
Orange Park FL, 32073-8577



Jeremy D Barney
513 E Woodrow Ave
Columbus OH, 43207



Eduardo Hernandez
2426 Schley Ave
San Antonio TX, 78210



Anthony Blackburn
1469 n blue bluff Rd
Martinsville IN, 46151
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 98 of 257



Ronald Jackson
3453 Ridge Country Street
San Antonio TX, 78247



Joshua Stamper
8778 S 234th E Ave
Broken Arrow OK, 74014



Alonzo Ybarra
11337 Dorothy St Lot 83
Lowell MI, 49331



Montie Adkins
41511 Bellridge Blvd Apt 331
Van Buren Twp MI, 48111



Rosalio Ibarra
1028 West Main St
Ionia MI, 48846



Jason T Crews
2538 Foltz Street
Indianapolis IN, 46241



Diarra Kimani Collins
888 Lost Creek Circle
Stone Mountain GA, 30088



Edwin Caba
2112 Steffi Lane Northwest
Lawrenceville GA, 30044



Porche Monique Avant
285 West Wieuca Road Northeast
Atlanta GA, 30342



Tavell Marquece James
2702 Saddle Creek Drive
McDonough GA, 30253
     Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 99 of 257




Jennean Iris Stewart
4632 High Collier Walk
Stone Mountain GA, 30083



Kalief Graham
709 Battlecreek Village Dr.
Jonesboro GA, 30236



Donald Sheppard
826 Bentley Dr
Fairburn GA, 30213



J-Von Bowman
1260 Scenic View Trace
Lawrenceville GA, 30044



Travis Butler
610 Amberwood Drive
Villa Rica GA, 30180



Herbert Coney
6630 Cedar Hurst Trail
College Park GA, 30349



Devin Jones
7536 Lerose Dr
Jonesboro GA, 30236



Sadarrius Shepherd
81 Anderson Rd
Covington GA, 30016



Paul Smith
217 Legacy Oak Circle
Roswell GA, 30076
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 100 of 257



Jarfari Harvell
5981 Twilight Trl
Morrow GA, 30260



Jack Edward Orlik
3325 Williamsburg Rd
Ann Arbor MI, 48108



Roshawn Anderson
506 Stonecrest Pl
Loganville GA, 30052-9253



Fredrick Lewis
4045 Springvale Way
McDonough GA, 30252



Antoni Dezrick
53 McGiboney Road
Covington GA, 30016



Antoine Harvell
4240 West Panola Rd
Ellenwood GA, 30294



Jermaine Sanford
3981 Brittan Glade Trl
Snellville GA, 30039



Michael World
5748 eagles feather lane
Riverdale GA, 30274



Edward Jones
6617 chesepeake Trl
rex GA, 30273



Kattie Alexander
1574 Marceau Dr
CONLEY GA, 30288
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 101 of 257




Antoine Stewart
2696 Starr Rd
Morrow GA, 30260



Anthony Silvera
122 St Thomas Dr
Mulberry FL, 33860



Augustus Hamilton
20406 Fall Foliage Dr
Humble TX, 77338



Mark Shearon
369 Ruby Cate Way
Murfreesboro TN, 37128



Shawn Anthony Walker
7001 N 14th LN
McAllen TX, 78504



Armando Palacios
2215 Story Lane
Palmhurst TX, 78574



Tony Alexander
205 Woodcrest Dr
Covington GA, 30016



Jose A Uriarte
4840 Williamstown Blvd
Lakeland FL, 33810



Johnene Marble
907 Warren Ave
Indianapolis IN, 46221
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 102 of 257



Frederick A Talford
219 Thornfield Ln
Rock Hill SC, 29730



William Burlile
922 E Paint St
Washington Court House OH, 43160



James M Greentree
10644 Iowa Ave
Jacksonville FL, 32219



Jeffrey E Sawyer
7101 Clear Crossing Ln
Mint Hill NC, 28227



Jonathan N Brown
10220 Wood Dove Way
Jacksonville FL, 32221



Brian Culver
5121 Cornell St
Dearborn Heights MI, 48125-2113



Randy Stanley
1424 17th St
Port Huron MI, 48060



Antonio Dwayne Smiley
19942 Mackay St
Detroit MI, 48234



David Walton
34895 Donnelly St
Westland MI, 48185



Juan Richardo Wise
1826 Everest Dr
Monroe MI, 48161
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 103 of 257




Laymon Hicks
1126 W Lime St
Lakeland FL, 33815



Andaruis D Bowden
328 Vallejo Ct
Lakeland FL, 33809



Byron Arnold
1141 Kendall Town Blvd
Jacksonville FL, 32225



Erica M Castro
531 Firnat St
Houston TX, 77022



Donald Caldwell
5465 E 71st St Apt 173
Tulsa OK, 74136-6296



Jones Husunukpe
15219 Edgewater Forest Lane
Charlotte NC, 28278



James De La Rosa
234 W Bedford
San Antonio TX, 78226



Jeffrey A Wright
208 S Bunker Hill Rd
Colfax NC, 27235



William Christopher Blanchard
517 Cherry Ridge Drive
Orange Park FL, 32065
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 104 of 257



Shawn Beedy
252 West High Street
Jeffersonville OH, 43128



Christopher Skindzier
3083 E Maygrove Dr
Danville IN, 46122



Richard Lozano
4209 Citadel Ln
Houston TX, 77092



Isaac Garcia
3913 N Mercedes Dr
Mercedes TX, 78570



John Huff
1601 Bondurant St
Old Hickory TN, 37138



Frank R Lantos
2539 Spring Cypress Rd
Spring TX, 77388



Kristopher D Griffin
118 Dill Lane
Murfreesboro TN, 37130



Leonardo A Rodriguez
6527 Benwood Crest
San Antonio TX, 78238



Curtis Donyel Bryant
605 Hugh Duffy Cove
La Vergne TN, 37086



Jason Edwards
13536 Emerson Way
St Hedweg TX, 78152
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 105 of 257




Juan Jose Narvaez
2406 Pride's Crossing Rd
Houston TX, 77067



Richard Ruiz
1126 Fenfield Ave
San Antonio TX, 78211



Shawn Lowery
16835 ih35 south
Atascosa TX, 78002



David De Leon
11629 Creek Ash
San Antonio TX, 78253



Daniel Soto
603 W Owassa Rd
San Juan TX, 78589



Alejandro Ybarra JR
703 Grants Canyon
San Antonio TX, 78251



Jacob Alexander Flores
725 School Dr
Poteet TX, 78065



Dennis Campos
7726 Southmeadow Dr.
Houston TX, 77071



Rickie Butler
23053 Shakespeare Ave
Eastpointe MI, 48021
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 106 of 257



Misty M Strickland
PO Box 633
Rye TX, 77369



Sergio Vizcarra
7317 Playa Xing
San Antonio TX, 78252-4531



Charles Burch
6406 Cedar Hill
San Antonio TX, 78238



Walter Kelone Lewis
1715 Adobe Stone Drive
Humble TX, 77396



Damon Shawn Smith
8406 Swan Meadow Lane
Humble TX, 77338



Oscar Newman
10351 Sweetwater
San Antonio TX, 78252



Rafael Rameriz
327 Baker Avenue
San Antonio TX, 78211



Oleg Sokolov
12331 North Gessner Road
Houston TX, 77064



Steven Short
27600 Kings Manor Drive North
Kingwood TX, 77339



Darrell Ray White
12150 old county Rd
Willis TX, 77378
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 107 of 257




David J Boomsma
201 Pruitt Road apt 330
Spring TX, 77380



Roberto Ramos
15811 Natchez Brook Ln
Houston TX, 77073



Jose Manuel Velez
5235 Simcoe Ct
Brownsville TX, 78526



Richard Rodriguez
465 Frambuesa Ln
Brownsville TX, 78521



Curtis Granville
4620 Thousand Oaks Dr.
San Antonio TX, 78233



Rogelio Rosales Torres
16104 Monte Sinai
Edinburg TX, 78541



Turell Deshae Gonzales
7419 Barrel Stage
San Antonio TX, 78244



Ronald Ford
313 E Smith St Apt. A
Gallatin TN, 37066



Salvador Vasquez
2844 Impala Dr
Brownsville TX, 78521
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 108 of 257



Luis Dilone Hernández
1000 Cypress Station Dr
Houston TX, 77090



Jose Dolores Gallo
24940 Plantation Estates Ave
Porter TX, 77365



Christian Matlock
8051 Ashton Avenue
Detroit MI, 48228



Jason Edwards Jr
24345 Wilderness Oak
San Antonio TX, 78258-7883



Authur Geideon Arceneaux
12307 W. Village Dr.
Houston TX, 77039



Larry Spiva
308 Fm 474
Boerne TX, 78006



Serena A Herndon
1606 N Cleveland St
Dayton TX, 77535



Curtis Shafer
5309 Bahama Ave
Sand Springs OK, 74063



Troycian Tulloch
701 Lullwater Cir
Newnan GA, 30263



Samuel P Wall
19 Glendale Oaks Ct
Greensboro NC, 27406
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 109 of 257




Jessie L Chapple
6018 Pepperhill Rd
Charlotte NC, 28212



Jalen Brown
9017 Stones Bluff Pl
Camby IN, 46113



Tony Lard
317 Rosemary Ln
Euless TX, 76039



Andrew Reed
821 Nw 19Th St
Blue Springs MO, 64015



Timothy Hewitt
1722 S Carson Ave Apt 1904
Tulsa OK, 74119



Christopher Gray
15581 Hectorville Rd
Mounds OK, 74047



Joseph Hillebert
509 Se Hamilton Ct
Blue Springs MO, 64014



Gilberto Hernandez Bello
10920 SW 224 Street
Miami FL, 33170



Oscar Anaya
2709 S 74th East Ave
Tulsa OK, 74129
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 110 of 257



Darrell Demetrius Ellington
1082 Alford Road
Lithonia GA, 30058



Antonio Landeros
306 S Hardwick Dr Sw
Grand Rapids MI, 49548



Ryan Ooten
10042 N Balfer Dr W
Fortville IN, 46040



Conrall Tandy
6628 Waterloo Ln
Indianapolis IN, 46268



Zachary Busseni
657 Hanover Road
Brownsburg IN, 46112



Joshua Matthysse
7278 Rosie Shores Drive SW
Byron Center MI, 49315



Matthew Christopher Nareski
1104 George Town Pkwy
Fenton MI, 48430



Leonard Doc Caddell
1927 Eileen St
Ypsilanti MI, 48198



Daquan Chatman
6141 N Wildwood Apt 102
Westland MI, 48185



Kenneth M Lafey
426 Fernando St Ne
Grand Rapids MI, 49505
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 111 of 257




Brian D Stagner
3532 Central St
Dexter MI, 48130



Valtrene Larkins
2415 Keswick Village Ct Ne
Conyers GA, 30013-6544



Daron Wayne Smith Jr
2315 Tolliver Pl
Ellenwood GA, 30294



Chris Glover
11936 Cherry Creek Rd
Jacksonville FL, 32218



Alexander Uno
7432 Mesa Verde Trl
Fort Worth TX, 76137



Minh Pho
1905 Chiford Lane
Fort Worth TX, 76131



Nedzad Arapovic
2256 Hirsch Ct
Jacksonville FL, 32216



Angela J Jones
24595 Gilbert Drive
Porter TX, 77365



Waylon Alexander
711 N Columbia Street
Brazil IN, 47834
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 112 of 257



Nathan Chad Hardy
706 W Main Street
Arcadia IN, 46030



Dillon Seth Shoemaker
32 Play Way
Cloverdale IN, 46120



Carrie Terveer
6761 Hunters Green Way
Indianapolis IN, 46278



Ja-Brin Sheets
1189 Sunrise Trail
Indianapolis IN, 46241



Peter Randolph
3507 N Denny St
Indianapolis IN, 46218



Devante Brown
7642 E 34th St
Indianapolis IN, 46226



Anthony Lewis
5149 Bonnie Acres Dr
Ellicott City MD, 21043



Jermanine Wilson
723 Burmaster Dr
Columbia SC, 29229



William Fredrick Rose
110 Chase Ln
Mcdonough GA, 30253



Miesha Wilmore
3033 Prospect St.
Houston TX, 77004
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 113 of 257




Bobby Junior Altman
1628 greyfield ln
Atlanta GA, 30350



Donovan Tierre Dixon
1205 Shoreham Drive
Atlanta GA, 30349



James Vernard Simpson
2211 Crossings Drive
Lithia Springs GA, 30122



Mario Antwon Sanders
8386 Red Cedar Way
Riverdale GA, 30274



Michael Ray Vaughn
1303 Crestmark Boulevard
Lithia Springs GA, 30122



Curtis Arnold
25 Natalia Court
Newnan GA, 30263



Antone Jerell Nelson
1404 Irwin Bridge Road NW
Conyers GA, 30012



Christopher Leon Sims
6071 Georgia 85
Riverdale GA, 30274



Reginald Bernard Walker
3366 Homeward Trail
Ellenwood GA, 30294
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 114 of 257



Requavis Miguel Caldwell
1709 Carolina Place SE
Conyers GA, 30013



Alfred Trevion Baker
241 Deun Ct
Dallas GA, 30157



Charles Smith
3828 Salem Road
Covington GA, 30016



Jordon Subaran
3847 Laurenhill Lane
Decatur GA, 30034



TaKedria Denise Rucks
3440 Boulder Park Dr Sw
Atlanta GA, 30331



Darmious Davione Webb
460 tall oaks circle SE
Conyers GA, 30013



Kendrick Cross
1914 Longmont Drive
Lawrenceville GA, 30044



Joey Haugabook
145 Red Sage Ridge
Atlanta GA, 30349



Micheal Friend
4803 Circling Hunter Dr
Columbia MD, 21045



Charles Sellman
426 West Ct
Glen Burnie MD, 21061
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 115 of 257




Adonis Donyell Moore
1328 Underwood Farms Boulevard
Gahanna OH, 43230



Tavonte Bezue
22650 Goddard Road
Taylor MI, 48180



Rodney Allen Roberts
462 Zimmerman Road
Greenfield OH, 45123



Jesus Nicolas Gutierrez
185 Kleyla Dr Unit 079
Kentwood MI, 49548



Christopher Scott Carmean
5717 Jackson pike
Grove city OH, 43123



Rodney Bies
25520 Stanford Street
Dearborn Heights MI, 48125



Nathan James Bowen
878 Coldbrook Street Northeast
Grand Rapids MI, 49503



Robert Lee Kennedy
642 water street
Williamsport OH, 43164



Joel W McConnell
3616 N 29Th Pl
Broken Arrow OK, 74014
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 116 of 257



John Jackson
833 Windy Falls Dr.
Huntersville NC, 28078



Howard L Hamlin
9717 Branchleigh Rd
Randallstown MD, 21133



George Craigo
104 Sunray Dr
Clayton NC, 27520



Gregory Smith
10303 Samuels Way Drive
Huntersville NC, 28078



Jonvonte Demario Tate Robinson
2223 Irma St.
Charlotte NC, 28216



David Sosa
14211 Southbridge Forest Dr
Charlotte NC, 28273



Ronald Shaquille Evins
9312 Christy joy Dr
Charlotte NC, 28273



James Lolan McNabb
4846 Lakeland Harbor Circle
Lakeland FL, 33805



Ronald Chavous Wilson
11208 Oyster Creek Rd
Jacksonville FL, 32218-2272



Kentaurous Javall Pinkston
2021 Lunn Landings Drive
Lakeland FL, 33811
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 117 of 257




Jesus Manuel Garcia Rodriguez
720 Adams St Apt 2
Lakeland FL, 33815



Jarvis Lewis
24 West Hall Rd
Griffin GA, 30224



Emmanuel Alfaro
202 Cain St
Spencer NC, 28159



Adam Roshon
405 Tartan Pl
Lancaster OH, 43130



Sanford Rankins
852 N 91St East Place
Tulsa OK, 74115



Felipe Garcia
800 E Hackberry Ave
Alamo TX, 78516



Jeffrey Marie
327 Baker Ave 2
San Antonio TX, 78211



Logan P Reifert
1400 Ne 65Th St
Gladstone MO, 64118



Juan J Diaz-Ortiz
15409 Grand Smit Blvd 206
Grandview MO, 64030
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 118 of 257



Dahl Welborn
58 Piccadilly Ct
Colora MD, 21917



Javier Cardozo
192 Plymouth Lane
Glen Burnie MD, 21061



Malaney D Shrum
13576 white ibis street
Splendora TX, 77372



Dylan Thomas Drummond
1966 West 4Th St
Jacksonville FL, 32209



Adrian J Grimes
6697 Pole Creek Dr
Lithonia GA, 30058



Marqavuis L Dennis
228 Sableshire Way
Locust Grove GA, 30248



Ricardo Palacios
709 Scurlock
Pharr TX, 78577



Gary Sanford
1351 Waterway Court
Stoney Beach MD, 21226



Telicia J Flowers
2217 Fairwood Circle
Jonesboro GA, 30236



Randy Zarate
8703 Flint Valley Street
San Antonio TX, 78227
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 119 of 257




Miguel A Perez
22803 Tiny Trail
Elmendort TX, 78112



Derrick E Byrd
2215 Springdale Road Southwest
Atlanta GA, 30315



Donte Lomack
6245 Ellenwood Drive
Rex GA, 30273



Uchenna A Nnadi
596 Gonzaga Circle
Hampton GA, 30228



Brian Golden
396811 West 2900 Road
Ochelata OK, 74051



Thomas Hinojosa
502 Southwest 37th Street
San Antonio TX, 78237



Melvin James Bandy
8325 RiverTown Road
Fairburn GA, 30213



Jermaine Anthony Thurston
1640 Rey Street Northwest
Atlanta GA, 30318



James Smith
6508 Lake Mill Court
Stonecrest GA, 30038
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 120 of 257



Jamar Williams
6406 Kennonbriar
Lithonia GA, 30058



Joseph Jaysean Sherman
3000 Cumberland Club Drive
Atlanta GA, 30339



Zachary Joseph Cook
1078 Dailey mill Rd
Mcdonough GA, 30253



Brian P Stewart
4350 Cool Hill Rd
Providence Forge VA, 23140



Marlon O McDerby
2918 Erdman Ave
Baltimore MD, 21213



Danielle Sciarappa
13307 Addenmoor Ct.
Houston TX, 77014



Michael Carey Barham
5817 Neuse Wood Drive
Raleigh NC, 27616



Jose M Rivera
2415 Cannon St
Lakeland FL, 33815



Cesar Lopez
4006 Grissom Grove
San Antonio TX, 78251



Matthew Ryan Pennington
1539 NOR AM RD
Pikeville NC, 27863
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 121 of 257




Mario Guerrero
945 Krenson Woods Rd
Lakeland FL, 33813



Christopher David Pearson
4821 hedgerow Dr
Raleigh NC, 27616



Cameron Umphrey
398 Saint Jiles Dr
Clayton NC, 27520



Gentry D Berry
310 N Sherman Ave
Okmulgee OK, 74447-2821



Michael D Blackett
1660 W Countyline Rd
New Braunfels TX, 78130



Kenneth Hood
38524 Wade Rd
Romulus MI, 48174



Tonya Marshall
9822 Gillman St
Houston TX, 77078



Velid Imsirovic
4320 Sunbeam Rd Apt 907
Jacksonville FL, 32257



Billy Reyes
500 Tomar Drive 36B
San Antonio TX, 78227
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 122 of 257



Joshua Perez
7109 Leslie Rd Lot 20
San Antonio TX, 78254



Julio Dejesus
407 Martigues Dr
Kissimmee FL, 34759-3412



Jennifer Hagan
705 SE 13th St
Pryor OK, 74361



Dejuan J Edgar
2807 Hummingbird Ln.
Humble TX, 77396



Robert C Mendiondo
1320 Frontage Rd lot 106
Alamo TX, 78516



Andres A Garcia
9930 Sable Arrow
San Antonio TX, 78251



Kevin D Turner
3322 Jenkins Drive
San Antonio TX, 78247



Carlos Alfredo Ayala Velasquez
7627 Shire Trail Court
Humble TX, 77338



Alexander Matthew Herrera
3255 Marshy Oak
San Antonio TX, 78223



Roger Vincent Sandoval
8310 Charger Circle
San Antonio TX, 78221
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 123 of 257




Andrew D Trujillo
11910 Orsinger Lane
San Antonio TX, 78230



Cesar Garcia
314 Margo Street
San Antonio TX, 78223



Lucas Adriel Soltero
5431 Dabney Ln
San Antonio TX, 78227



Jeffery Williams
10514 Elderpond Drive
San Antonio TX, 78254



Javier Villarreal
927 VFW Boulevard
San Antonio TX, 78223



Pedro Calderon Couso
303 Hutch Court
Brandon FL, 33510



Adam Deleon Casanova
632 Prestwick Boulevard
San Antonio TX, 78223



Ronald W Nelson
7703 Foxwaithe Lane
Humble TX, 77338



Ricky Antonio Mendez
1438 Brenda Elaine Street
San Antonio TX, 78221
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 124 of 257



Jose Abel Perez
1217 West Denny Drive
Pharr TX, 78577



Mason Randall Coulter
2508 Hollywood Drive
Arlington TX, 76013



Steven Mark Kirshman
6022 North Eugene Field Road
Kansas City MO, 64119



William Mathis
2514 Sw 21st St
San Antonio TX, 78226



Oscar Angel Lopez Jr
9847 Alisa Brooke
San Antonio TX, 78254



Marlen Hall
7430 Wheatley Gardens Dr
Houston TX, 77016



Juan Robledo
5406 Timber Creek Drive
Houston TX, 77017



Anthony Patrick Del Grande
31320 Bulverde Hills
Bulverde TX, 78163



Rodney Perry
17311 East US 40 Hwy
Independence MO, 64055



Marcos Lopez
1638 Ridgebriar Dr
Houston TX, 77014
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 125 of 257




Christopher Haynes
6932 Harrison Street
Garden City MI, 48135



Patience Kinman
700 East 5Th Avenue
Lancaster OH, 43130



Olajide Ogundipe
102 Inverness Trace
Riverdale GA, 30274



Lucius Marques White
12941 Plumleaf Dr
Charlotte NC, 28213



Phil M Rivera
1112 Scaleybark Rd
Charlotte NC, 28209



James R Bailey Jr
7 Bluestem Ct
Owning Mill MD, 21117



Thomas Cox
3915 Pale Moon Pl
Glen Allen VA, 23059



Rodney King
7976 Bear Grass Ln
Mechanicsvlle VA, 23111-7537



Clifton Stewart
4711 S 186Th East Ave
Tulsa OK, 74134
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 126 of 257



Takari R Jackson
1705 Waikiki Way
Tampa FL, 33619



Jennie Atkinson
13605 Harold St
Taylor MI, 48180



Chevonne M Joyner
2608 Riverview Place
Jonesboro GA, 30238



Kerry Tyler
2204 Byron St
Richmond VA, 23222



Christopher K Wilson
3938 E 2Nd Pl
Tulsa OK, 74112



William Daniel Auston
310 North Sherman Avenue
Okmulgee OK, 74447



Erin Soliday
6990 Sam Bass Rd
Sanger TX, 76266



Lydia Krasniewski
919 Gephart Road
Wheelersburg OH, 45694



Mario Duarte
823 W Ninth Street Apt 3
Dallas TX, 75208



Juana Lizbeth Beltran
2022 Glenhaven St
Arlington TX, 76010
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 127 of 257




Miguel A Melendez
1003 Virginia St
Mayodan NC, 27027



Desmond Holder
203 S 5Th St
Smithfield NC, 27577



Carey Terrll Sowell
415 Bellingrath Blvd
Rock Hill SC, 29730



Charles Thomas Hunter
2300 Yorkdale Dr
Charlotte NC, 28273



Marquis D Whiting
1307 Bryson Ln
Denver NC, 28037



Norman W Riggs
3740 Wendwood Ln
Charlotte NC, 28211



Michael Kempf
51 Finley Court
Clayton NC, 27520



Johnny Reginald Vickers
207 Epps Road
Fort Mill SC, 29715



Carmen Pettway
517 Delta Drive
Fort Mill SC, 29715
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 128 of 257



Renee Williams
2819 Lauradale Ln
Richmond VA, 23234



Lucious Gerrad Maple
3308 Stratford Cir 3308
Morrow GA, 30260



Lashon Evangeline Patterson
7825 Musket St
Indianapolis IN, 46254



Brandon Ray Clark
2020 E Edgewood Dr Apt 68
Lakeland FL, 33803



Charlie Shivers
44 Belhaven Dr
Clayton NC, 27520



Nicky Jean-Baptiste
3251 Winchester Estates Cir
Lakeland FL, 33810



Fernando Sandoval
8455 Will Clayton Apt 513
Humble TX, 77338



Grant Ricks
5110 Griggs Rd
Houston TX, 77021



Alejandro F Oreiro
1002 Orly Drive
Kissimme FL, 34759



Claudia Solis
632 S San Eduardo Ave
San Antonio TX, 78237
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 129 of 257




Dan Richardson
8214 Ley Rd
Houston TX, 77028



Judith Gutierrez
4037 West 9Th Court
Hialeah FL, 33012



Juan Darias
1390 N Main St 2313
Euless TX, 76039



Amber Smith
20 Colonial Court
Washington Court House OH, 43160



Sheila Beal
350 Alicia Ave
San Antonio TX, 78228



Michael A Isbell
107 Beechleaf Court
Clayton NC, 27520



Jacob Levi Pennington
86097 Jean Road
Yulee FL, 32097



Roberto Arroyo Flores
5310 Deeson Road
Lakeland FL, 33810



Gladys Alanis
3401 Paula Avenue
McAllen TX, 78503
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 130 of 257



Matthew A Milam
6477 Alum Creek Drive
Groveport OH, 43125



Pitter Royder Martinez Fong
3718 Hampton Hills Dr.
Lakeland FL, 33810



Hector Junior Gonzalez
902 Navaho Trail
Mulberry FL, 33860



Audrey Lynn Buck
22814 lain rd
Spring TX, 77379



Shalonda Mone Waddell
475 Lea Road
West End NC, 27376



Naquan Humphrey
211 South Park Way
Sanford NC, 27332



Samuel Holt
3170 Stacy Lane
Ellenwood GA, 30294



Irvin Almanza
9715 Leath St
Houston TX, 77093



Mack Montford
301 Ave U NE
Winter haven FL, 33881



John Webster
5422 Oakford Drive
Lakeland FL, 33812
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 131 of 257




Adrien Harris
8823 Old Maple Ln
Humble TX, 77338



Daniel Fuentes
3747 Woodbury hill loop
Lakeland FL, 33810



Darrell Fornell
58 Golden Berry Drive
Conroe TX, 77384



Robert W King
5515 118th st Lot-174
Jacksonville FL, 32244



Cathy L Dockery
6501 E 17Th St
Kansas City MO, 64126



Maria E Flores
126 Pollydale Ave
San Antonio TX, 78223



Ernest Jackson
1735 Pele Place
Indianapolis IN, 46218



Kelli Denice White-Vaugh
2468 Winfield Avenue
Indianapolis IN, 46222



Kenneth Burrell
222 East 34Th Street
Houston TX, 77018
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 132 of 257



Dorila Gonzalez
11006 Beaver Trail Dr
Houston TX, 77086



Lisa Stewart
7211 Thicket Trail Dr
Humble TX, 77346



Sekinat Otunba
3376 Mount Zion Road
Stockbridge GA, 30281



Peter Decamp
1130 Bear Creek Parkway
Euless TX, 76039



Arsenio Quintana
3761 W 5 Ave
Hialeah FL, 33012



Alexandra Branson
9502 East 13 Street South
Independence MO, 64052



Esteban Cardona
2730 Ladin Dr Trail 26
Houston TX, 77039



Nicole M Borst
2921 Sycamore Springs Dr
Kingwood TX, 77339



Quaneal C Echols
5863 Seabright Ln
Atlanta GA, 30349



Leland Barrie
5601 N Colrain Ave
Kansas City MO, 64151
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 133 of 257




Eddie R Mortley
2118 Dewalt St
Houston TX, 77088



Lakiaha Gainers
420 Martha St
Lakeland FL, 33813



Johnny Martin
3600 Ne 68Th Terr
Kansas City MO, 64119



Terry S Mathes
1354 Baker Dr
Independence MO, 64050



Rodney Rogers
5333 Bataan
Houston TX, 77033



Henry Dean
3719 block drive
Irving TX, 75038



Anthony Ponder
2365 Brooktree Court
Ypsilanti MI, 48198



Taylor Kasumi-Blade Rennolds
10302 Marsh Harbor Way
Riverview FL, 33578



Jasmine N Maull
85 Wyatt Dr
Selma NC, 27576
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 134 of 257



Carlos Ivan Gonzalez
2426 Marfa Avenue
Dallas TX, 75216



Mason R Smith
8330 Stacy Lynn Ct
Indianapolis IN, 46231



Steve Hunter
3714 SALEM KIRK DRIVE
LITHONIA GA, 30038



Joshua Wager
7216 Windhaven Rd
North Richland Hills TX, 76182



Araceli Alvarez Gomez
8284 Meridian Drive
Riverdale GA, 30274



Tiashawna D Boyd
400 Fairburn Rd. Q145
Atlanta GA, 30331



Felicia Hill
269 Highway 138 Southwest
Riverdale GA, 30274



Timothy Randolph
9141 Settlers Grove Rd Ne
Covington GA, 30016



Christy Whittington
745 Mount Pleasant Rd
Willow Spring NC, 27592



Jose A Navarro Valdes
5945 Nw 113Th Ter
Hialeah FL, 33012
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 135 of 257




Nathon Gloria
927 Martin Luther King Drive
San Antonio TX, 78203



Terry McGrath
5120 N Lister Ave
Kansas City MO, 64119



Charlie Mata
1955 Larkspur Apt 823
San Antonio TX, 78213



Jason Wright
39204 Montana Drive
Romulus MI, 48174



Ashley Wilder
5214 Alexander Street
Union City GA, 30291



Jeffrey S Howell
18906 East Susquehanna Ridge
Independence MO, 64056



Michael Alberto Monje Suazo
3779 Grant Rd Lot 167
Ellenwood GA, 30294



Brenda Y Erazo
17843 Juniper Green Trl
Humble TX, 77346



Dellmus C Colvin Jr
508 3rd St
Humble TX, 77338-3835
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 136 of 257



Samantha R Blansett
6128 Robert Cir #255
Ypsilanti MI, 48197



Andrew Michael Towler
123 1st Street
Milan MI, 48160



Megan Gabriel
1636 Meadhurst
Ypsilanti MI, 48198



Enmanuel Alvarez Perez
27964 Southwest 133rd Path
Homestead FL, 33032



Jeremy J Wallace
8202 Nw 5Th Ct
Miami FL, 33150



Shawn Harris
1925 Hopkins Rd Apt N
Richmond VA, 23224



Domingo Rubi
3223 West 76th Place
Hialeah FL, 33018



Joseph F Volcy
3006 Elm St
Winter Haven FL, 33881



Christopher Holmes
3710 Musketeer Dr
Frisco TX, 75033



Marcellus Lawson
3256 Jones Rd
Ellenwood GA, 30294
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 137 of 257




Emelia Leal Gonzalez
14011 Windy Stream Lane
Houston TX, 77044



Leonardo Cavero Nazario
8014 Colton Mining Ct
Houston TX, 77040



Dustin Kuhn
35 Jasper Ln
Washington Court House OH, 43160



Donald Leroy Thomas
40 1/2 N London St Apt E
Mount Sterling OH, 43143



Daryl Goode
4543 Welford Ave
Richmond VA, 23234



Derek Jerrod Johnson
3800 Wayside Rd
Charles City VA, 23030



Marcelino Torres
1117 East Polk Avenue
Pharr TX, 78577



Ismael Coffen
982 Smith Street Apt A3
Clarkston GA, 30021



Lazaro Garcia Torres
2101 Sw 82Nd Ave
Miami FL, 33155
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 138 of 257



Michael S Phillips
714 East Crawford Street
Lakeland FL, 33805



Patrick J Mondejar
1331 Bramblewood Drive
Lakeland FL, 33811



Jonadab Rojas
913 Amick Loop
Lakeland FL, 33815



Bernard L King
845 North Central Avenue
Atlanta GA, 30354



Travis Donnell Banks
1021 Bluecoat Circle
Hampton GA, 30228



Stacy Driggers
133 Highland Avenue
Auburndale FL, 33823



Marlon D Davis
6717 Southbury Court
Henrico VA, 23231



Dreddric Walls
16350 Ella Blvd Apt 538
Houston TX, 77090



Eloisa Villeda
609 Aransas Dr
Euless TX, 76039



Davonna S Jones
4618 Englewood St
Houston TX, 77026
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 139 of 257




Rafael Leon
24039 Lestergate Dr
Spring TX, 77373



Kenneth Bankhead
4605 Country Trails Drive
Polk City FL, 33868



John M Scott
20005 Liedecke Road #1101
San Antonio TX, 78264



Kristna I Yem
6376 Clearbrook Dr
Morrow GA, 30260



Guillermo Rodriguez
3140 Sw 82Nd Ave
Miami FL, 33155



Frank Cisneros
4162 Mystic Sunrise Dr
San Antonio TX, 78244



Robert Filella Gomez
639 Ave F NW Apt 8
Winter Haven FL, 33881



Walter Lewis
4308 Warwick Rd
Richmond VA, 23234



Ernesto Cartaya Marcos
6425 W 24Th Ave Apt 26
Hialeah FL, 33016
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 140 of 257



Stacy McClelland
3509 Palm Rd
Lakeland FL, 33810



Pedro Arbolaez Garcia
8228 Nw 201 St
Hialeah FL, 33015



Grace Taylor
606 Nixon Way
La Vergne TN, 37086



Lauren A Villarreal
143 W Emerson Ave
San Antonio TX, 78226



Eva M Esparza
5118 Grovehil St
San Antonio TX, 78228



Cassandra L Thomson
15718 De Havilland Drive
Charlotte NC, 28278



Jose A Duran
3011 Spice Meadow
San Antonio TX, 78222



Brandon Nicole Wilson
2493 Corner Shoals Drive
Decatur GA, 30034



Fern Louise Flores
402 North Cesar Chavez Road
Alamo TX, 78516



Christina M Gordon
710 East Main Street
Newark OH, 43055
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 141 of 257




Allisia Danielle Gentle
1132 Robinwood Road
Gastonia NC, 28054



Devante White
1536 Cabora Lane
Columbus OH, 43232



Jaydon David Smith
80 Ely Avenue
Sabina OH, 45169



Jaqueline Hernandez Nunez
7494 Golf Vista Boulevard
San Antonio TX, 78244



Antonino G Cusumano
116 NW 111th Terrace
Kansas City MO, 64155



Joseph S Rodriguez
113 Pickford Ave.
San Antonio TX, 78228



Domonique A Tennison
10600 E 28th St
Independence MO, 64052



Antonio Munoz
11803 Marbach Road 408
San Antonio TX, 78245



Alexander Hendry
2384 Kinglsey Dr SE
Concord NC, 28025
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 142 of 257



Janell Delay
6416 Gina Agha Cir
Lithonia GA, 30038



Ashtyn Nicole Barney
513 E Woodrow Avenue
Columbus OH, 43207



Patricea Anjenea Ersery
4019 e 16th Ter
Kansas City MO, 64127



Kevin Ginn
5903 Englewood Ave
Kansas City MO, 64133



Laritza Becerra Cruz
423 Brighton Ave
Kansas City MO, 64124



Tyler Alan Atkinson
13605 Harold St
Taylor MI, 48180



Ana Aguirre Torres
748 Sedgefield Road Apt D
Charlotte NC, 28209



Anderson Romero Caballero
748 Sedgefield Rd Apt. E
Charlotte NC, 28209



Enma Lainez
202tyvola Dr Apt #4
Charlotte NC, 28210



Carmen Villalta Vasquez
613 Archdale Dr Apt c
Charlotte NC, 28217
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 143 of 257




Dobosu Kaleb
1279 e 24th Ave
Columbus OH, 43211



Dontavius Ginn
14013 College Blvd.
Olathe KS, 66215



Connor Meyerkorth
504 NW Brett Cir
Blue Springs MO, 64014



Kristie Macias
500 Tomar Dr
San Antonio TX, 78221-3900



J'Son O Richards
8455 Will Clayton Pkwy
Humble TX, 77338



Eliecer Crespo Guzman
634 W Thomas St
Lakeland FL, 33805



Vicente Mayorga Ramirez
371 Lady Guinevere Way
Jonesboro GA, 30236



Natoshia Thompson
8441 La Prada Apt 1074
Dallas TX, 75228



Jerone T Butler
1221 Redford Street apt 1006c
Houston TX, 77034
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 144 of 257



Andres Salazar
5422 Mumford Path
San Antonio TX, 78228



Thomas Davis
3333 Weir
San Antonio TX, 78226



Michael Browning
4671 Creek Meadow Trail
Lakeland FL, 33810



Darryl Killingsworth
411 Fulton Green Rd
Lakeland FL, 33809



Newman Robertson
5818 Elberta St Apt 1
Houston TX, 77050



Daniel Dale Shaub
120 Sweet Olive Street
Clayton NC, 27527



Louis Junior Billingsley
503 South 73rd East Avenue
Tulsa OK, 74112



Deahon Deason Henry
3826 Salem Road
Covington GA, 30016



Printice Lasail Harris
1242 Lloyd Drive
Forest Park GA, 30297



Marcus A Johnson
102 dogwood Dr
Atlanta GA, 30318
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 145 of 257




Jennifer A Lopez
7215 Sir Galahad Way
Jonesboro GA, 30236



Ernest Gibbs
9093 Homewood Drive
Riverdale GA, 30274



William P Wright
34 Brown Avenue Southeast
Atlanta GA, 30315



Emmanuel O Gray
144 Darbys Run Drive
Hiram GA, 30141



Anton Derrell Godley
6412 Snowden Drive
College Park GA, 30349



Joshua Ridley
3384 Mount Zion Road
Stockbridge GA, 30281



Patricia Michele Mitchell
741 Georgetown Court
Jonesboro GA, 30236



Christopher White
3898 Kensington Road
Decatur GA, 30032



Jasamine Knox
2883 Toney Drive
Decatur GA, 30032
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 146 of 257



Tyleon Reynolds
703 Grosslake pkwy
Covington GA, 30016



Kissirfur Curtis
640 Mckoy Street
Decatur GA, 30030



Lissie Serrano Rivera
915 Woodland
Smyrna GA, 30080



Tamara Riggins
2894 Cohassett Lane
Decatur GA, 30034



William Pierce
14018 E 26TH St
Tulsa OK, 74134



Karen Gonzales Torrez
102 Dogwood Drive apt G
Atlanta GA, 30318



Matthew Holman
11211 s cedar st
Jenks OK, 74037



Preston Anthony Notaro
503 S 73rd E Ave
Tulsa OK, 74112-4717



Alida Maria Hernandez
1014 Ivey Park Lane
Peachtree Corners GA, 30092



Dameon Allen Hawkins
2108 north Frankfort place
Tulsa OK, 74106
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 147 of 257




Shermicheal Hall
3415 S Sheridan Rd
Tulsa OK, 74145



Johnathan Nicholas Allen
1026 Elaine Rd
Columbus OH, 43227-1236



Elonza Roy James
745 Summer Park Dr
Stafford TX, 77477



Michael Rodriguez
4915 Oak Shadows Dr
Houston TX, 77091



Laura Longinos Gomez
6413 Lanier Road
Morrow GA, 30260



Richard Tower
135 Todd St
Lakeland FL, 33815



Donald Augustin
11680 Ne 18Th Dr Apt 16
North Miami FL, 33181



Marcos A Alvarez Praderes
6990 Nw 186Th Apt 202
Hialeah FL, 33015



Frederick J Harvey
57 Hardwick Street SE Apt3203
Atlanta GA, 30315
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 148 of 257



Andrew McGovern
1280 Fir Drive
Lakeland FL, 33803



Christopher A Thomas
5181 West Mountain Street
Stone Mountain GA, 30083



Jobanny Almanzar
8402 Montgomery Circle
San Antonio TX, 78239



Juan Martinez
2340 Lucian Lane
Keller TX, 76262



David W Kizziah
13443 Collen Rd
Jacksonville FL, 32218



Omari Deshawn Richards
8455 Will Clayton pkwy
Humble TX, 77338



Elizabeth Marie Wilson
3110 Lumby court apt 4105
Decatur GA, 30034



Ronald D White
1625 Conley Rd
Conley GA, 30288



Erika E Vasquez
209 Charles Road
Linthicum Heights MD, 21090



Nicholas A Cross
45576 South Stonewood Road
Canton MI, 48187
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 149 of 257




Carolyn Marks
86621 Lazy Lake Circle
Yulee FL, 32097



Angel Leon
24039 Lestergate Drive
Spring TX, 77373



Mark Anthony Menchaca
311 Dulce Street
San Antonio TX, 78228



Daysi Guadalupe Vasquez
1916 Kynette Drive
Euless TX, 76040



Angel Rios
2114 Chihuahua Street
San Antonio TX, 78207



Paul Stephen Joseph
20407 Fall Foliage Drive
Humble TX, 77338



Connor Williams
10435 Noggles Rd
Manchester MI, 48158



Christine Howard
42 Devonshire st
Ypsilanti MI, 48198



Shannon Cunningham
8105 E 93rd St #604
Tulsa OK, 74133
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 150 of 257



Yanet Jerez Santiesteban
11700 Luna Rd Apt# 7303
Farmers Branch TX, 75234



Danela Jerez Santiesteban
11700 Luna Rd Apt 7303
Farmers Branch TX, 75234



Margarita Lauren Mercado
1430 San Francisco
San Antonio TX, 78201



Zachary Evan Anglebrandt
6225 lake Dr
Ypsilanti MI, 48197



Kameron Larry
321 Elder St
Ypsilanti MI, 48197



Yolanda Clemente Ambrosio
2732 Virginia Avenue
Baltimore MD, 21227



Curtis Dyer Jr
47 Wexford Ave
Belleville MI, 48111



Kamala Adams Sons
8291 Dames Point Crossing
Jacksonville FL, 32277



Rosa Partida Ceja
6330 Headwaters Way
Rex GA, 30273



Martin Cisneros
4162 MYSTIC SUNRISE DR
SAN ANTONIO TX, 78244
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 151 of 257




Xavier Colvin
172 Addy Lane
Stockbridge GA, 30281



Enock Biyinzika
3402 Luna Ct
Nashville TN, 37211



Charles Vasquez
6014 Lockend
San Antonio TX, 78238



Gertrudis Ayala
11017 Grapeyard Ct
Charlotte NC, 28273



Gabriel Green
P O Box 1821
Stockbridge GA, 30281



Michael Bridger
1024 Branchview Ct
Raleigh NC, 27610



Andres Victoriano
3260 Old Highway 60
Mulberry FL, 33860



Juan D Chatkehoodle
542 E 32Nd St N
Tulsa OK, 74106



Elizabeth M Smith Davenport
703 Granite Road
Brandon FL, 33510
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 152 of 257



Jerry Louis Sayles
P.O Box 691685
Tulsa OK, 74169



Isidro Alfonso Nicola
13100 SW 83rd street
Miami FL, 33183



Neyda Perez-Ventura
4314 Meadow Ridge Court
Mulberry FL, 33860



Richardson E Valmir
5605 Northeast 1st Avenue
Miami FL, 33137



Terrell Deon Phenix
6909 east Newton pl
TULSA OK, 74115



Jakale Lamont Mitchell
1389 E 52nd St N
Tulsa OK, 74126-2820



Seth Conner McCrary
3302 S Hudson Ave
Tulsa OK, 74135-5051



Dorika LaShae Cockroft
2004 South Nogales Avenue
Tulsa OK, 74107



Oscar Ronaldo Revilla
1545 North Norwood Avenue
Tulsa OK, 74115



Wesley Ali
735 Prince Pl Nw
Atlanta GA, 30318-8389
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 153 of 257




Pablo Camacho Hernandez
7000 West 15th Court
Hialeah FL, 33014



Wily Mintor
655 NE 131 Street APT # E
North Miami FL, 33161



Ryan Tyler Orr
364 e 137th st
Glenpool OK, 74033



Theodore Tobias Pacheco
7205 E 90th Street
Tulsa OK, 74133



Blake Long
503 E 32nd St N Apt A
Tulsa OK, 74106



Kayleigh Rochelle Whiting
2009 N Kingston Ave
Tulsa OK, 74115



Elizabeth Dixon
16909 E 48th St
Tulsa OK, 74134



Aden Wayne Pless
11010 E 17th St
Tulsa OK, 74128



Gilberto Arevalo Ramos
3867 McDowell Lane
Baltimore MD, 21227
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 154 of 257



Thomas Jones
1941 W Baltimore St
Baltimore MD, 21223



Tarvis D Miller
1705 W. Washington St
Plant City FL, 33563



Sheila D Long
1614 E Young St
Tulsa OK, 74106



David Jr Pelayo
6238 Wigwam Dr
San Antonio TX, 78238



Menoussel Fertil
745 Northwest 77th Terrace
Miami FL, 33150



Jeremy Moore
2926 Sandpiper St
Humble TX, 77396



Antonia E Gonzalez
5475 Southcross Ranch Rd lot50
San Antonio TX, 78222



Hector Vasquez
426 South 26th Street
McAllen TX, 78501



Leydi Ramirez
1507 McDugald Road
Humble TX, 77338



Robert Van Kidder
8839 South County Line Road
Lithia FL, 33547
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 155 of 257




Sergio Ramos Vasquez
209 Charles Road
Linthicum Heights MD, 21090



Rontrell Clark
2331 Bammelwood Drive
Houston TX, 77014



Jose Enrique Zapata
205 Datil
Hidalgo TX, 78557



Jose Ortiz
1515 Charriton Dr
Houston TX, 77039



Ivis Lucia Figueredo Castellanos
2426 Brownwood Drive
Mulberry FL, 33860



Adriana Zeledon
404 Ferguson Avenue
San Antonio TX, 78203



Anthony Noe Gonzalez Palma
5680 Siltstone Street
Lakeland FL, 33811



Mariana Ramos Vasquez
209 Charles Road
Linthicum Heights MD, 21090



Karla Mariu Lopez Aguilar
6283 Hampton Pointe Circle
Lakeland FL, 33813
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 156 of 257



Ingre Del Valle Aguilar
6283 Hampton Pointe Circle
Lakeland FL, 33813



Francisca Brito
1045 Edith Avenue
Lakeland FL, 33805



Rudolfo JR Apolinar
934 Southwest 35th Street
San Antonio TX, 78237



Patricia Angelica Ruiz
2629 McIntosh Drive
Lakeland FL, 33815



Kevin Martinez
2456 Chesnut Woods Dr.
Lakeland FL, 33815



Carlos Blas
424 Pevetty Drive
Plant City FL, 33563



Kendrick Hall
8107 Chancewood Lane
Humble TX, 77338



David S Martinez Diaz
5425 West 24th Avenue
Hialeah FL, 33016



Marlon O Martinez Lopez
5425 West 24th Avenue
Hialeah FL, 33016



Kayla Gamez Lezcano
303 Frank Lloyd Wright Way
Lakeland FL, 33803
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 157 of 257




Alfonso III Elizondo
1722 San Fernando Street
San Antonio TX, 78207



Cristina Elizabeth Cerda
667 Humboldt Street
San Antonio TX, 78211



Michelle Antoinette Dunning
316 West Patterson Street
Lakeland FL, 33803



Daniel Naupari
10526 Fire Sage Drive
Humble TX, 77396



Rogelio Soriano
1638 Ridgebriar Dr
Houston TX, 77014



Joel Perez Pino
1045 West 33rd Place
Hialeah FL, 33012



J Guadalupe Santibanez Martinez
2316 Old Tampa Hwy
Lakeland FL, 33815



Latoya Renee Harrington
300 S Mclamb St
Benson NC, 27504



Jorge Olalde
310 W Patterson St. Apt B
Lakeland FL, 33803
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 158 of 257



Keeghan E Burns
2852 Seymore Street
Lakeland FL, 33813



Cullen Burns
4044 Mountain Chestnut Way
Lakeland FL, 33810



Reginald Douglas
402 West 8th St.
Lakeland FL, 33805



Adrien Miguel Sanchez Armas
30 E 39th St apt 201
Hialeah FL, 33013



Robert Treto Rodriguez
5093 West 12th Avenue
Hialeah FL, 33012



Daniel Herrera
15251 La Jolla Ln
Houston TX, 77060



Paul Banks
503 West Rd apt 61
Houston TX, 77038



Angela P Aguilar
2005 Red Loop
Lakeland FL, 33801



Jerry D Brooks
22531 Sleepygate Dr
Spring TX, 77373



Nathaly M Valladares Echeverria
5208 Adams Dr
The Colony TX, 75056
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 159 of 257




Christopher R Rivas Quintanilla
3559 Park Ln
Dallas TX, 75220



Joshua Brown
7634 Teesdale Dr
Houston TX, 77028



Norline Dort
1991 Danes Court
Lakeland FL, 33810



Matthew Saburo
20418 Fall Foliage Dr
Humble TX, 77338



Paul Daniel Loredo
14319 Split Cedar Dr
Houston TX, 77015



Alexander Antonio Sanchez
1003 S. Indiana Ave.
Mercedes TX, 78570



Kevaris Thomas
2020 Lunn landings Dr
Lakeland FL, 33811



Deuntae Burgess
4516 South Pipkin Rd
Lakeland FL, 33811



Jarrod Jerome Lyons
151 Gold Finch Drive
Livingston TX, 77351
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 160 of 257



Jevonnie T Spratling
6023 Jaguar Ct
Jacksonville FL, 32244



Miles F Mitchell
8184 Hynds Springs Lane
Jonesboro GA, 30238



Alvon Jah'mee Taylor
2738 Calloway Cir
Jacksonville FL, 32209-2811



Cameron Edward Boseman
9067 Rockpond Meadows Drive
Jacksonville FL, 32221



Leon Tillie
8925 Devonshire Blvd.
Jacksonville FL, 32208



Danieska Rivero Benitez
5350 Arlington Expressway
Jacksonville FL, 32211



Teddy Hughley Buchanan
702 North Sam Houston Pkwy
Houston TX, 77060



Andre Warren Nelson
21443 W Wallis Dr
porter TX, 77365



Margaret Delgado
9729 Laurel Pine Dr
Henrico VA, 23228



Michael Mercado
410 Alma Ave
Alamo TX, 78516
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 161 of 257




Veronica Soloya
17426 Wigeon Way Drive
Humble TX, 77396



Juan Martin Flores
16755 Ella Blvd Unit 31
Houston TX, 77090



Julian Joseph Dwight Garner
21502 Lee Rd
Humble TX, 77338



Rolando Martinez
2710 Wilson Rd lot 120
Humble TX, 77396



Nathan Steven Canales
1222 Leal Street
San Antonio TX, 78207



Nathan Andrew Stroud
214 Pace Street
San Antonio TX, 78207



Damien Xavier Serrano
1523 West Travis Street
San Antonio TX, 78207



Semaj Talley
9393 Tidwell Road
Houston TX, 77078



Shakeem Jamal Bright
9035 Farm Ridge Lane
Humble TX, 77338
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 162 of 257



Christian Manuel Olivarez
2426 Dahlgreen Avenue
San Antonio TX, 78237



Theado Lewis
905 Cypress Station Dr #302
Houston TX, 77090



Tomeka Peterson
555 seminar Dr 78
Houston TX, 77060



Luis A Barco
708 W Stevenson Ave
Alton TX, 78573



Elton Hall
7303 Orlando St
Houston TX, 77016



Carlos R Aguilera
800 w javelina Dr apt#2
Pharr TX, 78577



Javontre J Edmond
4522 Sylvanfield Dr Apt.701
Houston TX, 77014



Yuniel Nunez Fernandez
10418 Shaenfiel Rd
San Antonio TX, 78254



Chantel Jett
9390 Fm 1960 Rd W apt 1209
Humble TX, 77338



Casey Nicole Stewart
7211 thicket trail Dr
Humble TX, 77346
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 163 of 257




Joshua Wilmore
7373 N wayside Dr # 1609
Houston TX, 77028



Devin Manning
21015 brushy canyon Dr
Houston TX, 77073



Anna Martinez
814 Green Park St
San Antonio TX, 78227



Robert Rodriguez
1917 W Salinas St
San Antonio TX, 78207



Alexis Guerrero
309 Calgary Ave
San Antonio TX, 78226



DOMINIQUE NELMS
6200 Greens Rd apt1611
Humble TX, 77396



Marcus Allen
25922 Northpark Birch Dr
Porter TX, 77365



Raymond Wayne Tate Jr.
4914 Wayne
Houston TX, 77026



Raymond Oscar Williams
6209batterson
Houston TX, 77026
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 164 of 257



Eden Rodriguez
1703 GARDNER ROAD Apt 125
PENITAS TX, 78576



Rossy Rios
2114 Chihuahua Street
San Antonio TX, 78207



Rudy Navarro
409 Melba Carter Street
Mission TX, 78572



Adam Delgado
3426 Kodiak Diamond
San Antonio TX, 78245



John Martinez
4118 desert gold Er
San Antonio TX, 78222



Arturo Lozano
140 w Guerra St unit c
Pharr TX, 78557



Moises A Pineda
3807 S Veterans Blvd
Edinburg TX, 78542



Arnold Cruz-Quintos
13345 4th St.
Hargill TX, 78549



The Hartford Billing Co./Fire Ins
PO Box 660916
Dallas TX 75266-0916



CORVUS OF JACKSONVILLE LLC
23550 CENTER RIDGE RD
SUITE 102
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 165 of 257



WESTLAKE OH 44145


Hamp Crum III
675 Pimblico Road
Montgomery AL 36109



Wiggins Childs Pantazis Fisher & Goldfarb
301 19th Street N
Birmingham AL 35203



M.S. MOBILE SERVICE
PO BOX 690252
TULSA OK 74169



Supreme Staffing
6041 Mt. Moriah Rd ext. ste#12
Memphis TN 38115



Jani Care, LLC
1954 Airport Rd. #529
Atlanta GA 30341



Allegiance Staffing
PO Box 242368
Charlotte NC 28224



Ommc LLC
5919 D Stockbridge Drive
Monroe Nc 28110



Des Moines Mobile Wash Inc
Po Box 677
Ankeny IA 50021-0677



Rosedale Water Company/Iowa H2o
516 N 6th St
Fort Dodge IA 50501
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 166 of 257



Eclipse Worlds LLC
10800 Alpharetta Hwy, Ste 208, #513
Alpharetta GA 30076



Ultimategreenkc/Janice Robblee
5601 N Colrain Ave.
Kansas City MO 64151



Advanced Maintenance of Wilson/Greenville
2515 Fairview Rd, Suite 204
Raleigh NC 27608



Bush&Ramirez
5615 Kirby Dr Suite 900
Houston Tx 77005



Liberty Transportation
838 Croft Road
Greensburg Pa 15601



Sara Margarita Mares
8565 W Sam Houston Pkwy S
Apt 401
Houston Tx 77072


Jose Marbel Lopez
Glorious Transportation LLC
13461 Calloway Glen Drive
Charlotte Nc 28273


I.C.Q. Transport LLC
3300 York Dr.
Mansfield Tx 76063



Texas Highway Masters
2221 Stonebrook Ln
Mesquite Tx 75181



Marcobay Construction, Inc
4025 S. Pipkin Road
Lakeland FL 33811
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 167 of 257




Syp Trucking LLC
953 E Keating Ave
Muskegon Mi 49442



Wayne Mack Brown
915 W Peachtree St
Unite 18113
Atlanta Ga 30309



Felix Johnson
3588 Hwy 138 Se #528
Stockbridge Ga 30281



Attn: Kathy Mack
Aeropostale
125 Chubb Ave.
Lyndhurst Nj 7071


Amscan
Attn: Caroline Smith
80 Grasslands Road
Elmsford Ny 10523


Steamaway Inc
Po Box 161699
Fort Worth Tx 76161



Onset Transportation LLC
4674 Harts Brook Ln
Mulberry Fl 33509



National Trailer Repair
P.O. Box 171568
Irving Tx 75017



Fully Promoted Lake Norman
19420 Jelton Rd #103,
Cornelius NC 28031
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 168 of 257




Merdzic Transportation Services Inc
3100 Industrial Drive
Bowling Green KY 42101



Jim Williams Fence Co
934 E Rose St
Lakeland Fl 33801



Todd Alan Bixby
1748 Walker Rd
Lakeland Fl 33810



Braxton Building
Po Box 59961
Dallas Tx 75229



Freightsource LLC
3482 Keith Bridge Road #409
Cumming Ga 30041



Mcmaster-Carr
Po Box 7690
Chicago Il 60680-7690



Ws Thomas Transfer, LLC
6311 W. Stoner Dr
Greenfield In 46140



Alejandro Ochoa
4327 Moon Shadow Loop
Mulberry Fl 33860



1099 Donna Williams
113 York Drive
Greeneville Tn 37745



Creative Containers Corp
7600 Business Park Dr.
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 169 of 257



Greensboro Nc 27409



PB Transportation, LLC
4166 Raveena Loop
Hilliard OH 43026



Cain Express LLC
2008 Lake Drive
Laurinburg NC 28352



B&S Commercial Cleaning Service
2809 Albemarle Drive
Reynoldsburg Oh 43068



Vaco LLC
5501 Virginia Way, Ste 120
Brentwood Tn 37027



Presto Garage and Gutter
18637 Northline Drive STE H
Cornelius NC 28031



Pro-Tech Pest Control
P.O. Box 4254
Mcallen Tx 78502-4254



On Demand Staffing Inc
212 W 10th St, Ste C485
Indianapolis In 46202



CP Carriers Inc.
c/o Saint John Capital Corporation
PO Box 74007671
Chicago IL 60674-7671



Oklahoma Turnpike Authority
PO BOX 960029
Oklahoma City OK 73196-0029
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 170 of 257




Republic Capital Access
2411 Dulles Corner Park Suite 625
Herndon, VA 20171



DIAMOND SPRINGS WATER, INC
PO BOX 38668
RICHMOND VA 23231



Daiohs USA
First Choice Coffee Services
6700 Dawson BLVD BLDG 3-E
Norcross GA 30093


SOONER LOCK&KEY
PO BOX 472172
TULSA OK 74147



Southern Air
2655 lakeside
P.O. BOX 4205
LYNCHBURG VA 24502


Division Of Motor Carriers
Transportation Cabinet
Po Box 2004
Frankfort Ky 40602-2004


Mh Equipment Corp.
4469 Solutions Center
Chicago Il 60677-4004



Attorneys At Law
Young Moore & Henderson
Po Box 31627
Raleigh Nc 27622


Modern Plumbing & Backflow LLC
313 Sherwee Dr
Raleigh Nc 27603



Kline's Quality Water Inc
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 171 of 257



2250 N Ritter Ave
Indianapolis In 46218



Impact Mobile Repair LLC
7488 Duncan Lake
Middleville Mi 49333



Noble Express Inc c/o Apex Capital
PO Box 961029
Fort Worth TX 76161-1029



Harris Plumbing Services
20510 Providence Point Dr
Katy, TX 77449



United Rentals (North America), Inc DBA Reliable Onsite Services
PO BOX 100711
Atlanta GA 30384-0711



Midamerican Energy
P.O. Box 8020
Davenport IA 52808-8020



Carpenter Mechanical LLC
2100 Integrity Drive S
Columbus OH 43209



Black Hills Energy
Po Box 6001
Rapid City SD 57709-6001



Tableau Software, LLC
415 Mission Street
3rd Floor
San Francisco CA 94105


MARION COUNTY TREASURER
P.O. BOX 6145
INDIANAPOLIS IN 46206-6145
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 172 of 257




CAPITAL CITY CONVEYOR & SUPPLY
7731 MORRIS ROAD
HILLIARD OH 43026



Elite AC LLC
6060 Chester Cir
Jacksonville FL 32217



On Guard Security, Inc.
501 Metroplex Dr, Suite 210
Nashville TN 37211



RMH System
Po Box 3251
Omaha NE 68103-0251



Haz-Mat Response, Inc
1203C S.Parker St.
Olathe KS 66061



PREMIER TRAILERS, LLC
5201 TENNYSON PARKWAY, STE 250
PLANO TX 75024



Everest Exe Search Group Inc.
PO Box #10576
Zephyr Cove NV 89448



KC Transporter LLC
6830 Renner Road
Shawnee KS 66217



Rotstein & Shiffman, LLP
309 Oakridge Blvd
Daytona Beach FL 32118



Milton D
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 173 of 257



259 Daisy Estates Drive
Winter Haven FL 33884



Reina Interstate Corp
c/o Summar Financial LLC
PO Box 748841
Atlanta GA 30374-8841


Shaxda Express LLC
c/o PDM Financial LLC
1404 2nd Pl.
Des Moines IA 50314


SCOTT A. GLIDDON
2401 BUTTERWOOD WAY
BOWLING GREEN KY 42101



Ada Logistics Corp
c/o Triumph Financial Services LLC
550 Reserve Street, Suite 190
Southlake TX 76092


The Engineer Transport LLC
c/o Internet Truckstop Payments LLC
307 E 8th Street
Halstead KS 67056-2416


System4 of the Carolinas
6701 Carmel Road Suite 103
Charlotte NC 28226



Solutions LLC
Advanced Compressed Air
9421 Fm2920 Rd Bldg 23
Tomball Tx 77375


Thomas J. Henry Law
c/o Russell Jackson
5711 University Heights Blvd, Suite# 101
San Antonio TX 78249


RL Solutions
1800 Saint Julian Place
Suite 103
Columbia SC 29204
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 174 of 257




GMH Trans, LLC
7688 US Route 5
Westminster VT 05158



Armstrong Transportation
5050 Poplar Ave Suite 900
Memphis Tn 38118



Pacific Logistic Group LLC
c/o Saint John Capital Corporation
PO Box 74007671
Chicago IL 60674-7671


Grand Rapids Tech
2004 Oakwood Ave NE
Grand Rapids MI 49505



Right Touch Electrical LLC
2623 Dupont St.
Pasadena TX 77503



Securac Inc
1102 S Commons View Dr
Huffman TX 77336



Partnership Lake Houston
110 W Main St
Humble TX 77338



Med-1 Breton, LLC
PO BOX 3319
Grand Rapids MI 49501-3319



LPZ Express LLC
c/o Ecapital Freight Factoring
PO Box 660771
Dallas TX 75266-0771


Hy-Tek Material Handling, Inc.
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 175 of 257



2222 Rickenbacker Pkwy West
Columbus Oh 43217



Sure Shine Cleaning Company
Susan L Skillman
2550 Porter Street Sw
Wyoming Mi 49519


Beall's Inc
700 13th Avenue East
Bradenton FL 34208



Alliance Material Handling
8320 Sherwick Ct.
Jessup, MD 20794



JMD Carriers Inc.
c/o TCI Business Capital
1273 Bermuda Place
Manteca CA 95336


Left Lane LLC
111 Arrowhead Road
Willard MO 65781



AJC Heavy Hauling Inc
2260 North McDonough Rd.
Griffin GA 30223



GATES IN MOTION, INC.
1515 LAKEVILLE DR STE E
KINGWOOD TX 77339



Armstrong Transportation Management, LLC
3952 Willow Lake Blvd
Memphis, TN 38118



LGS Staffing
7820 Roswell Road
Atlanta GA 30350
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 176 of 257




VCK Express Corporation
c/o Triumph Financial Services
8333 NW 53th Street, Suite 450
Doral FL 33166


48forty Solutions, LLC
Po Box 849729
Dallas Tx 75284-6869



Ademco Inc., Dba Adi
Po Box 731340
Dallas Tx 75373-1340



Curry & Company Plumbing Inc
950 W Beacon Rd
Lakeland Fl 33803



Custom Technologies Plus Energy
2421 N Aspen Ave
Broken Arrow Ok 74012



Penalty Collections Unit Ms 24
Florida Highway Patrol
2900 Apalachee Parkway
Tallahassee Fl 32399-0500


Occupational Health Centers
Po Box 82730
Hapeville Ga 30354-0730



Team Restoration
PO Box 854
Rockford MI 49341



B. Rok Transportation LLC
c/o Triumph Financial Services
57 Stonegate
Hattiesburg MS 39402


Quality Trucking Services LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 177 of 257



OTR Capital LLC 1023437 Dept #390
PO Box 1000
Memphis TN 38148-0390


Hally Express Inc c/o TAFS, Inc.
c/o UMR Bank
PO Box 872632
Kansas City MO 64187


Fast Lane Trucker
c/o Integrity Factoring & Consulting Inc
3100 Ashley Town Center Dr. #229
Charleston SC 29414


CBRE, Inc.
PO Box 406588, Location Code 2072
Atlanta GA 30384-6588



MEDLEY EQUIPMENT COMPANY
P.O. BOX 258881
OKLAHOMA CITY OK 73125.-8881



Haydn Transport LLC
c/o RTS Financial Services Inc.
3004 Chaucer Lane
Bedford TX 76021-3806


FCF Logistics, LLC
12414 Walkers Down Ct
Charlotte NC 28273



West-Ace LLC c/o TAFS Inc.
2214 Razorbill Pl
Conroe TX 77385



P and Z Transport LLP
c/o Truckstop Factoring
1618 Barbara Drive
Flint MI 48504


L & L Auto Group
c/o Factoring Express LLC
955 W John Carpenter Fwy Ste 100 #1005
Irving TX 75039
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 178 of 257




Millennial Trinity Trucking
c/o Porter Freight Funding
2545 N Frederick Avenue 110
Milwaukee WI 53211


1 Way Lane LLC
c/o Triumph Business Capital
PO Box 610028
Dallas TX 75261-0028


Distance LLC
5610 NE Oaks Ridge Ct
Lees Summit MO 64064



Lauren Florida Trucks Inc
c/o GH Factor LLC
PO Box 746847
Atlanta, GA 30374-6847


Barrou Freight & Logistics LLC
c/o Financial Carrier Services
11211 Youngstown Drive # 802
Hagerstown MD 21742-8165


North Logistics Company
c/o Apex Capital
PO Box 961029
Fort Worth TX 76161-1029


Paramus Review Solutions
5618 Longmont
Houston TX 77056



ADL Express LLC
c/o Triumph Business Capital
15590 Jacara Lane
Moreno Valley CA 92551


Eagle Transport and Logistics LLC
3700 Corporate Drive Suite 120
Columbus OH 43231



MacDermott Roofing, Inc
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 179 of 257



11770 Belden Court
Livonia, MI 48150

Armando ES Service
c/o NUKO Capital LLC
2113 Los Rios Blvd
Plano TX 75074


Punjab Roadways LLC
c/o Flat Rate Funding Group LLC
28745 Wick Road
Romulus MI 48174


Godspeed Transport LLC
c/o Truckstop Factoring
240 Blue Springs Circle
Jackson AL 36545-3234


AAH Transportation and Logistics LLC
c/o Thunder Funding
2433 Impala Drive Suite A
Carlsbad CA 92010


Quality Transportation LLC
c/o Aladdin Financial Inc
2916 Park Avenue S Apt# 22
Minneapolis MN 55407


Blue Line Xpress LLC
c/o RTS Financial Service Inc
15771 SW 141 St Ct
Miami FL 33177


HAY MECHANICAL LLC
PO Box 1930
Montgomery TX 77356



WAU Carriers LLC
1333 Bainbridge Blvd
Chesapeake VA 23324



A & E Delivery Logistics LLC
6305 Rylan Ct.
Browns Summit NC 27214
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 180 of 257



Turner Family Trucking LLC
1051 Glenwood Station Ln
Unit 106
Charlottesville VA 22901


Eagle Trucking Services
1 Meadowlands Plz Suite 200
East Rutherford NJ 07073-2152



Open Road Transport
c/o Far West Capital
PO Box 961209
El Paso TX 79996


JOHNENE MARBLE
1239 LAKE AVE APT 4
ROCHESTER NY 14613



Salesforce, Inc
PO BOX 203141
Dallas TX 75320-3141



Radwell International, LLC
1 Millennium Drive
Willingboro NJ 08046



You Need it We Get It Transit LLC
c/o OTR Solutions
PO BOX 1175760
Atlanta GA 30368-7576


YOSVANI AUTOMATIC GATES, INC
9123 NW 171ST LANE
HIALEAH FL 33018



Canon Solutions America Inc
15004 Collections Center Dr
Chicago Il 60693-0150



NU-KO Capital, LLC Pipos Auto
c/o NU-KO Capital, LLC
PO Box 150884
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 181 of 257



Ogden UT 84415


Revolutionary Logistics LLC
5801 Golden Triangle Blvd, Suite 103
Fort Worth TX 76244



Triumph Business Capital / Boss Carriers
c/o Triumph Business Capital LLC
P.O. Box 610028
Dallas TX 75261-0028


G-Force Parking Lot Striping of Nashville
Schook Line Company LLC
1442 Fairview Kingston Spring Rd.
Kingston Springs TN 37082


Compass Funding Solutions LLC
c/o Compass Funding Solutions LLC
P.O. Box 205154
Dallas TX 75320-5154


Century Finance LLC/Luna Cargo
c/o Century Finance LLC
P.O. Box 589
Memphis TN 38101


Tomba Inc
5720 N Lowell Ave
Chicago IL 60646-5926



Scorpion Express Logistics Corp
c/o Compass Funding Solutions
115 W 55th Street Suite 410
Clarendon Hills IL 60514


Central Florida Expressway Authority
4974 ORL Tower road
Orlando, FL 32807



Macroair Technologies
PO BOX 1467
Colton CA 92324
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 182 of 257



Triumph Business Capital/Prye Transport
c/o Triumph Business Capital
PO Box 610028
Dallas TX 75261-0028


Texas Trucking Association, Inc.
PO Box 6429
Austin TX 78762



Aaron's Pallets
10824 Alafia St
Gibsonton FL 33534



Mecklenburg County of North Carolina
P.O. BOX 71063
CHARLOTTE NC 28272



Graceal LLC c/o Love's Financial
14727 4th Street Apt 336
Laurel MD 20707-6180



Roadready Transfer Service
1205 West Street
Wausau WI 54401



Zamirez Transportation
3508 Hazelwood Rd
La Grange KY 40031

Transwest Capital, Inc./ Ahmedtijans
c/o Transwest Capital, Inc.
PO Box 123381 Dept 3381
Dallas TX 75312-3381


One8 Freight LLC
Po Box 292080
El Paso TX 79929



Apex Capital LP / Petra
c/o Apex Capital LP
P.O. Box 961029
Fort Worth TX 76161-1029
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 183 of 257




Apex Capital LP/Overnight Express
c/o Apex Capital LP
P.O. Box 961029
Fort Worth TX 76161-1029


Lookout Capital LLC/Range Express
c/o Lookout Capital LLC
P.O. Box 161124
Atlanta GA 30321-1124


99 Freight Inc
c/o Triumph Business Capital
P.O. Box 610028
Dallas TX 75261-0028


Kad Group Logistics Inc
113 Mchenry Rd Ste 135
Buffalo Grove IL 60089



Drd Trucking Inc
4721 Chris Ct
Racine WI 53402

PC Logistics Group
c/o Compass Funding Solutions
P.O. Box 205154
Dallas TX 75320-5154


McCormick Equipment Co., Inc.
112 Northeast Dr
Loveland OH 45140-7144



City Of Charlotte
333 E Trade St, Suite A
Charlotte Nc 28202



Rsb, Inc
c/o Compass Funding Solutions, LLC
4245 Saint Augustine Rd Suite1
Jacksonville FL 32207


Probity Freight Inc
c/o Steelhead Finance
809 EAST OLD HICKORY BLVD
Madison TN 37115
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 184 of 257




CV King Transport Inc
c/o Phoenix Capital Group
P.O. Box 1415
Des Moines IA 50305-1415


Bold Logistics Ltd
1350 W Northwest Highway
Mount Prospect IL 60056



Transfleet Inc
11699 Fenner Rd.
Perry MI 48872



Me & My Truck LLC
c/o OTR Solutions
PO BOX 1175760
Atlanta GA 30368-7576


Mr Vento Transport Corp
c/o Bobtail Capital
14800 Filmore St.
Miami FL 33176


Viva Express Inc
c/o WEX Fleet One
PO BOX 94565
Cleveland OH 44101-4565


Texas Belting and Supply, Inc
15603 West Hardy Rd. #355
Houston TX 77060



JLQ Logistics LLC
12811 Sandhurst DR
Houston TX 77048



UUL Transportation LLC
c/o FirstLine Funding Group
PO Box 328
Madison SD 57042


D Lee Trucking LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 185 of 257



N6723 County Road B W
Glen Flora WI 54526



AY Trucking LLC
c/o Triumph Business Capital
3906 Lille Avenue, Ste 2
Davenport IA 52806


Riviera Finance/S&S Trucking
c/o Riviera Finance
PO Box 848062
Los Angeles CA 90084-8062


Smoothway Express LLC
c/o Engaged Financial
PO Box 775553
Chicago IL 60677-5553


Logstar Inc
c/o Orange Commercial Credit
PO BOX 11099
Olympia WA 98508-1099


Blasian Transportation LLC
20230 18TH AVE CT E
Spanaway WA 98387



NDK Courier Service
c/o TBS Factoring Service
PO Box 248920
Oklahoma City OK 73124-8920


ELVAS PALLETS LLC
PO BOX 732951
DALLAS TX 75373-1152



TKD Truck Company
Po Box 2793
Big Bear City CA 92314



Apex Capital Corp
A AND L TRANSIT INC
P.O. Box 961029
Fort Worth TX 76161-1029
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 186 of 257




ROBERT CRIBBS TRUCKING
25002 NW 210TH LN
High Springs FL 32643



Ltl Logistics LLC
c/o Compass Funding Solutions
44 BOGART AVE
Garfield NJ 07026


Trans American Express Inc
7777 DAVIE ROAD EXTENSION SUITE 300A
Hollywood FL 33024




Perna Towing LLC
SW 197TH AVE & HOWARD DR
Miami FL 33196



Del Notre Transportation LLC
c/o Triumph Business Capital
310 Corregidor
Canutillo TX 79835


Aggregate Haulers
4772 Fm 482
New Braunfels TX 78132



Sunshine Cargo LLC
c/o Triumph Business Capital
6903 Northwich Dr
Windermere FL 34786-6609


Rain Dogs Trucking
c/o Triumph Business Capital
689 Executive Dr
Willowbrook IL 60527


Kyle D Sherwood
15201 Little Filly Court
Jacksonville FL 32234


Nationwide Freight INC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 187 of 257



c/o Triumph Business Capital
7955 W 59Th Street Ste F
Summit Argo IL 60501


JV Transport
c/o TBS Factoring Service
5009 Pharr Ln
Zapata TX 78076


Deniz Trucking LLC
6265 Black Oak Place
Huber Heights OH 45424

Bluestar Services LLC
Po Box 72847
Roselle IL 60172



IRYS Trucking Inc
c/o Assist Financial Services
PO Box 347
Madison SD 57042


Barobax Transportation Services
780 Saratoga Ave Apt S302
San Jose CA 95129-2449



ALERT LOCK & KEY
PO BOX 791383
SAN ANTONIO TX 78279



Youngs Trucking LLC
c/o Integra Funding Solutions
6300 Ridglea Place, Suite 316
Fort Worth TX 76116


Roundtable Publishing Group
c/o RTS Financial
3241 Molino
Irvine CA 92618-4825


Triad Staffing
6100 Rockside Woods BLVD
Suite 405
Independence, OH 44131
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 188 of 257



Harrison's Lock, Inc
307 West Main St.
Lebanon TN 37087



Team USA Of Houston, LLC
197 Sentinel Pl Se
Marietta, Ga 30067

ITF Logistics Group LLC
11990 Missouri Bottom Rd
Hazelwood MO 63042



Trimble MAPS Inc.
1 Independence Way, Suite 400
Princeton NJ 08540



Dion Logistics LLC
c/o eCapital Freight Factoring, Inc.
PO Box 206773
Dallas TX 75320-6773


Fortra, LLC
11095 Viking Dr, Suite 100
Eden Prairie MN 55344



Roundel Inc
c/o RTS Financial Service, Inc.
PO Box 840267
Dallas TX 75284-0267


National Cargo Inc.
c/o J D Factors LLC
240 E Lake St Suite 304
Addison IL 60101


MP Transport LLC
320 W Scott St
Milwaukee WI 53204



Mct Express Carrier LLC
6448 Evans St
Hollywood FL 33024
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 189 of 257




I&S Transportation LLC
129 PORTAGE TRAIL STE D 2ND FL
Cuyahoga Falls OH 44221




Waskow Transportation LLC
c/o Orange Commercial Credit
PO BOX 11099
Olympia WA 98508-1099


Apollo Freight Systems Inc
5900 S ARCHER ROAD UNIT 128
Summit Argo IL 60501



Trucks LLC
c/o Triumph Business Capital
905 175TH ST UNIT 3SW
Homewood IL 60430


Yofi Trucking LLC
113 W 21st St
Indianapolis IN 46202



Elbai Inc
4208 Meadowbrook Ln
Mason OH 45040-4508



J&R Trucking Express LLC
5243 W COVE WAY
Grand Prairie TX 75052



Usa Transport Group Inc
765 Il Rt 83 Ste 111
Bensenville IL 60106

Sna Transportation, Inc
2626 FOOTHILL BLVD #220
La Crescenta CA 91214



Bz Express Inc
13702 Rankin Park
Houston TX 77073
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 190 of 257




Apex Transport L.L.C.
409 N 24Th St
Bismarck ND 58501-4923



Us Som LLC
620 ENSIGN ST UNIT 1
Fort Morgan CO 80701



R & J Gutierrez Trucking Inc
c/o Triumph Financial Services
632 Platino Pl
El Paso TX 79928


Incoming Freight LLC
4313 Flamingo Way
Mesquite TX 75150



Road legends
13769 Main St Suite#200
Lemont IL 60439



Spear Logistics LLC
136 5TH AVE S UNIT 104
Clinton IA 52732



DJP Trucking LLC
c/o OTR Capital
Dept, #390. PO Box 1000
Memphis TN 38148-0390


Go Diego Go LLC
7005 Wandering Creek Drive
Charlotte NC 28216



M-West-Express LLC
c/o Financial Carrier Services
PO Box 151052
Ogden UT 84415
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 191 of 257



JTT Logistics Inc
16W351 93Rd Pl
Burr Ridge IL 60527



Sms Express Corp
21 Gormley Lane
Monroe Township NJ 08831



Noor Transport Corporation
c/o eCapital Freight Factoring Corp.
PO Box 206773
Dallas TX 75320-6773


Yankee Freight Systems LLC
c/o RTS Financial
PO BOX 840267
Dallas TX 75284-0267


Veteran Eletric, Inc
29634 Geneve Drive
Spring TX 77386



J Hicks Enterprises
c/o RTS Financial
#2274
Rockwall TX 75087


William & Williams Trucking LLC
c/o America's Factors, Inc
10430-28 Pioneer Blvd
Santa Fe Springs CA 90670


Layte Family Logistics LLC
2100 N HWY 360 STE 1500B
Grand Prairie TX 75050



Mgm Transport L.L.C.
3682 E ROSEMONT CT
Oak Creek WI 53154



Shalom Trans LLC
297 Shiloh Crossing
Avon IN 46123
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 192 of 257




Keep Going Transportation
15817 MCVAY LN
Adelanto CA 92301



Aksel Express Inc
5301 Alpha Rd Ste 80 #6086
Dallas TX 75240



Carrie B Transportation LLC
13811 Rosemere Ln
Houston TX 77047-1242



Southeast Utility Trailer LLC
1150 Southcrest Drive
Stockbridge, GA 30281



Emergency Services
Clayton County Fire And
Po Box 935667
Atlanta Ga 31193


Keith transfer LLC
226 E Silver Belle Dr
Zebulon NC 27597



CITITRENDS INC.
ATTN: MELESSA BRYANT
104 COLEMAN BVLD.
SAVANNAH GA 31408


Boxtruck Logistics
6000 Columbus Ave Apt 2112
Plano TX 75024-6170



Apex Capital Corp
Gray Fleet Corp
P.O. Box 961029
Fort Worth TX 76161-1029
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 193 of 257



Apex Capital Corp
LED Trucking Inc
P.O. Box 961029
Fort Worth TX 76161-1029


Yoham Trucking LLC
8602 Coventry Dr
Rowlett TX 75089



Leviathan Freight Ltd Co
5826 New Territory Blvd Unit 2160
Sugar Land TX 77479



Stein & Sons
247 US HWY 60 W
Republic MO 65738



Dan Newlin Injury Attorneys
7335 W Sand Lake Road
Suite 300
Orlando FL 32819


Select Drayage and Warehousing LLC
Slader Atkinson
3705 Pine Lawn Dr
Pearland TX 77581


Prologistix
PO Box 116384,
Atlanta GA 30368



Jeff Meiners
5102 NW 2nd St.
Des Moines IA 50313



Dalstra Roofing Inc.
5270 Northland Dr. NE
Grand Rapids, MI 49525



Olympic Transport LLC
111 Olympic Dr
Nicholasville KY 40356
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 194 of 257




Bonanza Carriers LLC
14 W Cass St Suite E
Joliet IL 60432



Collabo Transportation LLC
c/o Flat Rate Funding Group, LLC
Po Box 150581
Ogden UT 84415-0581


Coco & Si Corp
183 Cool Stone Bnd
Lake in the Hills IL 60156



A to B Logistics
106 N Latah St Ste I
Boise ID 83706



Rando Transportation LLC
5428 FENWICK AVE APT 6
Cincinnati OH 45212



Bailey Family Services
1000 S VISTA AVE
Gonzales LA 70737



Dan Trucklines Inc
11347 LARIMORE RD
Saint Louis MO 63138



Ontario Transportation Inc
c/o Integrated Logistics & Associates
PO Box 25189
Farmington NY 14425-0189


SUDDY E LOGISTICS
1328 Yorkdale Rd
Davenport FL 33837-7018
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 195 of 257



Fast Flow Logistics INC
c/o Crossroad Services
3815 River Crossing pkwy Ste 100
Indianapolis IN 46240


Tesla Transport Inc
3924 W Devon Ave Ste 200H
Lincolnwood IL 60712



USA Trucking LLC
c/o Engaged Financial LLC
PO Box 775553
Chicago IL 60677-5553


Verosy Logistics Inc
1770 WEST COTTONWOOD TRL
Hoffman Estates IL 60192



Traffic Sales Inc
8417 Lindante Dr
Whittier CA 90603



ADZ Trucking Inc
18351 Colima Rd Apt 2815
Rowland Heights CA 91748



Dakotaland Transportation Inc
Po Box 84038
Sioux Falls SD 57118



Contreras Transportation LLC
491 El Salto Dr
El Paso TX 79927



Continental Trucklines LLC
823 E BARRACUDA DR
Nixa MO 65714



Crst-z Corp
Po Box 29128
El Paso TX 79929
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 196 of 257




Efjsa Logistics Transportation
c/o Far West Capital
Po Box 961209
El Paso TX 79996


Imperial Enterprise
3107 S. Meadowlark Ln.
Holmen WI 54636



Mathenjee Transport LLC
5559 NW BARRY RD APT 345
Kansas City MO 64154



Centerpoint Logistics LLC
Dba Nimble Transport
835 South St. Paul Street
Kansas City KS 66105


M & M Enterprise of VA LLC
901 Barlen Dr
Richmond VA 23225-7305



Gold Logistics LLC
312 State Highway 495
Alamo TX 78516



London Trucking LLC
1601 N 43Rd St
Kansas City KS 66102



King's Royalty Logistics LLC
2309 Cheyenne Trl
San Angelo TX 76903



A&R Trans Inc
714 JAMES DR
Hampshire IL 60140
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 197 of 257



Twj Trucking LLC
8749 Lake Springs Trl
Hurst TX 76053-7542



Dump That LLC
111 W 10Th St Ste 330
Kansas City MO 64105



Vip Global Inc
4126 linden avenue suite 201
Dayton OH 45440



Mcderi Inc
3801N New England Av
Chicago IL 60634



Avala Express LLC
3513 TEN POINT LN
Franksville WI 53126



D&B Transport
2200 West 159Th Street Ste 104
Markham IL 60428



Open Road Trucking LLC
1325 Litchborough Way
Wake Forest NC 27587



2 Dope Boyz Trucking LLC
802 Mathis Mill Dr
Bonaire GA 31005



Hs Mangat
5894 Seminole Way
Fontana CA 92336



Fairmount Logistic LLC
1449 Roberts Dr
Mableton GA 30126
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 198 of 257




City Freight LLC
1955 Parker
Goshen OH 45122



Highroad Carriers Of Illinois
13825 S. Kostner Ave. Suite B
Crestwood IL 60418



Mckevinson Logistics LLC
3700 Meriwether Dr Apt I
Durham NC 27704



Cleveland Trucking
19400 Sumpter Rd
Cleveland OH 44128



1St Class Express Inc
2867 ALANDALE CIR,
Naperville IL 60564



Uzb Horazm Inc
7143 Sprucewood Ct
Cincinnati OH 45241



We Transfer LLC
7041 FOX POINT DR
Charlotte NC 28269



MCO Express Orlando, Inc
c/o TAFS, Inc
P.O. Box 872632
Kansas City MO 64187


Eggy Transport Services LLC
c/o RTS Financial Service
PO Box 840267
Dallas TX 75284-0267
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 199 of 257



Homeless Trucking LLC
1024 Turner Ave #229
Ontario CA 91764



Mw Carriers Inc
700 Nicholas Blvd Suite 202A
Elk Grove Village IL 60007



Dimas Trucking
54 WALNUT DRIVE
Chula Vista CA 91911



Arl
613 CREEKVIEW DR
Azle TX 76020



Overtime Movers
2941 Zeandale Rd
Manhattan KS 66502



Ag Expedited Inc
312 park Ave #85
Clarendon Hills IL 60514



Reliable Freight Line Inc
2329 CALUMET AVE
Dyer IN 46311



Daub Transport LLC
10991 Oak Ridge Dr N
Jacksonville FL 32225-2812



J & H Enterprise Services LLC
c/o Parikh Financial LLC
2802 Trailridge Court
Missouri City TX 77459


Armada Express LLC
c/o RTS Financial Service
PO Box 840267
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 200 of 257



Dallas TX 75284-0267



First Carrier LLC
c/o CashFactor
P.O. Box 748841
Atlanta, GA 30374-8841


Shatille Transportation LLC
Po Box 7301
Saint Cloud MN 56301



Boss Trans LLC
9183 Vantage Ct
West Chester OH 45069



Point Logistics, LLC
18W140 Butterfield Rd Suite 15
Villa Park IL 60181



Triple 888 Logistics LLC
708 Rolling Hills Ln
Desoto TX 75115-1532



Chegar Corp
7228 West Pershing Road 1w
Lyons IL 60534



Aj Cargo Corp
1130 Lily Cache Ln Unit 215
Bolingbrook IL 60440



Dni Transport LLC
3384 Mount Zion Rd Apt 2207
Stockbridge GA 30281



Nexgen Outlawz LLC
7110 Bosque Seco Road
Las Cruces NM 88005
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 201 of 257




Dpl
c/o Yankton Factoring, Inc
PO BOX 217
Yankton SD 57078


Hullaby LLC
5131 Parkview Ave
Kansas City KS 66104



Hbk Logistics Inc
107 W 9TH ST # 2
Kansas City MO 64105



Champ Transit
18932 WOODWARD AVE
DETROIT MI 48203



Kingori Trucking LLC
15 ADAIR DR
Marietta GA 30066



Dogon LLC
4412 BELLEFONTAINE AVE
Kansas City MO 64130



Superior Transporters Inc
12415 MEADOW LN UNIT 5
Blue Island IL 60406



K5 Stricklands Haulin' LLC
602 RAILROAD ST
Rochester TX 79544



Greater Heights Transportation
15565 Northland Dr E, Suite 828
Southfield MI 48075



AIB Logistics Inc
c/o RTS Financial Service
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 202 of 257



PO Box 840267
Dallas TX 75284-0267


Kings Crown LLC
5830 E 2nd ST, STE. 7000 #1364
Casper WY 82609



Duncan Broussard Ventures LLC
16018 SWEETWATER CREEK DR
Houston TX 77095



Angelina Gonzalez Guzman
c/o Phoenix Capital Group
Po Box 3443
El Centro CA 92244


Gettin It Dare Transportation & Hauling LLC
11589 Milnor Rd
Pickerington OH 43147



Speed Express S K Inc
4528 crescent Cir
Rockford IL 61108



Cps Express Inc
5245 Elmore Ave Unit 1110
Davenport IA 52807



Somastar Transportation LLC
c/o FirstLine Funding Group
PO BOX 328
Madison SD 57042


Midnight Transport Inc
2806 Cincinnati Dayton Rd Ste 101
Middletown OH 45044



Shippers Preferred Express I
2224 grand Ave
Phoenix AZ 85009
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 203 of 257




Together Trade and Commerce LLC
9635 Heinrich Hertz Dr Ste 6
San Diego CA 92154



People To People LLC
8971 Ruby Moon Dr
Las Vegas NV 89139



Cgab Trucking LLC
2513 VISION AVE
Plainfield IL 60586



Citadel Care Transportation
1575 Robert Perry Rd
Sumter SC 29153



Trans R Us LLC
6431 KINGSBURY ST
Dearborn Heights MI 48127



Halimeh Transportation Inc
5026 Landview Dr
Dublin OH 43016-8380



Esz Intercontinental Inc
1318 Iroquois Ln
Darien IL 60561-5031



I Haul Freight LLC
230 Auburn Way South
Auburn WA 98002



Martin Express LLC
1217 South Graham Creek Road
Covington IN 47932



Jordan Valley Express LLC
c/o Orange Commercial Credit
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 204 of 257



PO Box 11099
Olympia WA 98508-1099


One Step Cargo, Inc.
10 OAK CREEK DR APT 2016
Buffalo Grove IL 60089



Forth Gear Logistics LLC
3359 Garden Brook Rd
Jacksonville FL 32208-8455



317 Trucking LLC
2709 Ceramic Ct
Mullins SC 29574



GTS
16300 Bowling Green Rd
Rockfield KY 42274



Vamar Inc
1800 W Hawthorne Ln Ste F1
West Chicago IL 60185



White Way Transport Inc
7780 Gladshire Blvd
Lewis Center OH 43035



Dynamo Transport
c/o First Bank & Trust
PO BOX 328
Madison SD 57042


Larmingo Transportation LLC
9700 RESEARCH DR STE 146
Charlotte NC 28262



On The Run Shipments LLC
1609 Waters Edge Dr
Red Oak TX 75154
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 205 of 257




D Line Trucking LLC
8523 N Richmond Ave
Kansas City MO 64157



Alvarado Transportation
3206 LEAMINGTON ST
PORT CHARLOTTE FL 33980



Semayas Transportation LLC
3108 Reagenea Dr
Wylie TX 75098



Bari 91 Inc
8548 W. Berwyn Ave
Chicago IL 60656



Haniel LLC
Po Box 790066
San Antonio TX 78279



Boyd Bros. Transportation In
3275 Highway 30
Clayton AL 36016



No1 Logistics LLC
2408 Eastmoreland Ave Apt 2B
Rockford IL 61108-6361



Mixa Transportation LLC
470 Olde Worthington Rd Ste 200
Westerville OH 43082



Nomad Global Trans Inc.
c/o Partners Funding, Inc
PO Box 5431
Carol Stream IL 60197-5431


Ny2la Logistics
12914 Archer Ave
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 206 of 257



Lemont IL 60439



Sl Logistics, Inc.
5 Scarsdlae CT
Woodridge IL 60517



Odysseia Inc
521 S Port Street
Baltimore MD 21224



UT-Service INC
2222 Ponce De Leon Blvd 3rd Fl
Miami FL 33134



Zbz Transportation LLC
5734 Prestonview Blvd 2023
Dallas TX 75240



Hent Enterprise LLC
2532 N 48TH ST
Omaha NE 68104



Niki Express Inc
9720 INDUSTRIAL DR
Bridgeview IL 60455



Zt Transportation LLC
9081 YARMOUTH CIR APT C
Loveland OH 45140



Ellas Express LLC
W162 S7043 OLIVE CIRCLE
Muskego WI 53150



Zmaj Trans LLC
971 Tollis Pkwy
Broadview Heights OH 44147
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 207 of 257




PRECISE TRANSPORTATION INC
825-C MERRIMON AVE SUITE 159
ASHEVILLE NC 28804



Ionna Express LLC
1440 MARENE DR
Harrisburg PA 17109



C A V 89 Transport LLC
14053 BRIARDALE LN
Tampa FL 33618



Pervana Transport Inc
3450 N Triumph Blvd Ste 102
Lehi UT 84043-6132



Ezra 2 LLC
8730 Noland Rd
Lenexa KS 66215



Lake City Trucking
Po Box 16545
Lake Charles LA 70616



R & S Trucking Of Holly Springs
c/o Capital Express
8089 Getwell Road
Southaven MS 38672


Vertex Transport Inc
2112 N Juniper Ln
Arlington Heights IL 60004-3162



Road Express LLC
245 Martha St
Ozark MO 65721



Cedar River Transport LLC
2904 Janet Dr
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 208 of 257



Waterloo IA 50703



Roshi Freight & Dispatching LLC
510 Taylor Ave Apt F
Glen Ellyn IL 60137-4636



Top Class Transport Inc
707 OPAL LN
Mesquite TX 75149



Legrone Transport LLC
11408 Corrington Ave
Kansas City MO 64134



Dse Carriers Inc
1630 FORDHAM ST
Bolingbrook IL 60490



Goldway Logistics Group LLC
7108 Susan Springs Dr
West Chester OH 45069



A&F Enterprises & Transportation Inc
7276 Avenue 306
Visalia CA 93291



Baileyville Fla Enterprise LLC
1317 Prospect St
Palatka FL 32177



Oxendine Express Logistics LLC
2914 Laurel Springs Dr
Green Cove Springs FL 32043-7270



Mrl Freight Corp
2037 WOODBRIAR LOOP S
Lakeland FL 33813
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 209 of 257




Expressway Logistics LLC
4150 Walker Road
Hilliard OH 43026



Samnur Inc
1095 E 15Th St Apt 2F
Brooklyn NY 11230



Klik Way Logistics Inc
4520 NE Ave Ste #101
Fort Lauderdale FL 33334



Kronos Express LLC
1061 CORONADO PKWY N
Denver CO 80229



Sk Expedited Logistics LLC
8555 Tonnelle Ave Ste 110 07047
North Bergen NJ 07047



Almas Express Inc
10900 Bustleton Ave,
Philadelphia PA 19116



Gt Express LLC
1600 Scottsville Rd Ste 301
Bowling Green KY 42104



Bitcoin Logistics Inc
16525 W 159Th St Unit 312
Lockport IL 60441



Silverline Transport Corp
1416 Hussa St
Linden NJ 07036



Andi Group Trucking Inc
13760 Buena Vista
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 210 of 257



Detroit MI 48227



Esj Trucking Company LLC
c/o Flat Rate Funding Group, LLC
PO BOX 150581
Ogden UT 84415-0581


Dodik Trucking Inc
10138 Springborough Dr
Rockford IL 61107



Fitsum Trucking LLC
1810 EASTFORD TRCE
Stone Mountain GA 30087



Stafford Trucking Inc
1038 S La Grange Road Suite 4
La Grange IL 60525



Windy City Carriers Inc
7400 N Waukegan Rd
Niles IL 60714



Vladi Trucking Incorporated
231 Pawtucket Ave
Elgin IL 60124



Supreme Enterprises LLC
1208 Stanley Dr
Rock Hill SC 29730



K W Transportation LLC
1117 Lake Seymour Drive
Middletown DE 19709



Mann Transport LLC
15506 K116 Hwy
Holton KS 66436-8824
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 211 of 257




Mc Carrier LLC
3033 LOSEE RD
North Las Vegas NV 89030



CS Cargo USA LLC
Carmi Logistics
8402 El Gato Rd.
Laredo TX 78045



Rock Solid Logistics Inc
1000 Eagle ridge drive Ste F office 12
Schererville IN 46375



Phenom Trucking LLC
2120 W FM 117
Dilley TX 78017



Raines Logistics LLC
720 Leadenhall Ct
Antioch TN 37013-2837



D's Trucking & Transportation
1034 Moores Ct
Brentwood TN 37027



Karamo Xprz LLC
12005 WILLOW LN, APT/SUITE APT 517
Overland Park KS 66213



One Line Logistics Inc
650 Warrenville Rd Ste 110
Lisle IL 60532-4315



Cargo Expert Services Inc
2411 Woodside Dr
Carpentersville IL 60110



Amg Logistics Inc
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 212 of 257



900 S Frontage Road Suite 205
Woodridge IL 60517



T&B Express Inc
190 Ervin Ln
Bolivar TN 38008



Kings Mountain National Carriers Inc
300 E Business Way Ste 210
Cincinnati OH 45241



Quick Draw Logistics LLC
Po Box 1256
Fresno TX 77545



J M W TRUCKING LLC C
P.O. Box 610028
Dallas Tx 75261-0028



Amscan Inc.
47 Elizabeth Drive
Chester, Ny 10918



Arrive Logistics
7701 Metropolis Dr
Austin, Tx 78744



Avrio Logistics
104 Ridge Rd
Lyndhurst, Nj 7071



B&Bw Special
7 Limited Parkway
Reynoldsburg, Oh 43068



Barnes & Noble, Inc.
122 5th Avenue
New York, Ny 10011
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 213 of 257




Bealls Inc
1806 38th Ave East
Bradenton, Fl 34208



Burlington Coat Factory
1830 Route 130
North Burlington, Nj 8016



Cato Corp.
7506 E. Independence Blvd
Charlotte, Nc 28227



Cbx Global 4524
Green Point Dr, Suite 104
Greensboro, Nc 27410



Citi Trends, Inc.
104 Coleman Boulevard
Savannah, Ga 31408



Coach Inc.
1 Coach Way
Jacksonville, Fl 32218



Crane Worldwide Logistics, Inc.
Po Box 62766
Houston, Tx 77205
Diesel Global Logistics Inc
11 Founders Blvd, Suite 300
El Paso, Tx 79906



DSW - Designer Shoe Warehouse
12631 Westlinks Drive
Fort Myers, Fl 33913



Epes Logistics Services
538 N Regional Rd
Greensboro, Nc 27409
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 214 of 257




Eurostar Inc Dba Wss
879 W 190th St, Ste 1200
Gardena, Ca 90248



Famous Footwear 2
P.O. Box 26065
Milwaukee, Wi 53226



Footlocker
P.O. Box 2437
Harrisburg, Pa 17105



Forever 21/Seko Worldwide
1100 Arlington Hgts Rd Ste 600
Itasca, Il 60143



Forward Air
430 Airport Road
Greeneville, Tn 37745



GABRIEL BROTHERS, INC.
55 Scott Ave
Morgantown, WV 26508



Gap Inc.
P.O. Box 17613
St Louis, Mo 63178



Genesco, Inc.
P.O. Box Logistics/Room 638
Nashville, Tn 37202



Gnc - General Nutrition
Ohio River Blvd & Ferry Bl 15
Pittsburgh, Pa 15056



Guitar Center
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 215 of 257



950 Northfield Drive
Brownsburg, In 46112



Hugo Boss USA, Inc.
3400 Players Club Pkwy
Memphis, Tn 38125



J-Max Logistics Inc
10845 Chicago Drive
Zeeland, Mi 49464



Kate Spade & Co
30 Hemlock Drive
Congers, Ny 10920



Kirsch Transportation Services, Inc.
1102 Douglas Street
Omaha, Ne 68102



Levi Strauss & Co.
3125 Chad Dr.
Eugene, Or 97408



Link Logistics Group, LLC
6405 W Wilkinson Blvd, Ste 200
Belmont, Nc 28012



Michael Kors Inc
1 Meadowlands Plaza E.
Rutherford, Nj 7073



Mid America Freight Logistics
44 Soccer Park Road
Fenton, Mo 63026



Nike Inc
One Bowerman Drive
Beaverton, Or 97005
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 216 of 257




Nolan Transportation Group
400 Northridge Rd, Ste 1000
Atlanta, Ga 30350



Precision Freight
1003 Hawthorn Dr
Itasca, Il 60143



Pvh Corp.
1062 Macarthur Road
Reading, Pa 19605



Rack Room Shoes
8310 Technology Drive
Charlotte, Nc 28262



Ross Stores Inc.
5130 Hacienda Drive
Dublin, Ca 94568



Rue21 LLC
800 Warrendale Dr
Warrendale, Pa 15086



Sally Beauty Supply LLC
Po Box 90219
Denton, Tx 76210



Sparc Group LLC
2 Brick Plant Rd
South River, Nj 8882



Spencer Gifts, LLC.
6826 Black Horse Pike
Egg Harbor Township, Nj 8234



Sunteck Transport – Ulta
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 217 of 257



1000 Remington Blvd #120
Bolingbrook, Il 60440



The Vitamin Shoppe
300 Harmon Meadow Blvd
Secaucus, Nj 7094



Tory Burch LLC
11 W 19th St
New York, Ny 10011



Transgroup Express - Lush
18850 8th Ave S. Ste 100
Seattle, WA 98148



Transplace Tx, Lp
3010 Gaylord Pkwy #200
Frisco, Tx 75034



Tts, LLC
11000 Frisco Suite #100
Frisco, Tx 75033



Vantix Dba Mclane Food Services
2085 Midway Road
Carrollton Tx 75006



Williams-Sonoma Inc.
4637 Sonoma Cove
Memphis, Tn 38118



Xodus Medical
702 Prominence Dr
New Kensington, Pa 15065



C.A.T.Global Inc.
4 Rue Du Transport
Coteau-Du-Lac
Quebec, Canada
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 218 of 257



J0p 1b0

Fifth Wheel Freight, LLC
4460 44th St Se Ste D,
Kentwood, Mi 49512



Cargo Jet Logistics
20359 N 59th Ave, Suite 103, X
Glendale, Arizona 85308



Kch Transportation
1208 King Street, Suite 320
Chattanooga, Tn 37403



Alliance Logistics Inc.
521 Wrayhill Dr
Charlotte, Nc   28262-1680



Spirit Halloween
6826 Black Horse Pike,
Egg Harbor Township, Nj 08234



Advertising Wheels LLC
1980 Festival Plaza Drive, St 300
Las Vegas, Nevada 89135



Central States Trucking Co
P.O. Box 1058
Greeneville Tn 37744-1058



Hub Group
2301 Nevada Boulevard,
Charlotte, Nc 28273



Terminal Exchange Services
3075 South Park Blvd,
Ellenwood, Ga 30294



Supreme Alliances
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 219 of 257



2500 Regent Street,
Irving, Tx 75261



Bam Discount Restaurant
13981 Pecan Park Rd,
Jacksonville, Fl 32218



Southpark 3000 Associates LLC
3000 Southpark,
Ellenwood, GA 30294



Ranger GA LLC
3075 South Park Blvd,
Ellenwood, GA 30294



RLIF East 2, LLC
521 McCormick Drive,
Hanover, MD 21061



BREP 2301 Nevada LLC
2301 Nevada Boulevard,
Charlotte, NC 28273



ILPT Properties LLC
2353 Global Drive,
Groveport, OH 43125



LIT-RPC Trade Center VI LLC
2475 Esters Blvd,
Dallas, TX 75240



LIT Industrial Texas Limited Partnership
E 9th Street & Royal Lane,
Irving, TX 75063



STORE Master Funding IX,
LLC 1942 McGregor Road,
Ypsilanti, MI 48198
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 220 of 257




STORE Master Funding IX LLC
4578 Division Avenue South
Wayland, MI 49348



DCT 8701 Warehouse TX LLC
8701 Warehouse Center Dr,
Humble, TX 77338



Clarion Partners
8860 Mirabel Road,
Indianapolis, IN 46241



The Jacksonville Aviation Authority
13981 Pecan Park Rd,
Jacksonville, FL 32218



2500 Distribution Dr LLC
2500 Distribution Dr,
Richmond, VA 23231



Industrial Developers of Oklahoma 6 LLC
10578 East Pine St.,
Tulsa, OK 74116



Louis Avila
15514 Congo Lane
Houston, TX 77040



Lalaney Boyd
7038 Foxfield Lane
Humble, TX 77338



Timothy Jones
26431 AL HWY 33
Courtland, AL 35618



Russel Heim
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 221 of 257



1820 North Keenan Street
Independence, MO 64058



Jeffrey Krug
9221 Centennial Drive
Fort Worth, TX 76244



Edith Martin
22135 Birchfield Grove Lane
New Caney, TX 77357



Gerard Nagee
18107 STONE ANGEL DR
HUMBLE, TX 77346



Nathan Sanders
2807 Beech River Court
Conroe, TX 77301



Kyle Sherwood
15201 Little Filly Ct
Jacksonville, FL 32234



Damon Sulkey
15184 Brest St
Southgate, MI 48195



Elizabeth Wilson
3110 Lumby court apt 4105
Decatur, GA 30034



Erika Vasquez
209 Charles Road
Linthicum Heights, MD 21090



Mark Menchaca
311 Dulce Street
San Antonio, TX 78228
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 222 of 257




Daniel Shaub
120 Sweet Olive Street
Clayton, NC 27527



Kristna Yem
6376 Clearbrook Dr
Morrow, GA 30260



Travis Banks
1021 Bluecoat Circle
Hampton, GA 30228



Bernard King
845 North Central Avenue
Atlanta, GA 30354



Andrew Towler
123 1st Street
Milan, MI 48160



Michael Monje Suazo
3779 Grant Rd Lot 167
Ellenwood, GA 30294



Taylor Rennolds
10302 Marsh Harbor Way
Riverview, FL 33578



Quaneal Echols
5863 Seabright Ln
Atlanta, GA 30349



Matthew Milam
6477 Alum Creek Drive
Groveport, OH 43125



Jacob Pennington
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 223 of 257



86097 Jean Road
Yulee, FL 32097



Amanda Guillen
13999 Old Blanco Road
San Antonio, TX 78216



Amanda Ridgeway
256 Glengary Garth Glen
Burnie, MD 21061



Kameron Guzman
816 west 2nd st
Coffeyville, KS 67337



Anthony Todd
1911 Grove Drive
Independence, MO 64058



Ro Ramirez
2025 Courtside Ln
Charlotte, NC 28270



Carey Fields
7523 Nw 77Th St
Kansas City, MO 64152



Katarina Espinoza
6210 Deer Valley Drive
San Antonio, TX 78242



Brandon Lawson
701 Foxborough Road
Charlotte, NC 28213



Darrius Hill
13511 Brant Grove Ln
Houston, TX 77044
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 224 of 257




Roger Hancock
3600 Sunshine Dr Lot 8
Kingman, AZ 86409



Deana London
985 Mount Zion Road
Morrow, GA 30260



Frineth Rodriguez
805 Fouts Dr
Irving, TX 75061



Felisha Boyzer
10018 Park Meadow Dr.
Houston, TX 77089



Sidney Rolls
4112 Mylan Rd
Richmond, VA 23223



Broderick Moore
158 Brookwood Estates Trail
Stockbridge, GA 30281



Megan Newell
3780 Bringle Ferry Road
Salisbury, NC 28146



Jovanny McClarence
2059 Resting Creek Drive
Decatur, GA 30035



Lawrence James
2364 Bear Mountain Street
Lithonia, GA 30058



Jalin Moore
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 225 of 257



155 Northcreek Boulevard
Goodlettsville, TN 37072



Kenneth Sadenwater
227 Sabal Circle
Haines City, FL 33844



Kenyetta Hill
9023 Sweet Blue Jasmine
Lane Humble, TX 77338



Jeffrey Rion
1904 Safflower Circle
Charlotte, NC 28262



Joseph Dion
123 Hirth Road
Fernandina Beach, FL 32034



Michael Parham
927 Willowick Bay Drive
Houston, TX 77090



Juan Rivera Gomez
15101 Nw 91St Court
Miami Lakes, FL 33018



Craig Bell
5421 Comiskey Alley
Kannapolis, NC 28081



Marty Manager
321 Third St.
Atlanta, GA 60516



Marlon Davis
6717 Southbury Court
Henrico, VA 23231
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 226 of 257




Derek Johnson
3800 Wayside Rd
Charles City, VA 23030



Hector Gonzalez
902 Navaho Trail
Mulberry, FL 33860



Pitter Martinez Fong
3718 Hampton Hills
Dr. Lakeland, FL 33810



Shalonda Waddell
475 Lea Road
West End, NC 27376



Michael Isbell
107 Beechleaf Court
Clayton, NC 27520



Brandon Clark
2020 E Edgewood Dr Apt 68
Lakeland, FL 33803



Norman Riggs
3740 Wendwood Ln
Charlotte, NC 28211



Charles Hunter
2300 Yorkdale Dr
Charlotte, NC 28273



Carey Sowell
415 Bellingrath Blvd
Rock Hill, SC 29730



Marquis Whiting
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 227 of 257



1307 Bryson Ln
Denver, NC 28037



Miguel Melendez
1003 Virginia St
Mayodan, NC 27027



William Auston
310 North Sherman Avenue
Okmulgee, OK 74447



Christopher Wilson
3938 E 2Nd Pl
Tulsa, OK 74112



Takari Jackson
1705 Waikiki Way
Tampa, FL 33619



James Bailey Jr
7 Bluestem Ct
Owning Mill, MD 21117



Phil Rivera
1112 Scaleybark Rd
Charlotte, NC 28209



Lucius White
12941 Plumleaf Dr
Charlotte, NC 28213



Robert Mendiondo
1320 Frontage Rd lot 106
Alamo, TX 78516



Steven Kirshman
6022 North Eugene Field Road
Kansas City, MO 64119
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 228 of 257




Kevin Turner
3322 Jenkins Drive
San Antonio, TX 78247



Lucas Soltero
5431 Dabney Ln
San Antonio, TX 78227



Adam Casanova
632 Prestwick Boulevard
San Antonio, TX 78223



Roger Sandoval
8310 Charger Circle
San Antonio, TX 78221



Alexander Herrera
3255 Marshy Oak
San Antonio, TX 78223



Jose Perez
1217 West Denny Drive
Pharr, TX 78577



Ronald Nelson
7703 Foxwaithe Lane
Humble, TX 77338



Dejuan Edgar
2807 Hummingbird Ln.
Humble, TX 77396



Mason Coulter
2508 Hollywood Drive
Arlington, TX 76013



Carlos Ayala Velasquez
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 229 of 257



7627 Shire Trail Court
Humble, TX 77338



Oscar Lopez Jr
9847 Alisa Brooke
San Antonio, TX 78254



Andres Garcia
9930 Sable Arrow
San Antonio, TX 78251



Ricky Mendez
1438 Brenda Elaine Street
San Antonio, TX 78221



Andrew Trujillo
11910 Orsinger Lane
San Antonio, TX 78230



Anthony Del Grande
31320 Bulverde Hills
Bulverde, TX 78163



Michael Blackett
1660 W Countyline Rd
New Braunfels, TX 78130



Gentry Berry
310 N Sherman Ave
Okmulgee, OK 74447-2821



Christopher Pearson
4821 hedgerow Dr
Raleigh, NC 27616



Matthew Pennington
1539 NOR AM RD
Pikeville, NC 27863
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 230 of 257




Anthony Glover
1041 Constitution Park Blvd
Rock Hill, SC 29732



Michael Barham
5817 Neuse Wood Drive
Raleigh, NC 27616



Marlon McDerby
2918 Erdman Ave
Baltimore, MD 21213



Brian Stewart
4350 Cool Hill Rd Providence
Forge, VA 23140



Miguel Perez
22803 Tiny Trail
Elmendort, TX 78112



Joseph Sherman
3000 Cumberland Club Drive
Atlanta, GA 30339



Derrick Byrd
2215 Springdale Road
Southwest Atlanta, GA 30315



Zachary Cook
1078 Dailey mill Rd
mcdonough, GA 30253



Uchenna Nnadi
596 Gonzaga Circle
Hampton, GA 30228



Jermaine Thurston
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 231 of 257



1640 Rey Street
Northwest Atlanta, GA 30318



Melvin Bandy
8325 RiverTown Road
Fairburn, GA 30213



Telicia Flowers
2217 Fairwood
Circle Jonesboro, GA 30236



Adrian Grimes
6697 Pole Creek Dr
Lithonia, GA 30058



Dylan Drummond
1966 West 4Th St
Jacksonville, FL 32209



Juan Diaz-Ortiz
15409 Grand Smit Blvd. 206
Grandview, MO 64030



Logan Reifert
1400 Ne 65Th St
Gladstone, MO 64118



Floyd Richmond
8012 Cholo Trail
Jacksonville, FL 32244



Ronald Evins
9312 Christy joy Dr
Charlotte, NC 28273



Kentaurous Pinkston
2021 Lunn Landings Drive
Lakeland, FL 33811
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 232 of 257




Ronald Wilson
11208 Oyster Creek Rd
Jacksonville, FL 32218-2272



Jesus Garcia
Rodriguez 720 Adams St Apt 2
Lakeland, FL 33815



Jonvonte Tate Robinson
2223 Irma St.
Charlotte, NC 28216



James McNabb
4846 Lakeland Harbor Circle
Lakeland, FL 33805



Joel McConnell
3616 N 29Th Pl
Broken Arrow, OK 74014



Robert Kennedy
642 water street
Williamsport, OH 43164



Nathan Bowen
878 Coldbrook Street
Northeast Grand Rapids, MI 49503



Jesus Gutierrez
185 Kleyla Dr Unit 079
Kentwood, MI 49548



Christopher Carmean
5717 Jackson pike
Grove city, OH 43123



Adonis Moore
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 233 of 257



1328 Underwood Farms
Boulevard Gahanna, OH 43230



Rodney Roberts
462 Zimmerman Road
Greenfield, OH 45123



Darmious Webb
460 tall oaks circle
SE Conyers, GA 30013



TaKedria Rucks
3440 Boulder Park Dr SW
Atlanta, GA 30331



Reginald Walker
3366 Homeward Trail
Ellenwood, GA 30294



Alfred Baker
241 Deun Ct
Dallas, GA 30157



Antone Nelson
1404 Irwin Bridge Road
NW Conyers, GA 30012



Mario Sanders
8386 Red Cedar Way
Riverdale, GA 30274



James Simpson
2211 Crossings Drive
Lithia Springs, GA 30122



Bobby Altman
1628 Greyfield ln
Atlanta, GA 30350
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 234 of 257




Requavis Caldwell
1709 Carolina Place
SE Conyers, GA 30013



Donovan Dixon
1205 Shoreham Drive
Atlanta, GA 30349



Christopher Sims
6071 Georgia 85
Riverdale, GA 30274



Michael Vaughn
1303 Crestmark Boulevard
Lithia Springs, GA 30122



Dillon Shoemaker
32 Play Way
Cloverdale, IN 46120



Nathan Hardy
706 W Main Street
Arcadia, IN 46030



Daron Smith Jr
2315 Tolliver Pl
Ellenwood, GA 30294



Kenneth Lafey
426 Fernando St Ne
Grand Rapids, MI 49505



Matthew Nareski
1104 George Town Pkwy
Fenton, MI 48430



Brian Stagner
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 235 of 257



3532 Central St
Dexter, MI 48130



Leonard Caddell
1927 Eileen St
Ypsilanti, MI 48198



Darrell Ellington
1082 Alford Road
Lithonia, GA 30058



Samuel Wall
19 Glendale Oaks Ct
Greensboro, NC 27406



Jessie Chapple
6018 Pepperhill Rd
Charlotte, NC 28212



Authur Arceneaux
12307 W. Village Dr.
Houston, TX 77039



Darrell White
12150 old county Rd
Willis, TX 77378



Damon Smith
8406 Swan Meadow Lane
Humble, TX 77338



Jose Velez
5235 Simcoe Ct
Brownsville, TX 78526



Jose Gallo
24940 Plantation Estates Ave
Porter, TX 77365
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 236 of 257




David Boomsma
201 Pruitt Road apt 330
Spring, TX 77380



Misty Strickland
PO Box 633
Rye, TX 77369



Turell Gonzales
7419 Barrel Stage
San Antonio, TX 78244



Joshua Ramos
27310 Caroline Way
San Antonio, TX 78260



Juan Narvaez
2406 Pride's Crossing Rd
Houston, TX 77067



Frank Lantos
2539 Spring Cypress Rd
Spring, TX 77388



Curtis Bryant
605 Hugh Duffy Cove
La Vergne, TN 37086



Leonardo Rodriguez
6527 Benwood Crest
San Antonio, TX 78238



Kristopher Griffin
118 Dill Lane
Murfreesboro, TN 37130



William Blanchard
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 237 of 257



517 Cherry Ridge Drive
Orange Park, FL 32065



Jeffrey Wright
208 S Bunker Hill Rd
Colfax, NC 27235



Andaruis Bowden
328 Vallejo Ct
Lakeland, FL 33809



Antonio Smiley
19942 Mackay St
Detroit, MI 48234



Juan Wise
1826 Everest Dr
Monroe, MI 48161



Jonathan Brown
10220 Wood Dove Way
Jacksonville, FL 32221



Jeffrey Sawyer
7101 Clear Crossing Ln
Mint Hill, NC 28227



James Greentree
10644 Iowa Ave
Jacksonville, FL 32219



Frederick Talford
219 Thornfield Ln
Rock Hill, SC 29730



Jose Uriarte
4840 Williamstown Blvd
Lakeland, FL 33810
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 238 of 257




Shawn Walker
7001 N 14th LN
McAllen, TX 78504



Justin Seigmund
1214 Shellsford Rd
McMinnville, TN 37110



Jack Orlik
3325 Williamsburg Rd
Ann Arbor, MI 48108



Diarra Collins
888 Lost Creek Circle
Stone Mountain, GA 30088



Jennean Stewart
4632 High Collier Walk Stone
Mountain, GA 30083



Tavell James
2702 Saddle Creek Drive
McDonough, GA 30253



Jason Crews
2538 Foltz Street
Indianapolis, IN 46241



Jeremy Barney
513 E Woodrow Ave
Columbus, OH 43207



Charles Wrye
597 Benjamin Harrison St
Orange Park, FL 32073-8577



James Ballard
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 239 of 257



2563 Mcintosh Dr
Lakeland, FL 33815



Ysidro Velasquez
80 Kimber Ln
Poteet, TX 78065-4155



Felix Castillo
1000 Binney Drive
Haslet, TX 76052



Robert Simmons
7582 Park City Dr
Jacksonville, FL 32244



Kevin Crist
5600 Harvard Ave
Raytown, MO 64133



Donald Yors
26168 Armstrong Rd
Laurelville, OH 43135



Harry Dorris
Po Box 135
Guthrie, KY 42234



Alejandro Oreiro
1002 Orly drive
Kissimmee, FL 34759



Johnny Vickers
207 Epps Road
Fort Mill, SC 29715



Marqavuis Dennis
228 Sableshire Way
Locust Grove, GA 30248
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 240 of 257




Howard Hamlin
9717 Branchleigh Rd
Randallstown, MD 21133



Porche Avant
285 West Wieuca Road
Northeast Atlanta, GA 30342



YMB Logistics LLC
16711 Delia Street
Wimauma, FL 33598



Swanson Freight LLC
7508 Broadhurst Dr
Riverdale Ga 30296



Anderson Hayes Inc
2016 Sophia Pl
Lakeland Fl 33811



E-Wing Express LLC
228 Black Skimmer Lane
Winter Haven, FL 33880



MCL Linehaul LLC
5639 Oakwood Knoll Dr
Lakeland Fl 33811



PSS Transport, Inc
304 E Pine Street
Lakeland Fl 33801



Vrg Transport LLC
2875 Sheldon St
Lakeland Fl 33813



RL & BL Enterprises LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 241 of 257



1779 Eagle Pines Cir
Eagle Lake, FL 33839



Broche Transport LLC
4250 Lake Hancock Rd
Lakeland Fl 33812



R W Swenor LLC
6215 Moonseed Ln
Carthage Nc 2832



K Robs Trucking LLC
112 Brookwynd Ct
Garner, NC 27529



BWR Logistic LLC
8230 Carter Creek Drive
Charlotte, NC 28227



3A Works LLC
3401 Anderson Road
Antioch, TN 37013



PERNAL LOGISTICS LLC
1041 Fairway Ridge Dr Nw
Concord Nc 28027



Diesof Transport LLC
3716 Bentley Place SW
Concord Nc 28027



Neeya Trucking LLC
6920 Centerline Drive
Charlotte Nc 28278



Glorious Transportation LLC
13461 Calloway Glen Dr
Charlotte Nc 28273
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 242 of 257




Anthony Holt
2239 Flat Shoals Rd Se
Unit 1122
Atlanta Ga 30316


Mw Transportation LLC
21331 Payton Grace Ct
Porter Tx 77365



Del Valle Transfer Inc
1101 Nw 128th Pl
Miami Fl 33182



Milestone Transport Atlanta, Inc
P.O. Box 922
Mcdonough Ga 30253



Samder Express LLC
14151 Sw 145 Pl M
Miami Fl 33186



Ecq Transfer Inc
2211 Sw 136 Ct.
Miami Fl 33175



Nino Transfer Inc
1420 Ne 33rd Ave Unit 108
Homestead Fl 33033



De Bien Delivery Corp
12273 Sw. 18th Terr.
Miami Fl 33175



Garrido Transport LLC
1990 W 56th St Apt 1428
Hileah Fl 33012



Dars Delivery
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 243 of 257



2420 Sw 86th Ave
Davie Fl 33324



Coleman Trucking
1710 Charity Rd
Chester, SC 29706



Gilberto Gomez Dominguez Delivery
8501 Westridge Dr
Tampa, Fl 33615



Jy&Jj Transportation Inc
5691 Oakwood Knoll Drive
Lakeland Fl 33811



Mavis Transportation Inc
2480 Brownwood Drv
Mulberry Fl 33860



Yandy Pinto Ii
3350 West Hillsborough Avenue
Tampa, Fl 33614



Culp Trucking LLC
7322 N Laurel Ave
Kansas City, MO 64158



Eml Delivery
408 Arthur Drive
Hurst Tx 76053



Brown Trucking And Transportat
3529 Lynhaven Dr. Apt A
Greensboro Nc 27406



Gh Transport
1444 Madison St
High Point Nc 27262
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 244 of 257




Rosie Transportation Inc
9400 West Flagler St
Apt 207
Miami Fl 33174


TaylorMad3 Carrier LLC
3512 Eisenhower Circle
Atlanta GA 30354


Mp Logistics LLC
125 Paulownia Circle
McDonough, GA 30253


Nguyen Transport LLC
516 Mistral Way
Forrest Park Ga 30297



D And L Transportation LLC
2516 Whitson Way
Mesquite Tx 75150



Retail Trucking Solutions LLC
210 N Church St Unit 1205
Charlotte Nc 28202



JC Logistics LLC
4304 Minette Court
Mt. Juliet, TN 37122



Mile 4 Mile LLC
20 Dearing Woods Lane
Covington, GA 30014



Paradigm Transportation LLC
270 Rugged Creek Drive
Stockbridge Ga 30281



Rick Delivery Service LLC
3130 Jeffrey Dr
Ellenwood Ga 30294
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 245 of 257




Ndtl Trucking LLC
6134 Graceland Cir
Morrow Ga 30260



Cosmo Trucking LLC
2074 Fuera Drive
York Sc 29745



J&A
1608 Cottage Creek Rd
Indian Trail Nc 28079



Mgssr LLC
4368 Brewington Parkway
Rock Hill, SC 29732



Load Bridge Logistic Corp
3718 Hampton Hills Dr
Lakeland Fl 33810



Jace Shepard
223 Poindexter Dr
Charlotte, Nc 28209



C&R Trucking
11659 Kilkrik Ln
Dallas Tx 75228



Gesquivels LLC
500 Mule Deer Dr
Mckinney Tx 75071



St Tello Trucking LLC
5903 Estonia Ct
Spring Tx 77379
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 246 of 257



J Lara Transportation LLC
1135 Per St
Opa Locka, FL 33054



Brian Stekloff
412 Westside Drive
Rochester Ny 14624



Otterbourg
Attn: Pauline McTernan
230 Park Avenue
New York, NY 10169


Otterbourg
Attn: Nneoma A. Maduike
230 Park Avenue
New York, NY 10169


Blank Rome
Attn: Regina Kelbon
1201 N. Market St. Ste. 800
Wilmington, DE 19801


Edge Capital Lending LLC
Attn: Stephen Butler COO
One Belmont Ave, Ste. 630
Bala Cynwyd, PA 19004


Spirit Brand Agency LLC
15227 Park Lane
Conroe, TX 77302



Micah J Byers
4181 Shade Tree Lane
Lakeland, FL 33812-4261



Care Three Cargo LLC
1010 Remington Drive
Southeast Conyers, GA 30094



Mtz Carriers
Po Box 3205
Baytown, TX 77522
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 247 of 257




Lizama Carriers LLC
1634 E Irving Blvd
Irving, TX 75060



New Futu Community Services Corp
5631 Northwest 174th Drive
Miami Gardens, FL 33055



A Orozco Company LLC
531 Charleston Sq
Humble, TX 77338



Mata Deliveries LLC
710 S Alexander Ave
Duncanville, TX 75137



Alejandro's Pony Delivery
4327 Moon Shadow Loop
Mulberry, FL 33860



MGV Delivery Corp
670 East 10th Place
Hialeah, FL 33010



Oasis Distribution LLC
18703 Desert Marigold Dr
Houston, TX 77073



Luxuriant Elite
6103 Menor Crest Dr
Spring, TX 77388



Expeditiously Enterprise Inc
Po Box 380246
Duncanville, TX 75138-0246
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 248 of 257



Vmsj Enterprise LLC
2609 Riverview Pl
Jonesboro, GA 30238



RL Mack Enterprises LLC
1244 West Virginia Ave
Lakeland, FL 33805



Frw Enterprises LLC
505 Adriel Ave
Winter Haven, FL 33880
Moreno Express Delivery


1240 Southwest 127th Court
Miami, FL 33184



Jireh Express Inc
596 Gonzaga Circle
Hampton, GA 30228



Jack Rabbit Express LLC
4610 Lindsey Drive
Powder Springs, GA 30127



M & S Chi Town Express VIP LLC
552 Trotters Lane
McDonough, GA 30252



Leo Flash Transportation LLC
3430 Sunrise Villas Ct.
N Tampa, FL 33614



Vg Freight LLC
2700 Chisolm Trl
Mesquite, TX 75150



L And C Global LLC
6777 Cabernet Crossing
Lakeland, FL 33811
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 249 of 257




Carlos Alfonso Gomez Vasquez
2500 West Mount Houston Road
Houston, TX 77038



Silver Horse Trucking LLC
719 Chilt Drive
Brandon, FL 33510
ALM Kingdom Transport LLC
2028 Lunn Landings Drive
Lakeland, FL 33811



Panit LLC
14000 Noel Rd. Apt 617
Dallas, TX 75240



C and A Logistics Corp
14850 Sw58Th Street
Miami, FL 33193



E A Logistics Inc
742 Nw 174Th Terrace
Pembroke Pines, FL 33029



Tartir Logistics Inc.
5005 Tealcove Dr
Arlington, TX 76017



Rockmore Logistics LLC
19035 Courser Field Court
Tomball, TX 77377



Carney Logistics LLC
3623 Arvin Drive
Charlotte, NC 28269



Xpress T Logistics LLC
10740 N Preserve Way
Miramar, FL 33025
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 250 of 257




Ronald Oglesby
3958 Kingsbrook Boulevard
Decatur, GA 30034



Dave Parson Trucking Inc
403 Carolina Avenue
Plant City, FL 33563



59k Hauling Service LLC
3780 Buffington Place
Union City, GA 30291



305 Logistics Services Corp
13551 Southwest 11th Terrace
Miami, FL 33184



Jr Mirins Multi Services Llc
5527 Misted Jasmine Ct
Katy, TX 77449



Secret Society Logistics LLC
2530 Rambling Way
Lithonia, GA 30058



Alldae Solutions LLC
10314 Timberloch Dr
Houston, TX 77070



Valladares and Sons LLC
1807 Prairie Grass Lane
Valrico, FL 33594



R&A Trucking of South Florida
7770 Nw 179Th St
Hialeah, FL 33015



RED and Blue TRANSPORTATION LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 251 of 257



1418 Eastcrest Drive
Charlotte, NC 28205



Peter Nichole Thompson
6916 New Sulphur Springs Rd
San Antonio, TX 78263



T&Z Trucking Mobile Tire Svc
300 Avalon Forest Dr
Lawrenceville, GA 30044



Avila Sons Transport
6703 Wicklow St
Arlington, TX 76002



Green Transport Corp
5660 W 14Th Ave
Hialeah, FL 33012-2215



Paya Transport Corp
10937 Northwest 1st Lane
Miami, FL 33172



M.E.Y Transport Inc
5095 Misty Lake Drive
Mulbery, FL 33860



Meca Transport Inc
9430 Southwest 37th Street
Miami, FL 33165



Trailer Transport Inc.
4335 Moon Shadow Loop
Mulberry, FL 33860



RJ38 Transport LLC
800 County Road 3731
Splendora, TX 77372
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 252 of 257




Natty Transport LLC
2582 Magnolia Fair Way
Spring, TX 77386



Big Al's Transport LLC
1309 Belvoir Dr
Davenport, FL 33837



Supreme King Transport LLC
50 Oakwood Drive
Covington, GA 30016



K and A Transport LLC
2006 Feather Ridge Dr
Missouri City, TX 77489



M and T Transport Services
11033 West 33rd Way
Hialeah, FL 33018



Baxter Transport Services LLC
3570 Wren Lane
Mulberry, FL 33860



Triple G Transportation
16864 Pink Wintergreen Drive
Conroe, TX 77385



M&M Transportation
12998 Sw 133Rd Street
Miami, FL 33186



Huntley Transportation LLC
2621 Deerbrook Drive
Lakeland, FL 33811



DH2 Road Read Transportation LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 253 of 257



1244 North Virginia Avenue
Lakeland, FL 33805



MKE Transportation LLC.
2426 Brownwood Dr
Mulberry, FL 33860



Metho Transportation LLC
1120 Stepping Stone Ln
Conyers, GA 30012



Celaya Transportation LLC
1910 Schilder Drive
Houston, TX 77093



Jdm Transportation LLC
2403 Beckley Court
Corinth, TX 76210



Castle Transportation LLC
3739 Woodlace Drive
Humble, TX 77396



Be Transportation of Florida LLC
16234 Northwest 86th Court
Miami Lakes, FL 33016



El Salvador Transportes
1210 Texas St
Vernon, TX 76384



Picolo Truck Inc
8800 Sw 8Th St
Miami, FL 33174



Ytu's Truck LLC
1144 Woodland Oaks Drive
Lakeland, FL 33813
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 254 of 257




A Mac Trucking
706 Ave
E Conroe, TX 77301



Ortas Trucking
10110 Valley Wind Dr
Houston, TX 77078



D. L. Robinson Trucking
7076 Avenbury Cir
Kernersville, NC 27284



Sbc Trucking
10207 Kittrell St
Houston, TX 77034



B A Express Trucking
8299 Sophie Lane
Greenwood, LA 71033



Baltazar Trucking
19947 Silver Rock Dr
Katy, TX 77449



Gallo Trucking
24940 Plantation Estates Ave
Porter, TX 77365



Moro Ahmed Trucking
271 Pickerington Dr
Pickerington, OH 43147



Valdez and Son Trucking
35 Owl Creek Ln
Cleveland, TX 77328-5608



Ewn Trucking Corp
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 255 of 257



12164 Sw 250Th St
Homestead, FL 33032



Ridings Trucking Inc.
14080 Nacogdoches Rd
San Antonio, TX 78247



AG Cosmic Trucking LLC
4100 Northwest 196th Street
Miami, FL 33055



L. Haul Trucking LLC
2585 Fox Hall Lanes S
College Park, GA 30349



W&C Trucking LLC
8565 W Sam Houston Pkwy S
Houston, TX 77072



Fred Gaeng Trucking LLC
609 N Campbell St
Willis, TX 77378



Phu Huynh Trucking LLC
7710 Green Springs Dr
Jonesboro, GA 30236



Bench Trucking LLC
1724 Charmi Dr
Lakeland, FL 33810



Cris Trucking LLC
139 County Round 3553
Cleveland, TX 77327



Mexven Trucking LLC
1420 Water Lily Drive
Little Elm, TX 75068
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 256 of 257




Rivera Roome Trucking LLC
16175 Golden Sands Dr
Houston, TX 77095



Jamaab Trucking LLC
2511 Ivy Brook Ct #1008
Arlington, TX 76006



Hattenrath Trucking LLC
6016 Pecan Cove Ln
Charlotte, NC 28269



Shawn R Mccalpin Trucking LLC
2411 Idlewild Street
Lakeland, FL 33801



S Square Trucking LLC
900 Lake Carolyn Pkwy
Irving, TX 75039



Sweet Willie Trucking LLC
244 Windy Circle
Mcdonough, GA 30253



Bellmott Trucking Solutions LLC
706 Virginia Ave
Auburndale, FL 33823



Freddie Wardlaw Jr
505 Adriel Avenue
Winter Haven, FL 33880



R R Xpress
2187 Geneva Dr
Lakeland, FL 33805



Liberty Commercial Finance LLC
    Case 24-32884 Document 15 Filed in TXSB on 06/26/24 Page 257 of 257



18302 Irvine Blvd Suite 300
Tustin CA 92780
